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                                                                Execution Version   ',


 OPERATING AGREEMENT OF
 BENDSURGERYCENTER, LLC




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        TmS OPERATD^G AGREEMENT (the                              1.6.    "AmSnrg" has the meaning set forth in ths
"Agreement") of Bend Surgery Center, LLC, a                      iatroductoiyparagraphhereof.
Tennessee limited liabUity company (the "LLC") is
made and entered into as of the I      day of June, 2014         1. 7.     "AinSurg Cotp. " means AmSurg Coip., a
                                                                 Tennessee cpipoi^on and Ae^^^^^^^^      sharehpldCT of
(die "Efifective Date"), by and tetween AmSmg                .




                                                                 AtnSurg.
Holdmgs, Inc., a Tennessee coiporation ("AmSurg"),
and each of the other persons listed on the signature            1.8.     "Articles of Organization" means the
pageto this Agreementand the persons and entities that           Articles of Organization of the LLC filed with the
may be admitted to the LLC as members after the                  SecrrtaryofStateofthe StateofTennessee, asamended
Effective Date ("Owners") (each of AmSuig and                    from time to time-
Owners,a "Member"andcollectfvcly, the"Members").
                                                                 1.9.      "AvaHable Cash Flow" means ail cash funds
                   WITNESSETH:                                   of the LLC on hand at ttie end of each month, less
        WHEREAS, the Owners sold to AmSurg a                     (a)provision for payment of all outstanding and impaid
portion of their membership mteests in the LLC                   ciurent cash obligations of the LLC at (he end of such
pursuant to a Membership Interest Purchase Agreement,
                                                                 month (including ftose which arc in dispute) and
dated the date hereof; and                                       (b) provisions for reserves reasonably deteimined by
                                                                 AmSuig for anticipated oper^ing cxycnscs, capital
           WHEREAS, the Membffs desire to set forth              expenditures and other contingencies (which may
theirmutual nghtsandobligationsin this Agreement.                include debt service on LLC indebtedness and fees
                                                                 payableto Affiliates); provided, howcva-, that proceeds
           NOW, THEREFORE, in consideration of the
                                                                 from the disposition of all or substantially all of &e
mutual promises, covenants md undertakings
                                                                 LLC's capital assets shall not be included in Available
heremafter contained, and oflier good and valuable               Cash Flow.
consideration, the receipt and sufficiency of which are
hereby acknowledged, the Members hffeby agree as                 1. 10.    "Board" means ttie Board of Directors of the
follows:                                                         LLC-
                                                                 1. 11.   "Book Capital Account" has the meaning
1.         DEFINITIONS                                           given tosuchtemi m Section4.3 hereof.
        When used in this Agreement, the following               1. 12.    "Capital Contribution" in respect of my
tenns shallhavethemeanings setforth below:                   Member means flie amount of all cash and other
                                                             property, tangible or intangible, conbibuted by such
1. 1.      "Act" means the Tennessee Revised Limited
                                                             Member to the capital of the LLC. The initial capitd
LiAility Company Act, being Sections48-249-101 el                account balance for each Member shall be as set forth
seq.oftheTennesseeCodeAnnotated,asamendedfiom                onE?diibjtA.
time to time, and any coffesponding provisions of any
successorlegislation.                                         1. 13-   "Center" means the ambulatory surgery
                                                             center operated by die LLC and located in Buad,
1.2.     "Affiliate, " with respect to any indiwdual or      Oregon, including the real propwty, or leasehold
Enffly, means any individual or ofhCTEntily directly or      improvements, nmuture, furtures, the Equipment,
indirectly conlrollu%, controlled by or under common         books, records, supplies, accounts receivable, goodwill,
control with'suchindividualorEntity.                         other intangibles and oth» assets used in its operation.
 1.3.    "Affiliated Physiciaa" means any individual             1. 14.   "Code" means the Internal Revenue Code of
physician who directly or indirectly throx^b anotfier        1986, as amended from time to time, any corresponding
entity has an ownership interest in the LLC, is an           provisions of any successor legislation, and the
Immediate Family Member of any individual who                r^ilations adopted thereunder.
directly or indirecfly through another entity has an
ownership interest in the LLC, or is a grantor, frustee or   1.15.   "Director" means, individiially, any natural
beneficiaryofanybustthat is a Member.                        {»rsonservingon theBoard.
1.4.     "Agent" means any ageat of tfie LLC,                1. 16.       "Dissolation Event" has the meaning givai to
mcluding any ofScer, director, employee, independent         such term in Section 13.2 hereof.
contractor, or agentofa Membaractingon bdialfoflhe
LLC.                                                         1. 17.  "Effective Date" has the meaning given to
                                                             such term in the introductoiy paiagrqah of fliis
1.5.   "Agreement" means this                  Operadng      Agreement
Agreement,as amendedftom time to time.




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1. 18.    "EUgibUity Requirements"           means the        1.19.       "Entity" means any corporation, partnership,
requirement that a physician Owner or AfGliated               trust, liniited liabilitycompanyorotheraitity.
Physician must a£Bmi in writing, in connection with the       1.20.    "Equipment" means tiie equipment used m
initial acquisition of Membeiship Interests and,
                                                              connection with the operation offee Center.
thereafter, by the execution and deliveiy to the LLC
within 30 days after each anmversary of such physician        1.21.    "FinancialR^hts" means a Member's ri^its
Owner's or 'fte Owiier aGGIiaSd with art AfRIiafKi            as amem1>er6f8ie LLC (i) to share mffie profits aid
Physician's admission to the LLC (or such Other annual        losses of the LLC to the extent provided in this
period as the LLCshall Smisitime to time designate)of         Agreement and (ii) to share in distributions to the extent
an Annual CertlGcation in the form attached hereto as         provided in this Agreement.
Exhibit B, representing that:
                                                              1^2.     "Fundamental Regulatory Change" means
          1. 18.1. die physician Owner or Affiliated          any change m federal or state law or regulation that
          Physician agrees to fully inform each patient       results in (a) the referral of Medicare or any other
          referred to the Center by the physician Owner       p^ients to the Cmter by Owneis. or the submission of
          or AffiliatedPhysicianofhis or hermvestmcnt         clsums to Medicare for services pcffonned by or at tfae
          interest intheLLC;                                  direction of Owners, bccommgillegal, O?)tiie esdsteaoe
                                                              of a substantial likelihood that the receipt of cash
           1 18.2. a Substantial Portion (as defined          distributions fiom the LLC to Owners is or will be
          below) of the physician Owner's or Affiliated       foundto be in violation offederalor state law, or (c) the
          Physician's medical practice income from all
                                                              ownership by Owners of Membership Interests in the
          sources forlie prior 12 month period or the
                                                              LLCbecomingillegal.
          previous fiscal year was derived jBrom the
          physician Owner's or the Affiliated                 1.23.      "Governance       Rights"   means   all   of a
          Physician's performance of outpatient surgical      Member's rights as a inennber of flie LLC other than
          procedures (defined for purposes hereof to be       Financial Ri^its and the right to assign Financial
          those surgical procedures that are aulfaorized to   Rights.
          be perfonned in ambulatoiy surgical centers
          under the applicable Medicare rcpi lations,         1.24.      "Immediate Fainily Member" means an
          whetfaeror not suchprocedures arepaid for by        individual's spouse, siblings, lineal ancestors and liaeal
                                                              descendanteandshall includesteprelations.
          Medicare,workers' compensationinsuranceor
          otherpayors);                                       1.25.      "Infonnation"has fee meaninggiven to such
                                                              tenn in Sccdon 8. 10 hereofL
          1. 18.3. tihe physician Owner or Affiliated
          Physician perfomied a Substantial Portion of        1.26.    "LLC"has (hemeanjnggiven to such tenn in
          his or her ou^atient surgical procedures            theintroductoryparagraphofthis AgreemHrt.
          (defined as described in subsection 1. 18.2
                                                              1.27.      "LLG Profit" means net income of the LLC
          above) at the Center during Ac prior 12 month
          period or the previous fiscal year (or, if a new    for the applicableperioddetermined on an accrualbasis
          physidan Owner or AfBUated Physician, he or         in accordance with generally accepted accounting
          she ejects to perfonn a Substantial Portion of      principles; provided, that in detemuning LLC Profit
          such procedures at the Center eachyear);            (except in connection with Section 12.8), any net
                                                              income of the LLC attributable to direct or indirect
          1. 18.4. if the physician Owner or Affiliated       refenak from, procedures parfbrmed by or other
          Physician provides services that arepaid for by     biisiaessgeneratedby all TenninatingOwners and their
          any federal health care program (including          Affiliates shall be excluded fiom the net mcome of the
          Medicareand Medicaid), the physicianOwner           LLC.
          or Affiliated Physician agrees to treat patients
          receiving medical benefits or assistance under      1.28.      "MarketArea"hasthemeaninggivento such
                                                              tenn in Section 8^ hracof.
          such federal health care programs in a
          nondiscriminatoiymanner;and                         1.29.    "Medical Director" meaiisthe person elected
          1. 18.5. (he physician Owner or Affiliated          by Ownas and appwwd by flie Board pursuant to
          Physician is a physician duly licensed to           Section 83 to provide medical supervision and to
          practicemedicineintheStateofOregon,                 coordinate professionai and cluucal activities at the
                                                              Center.
The Board may, m its discretion, exempt ftom the
Eligibility Requiiements set forth in this Section 1.18       1.30.    "Mcnabers" has <fae meanii)® set forth in the
certain Owners who do not, directly or indirectly, refer      introductoryparagraphhereof.
patients to the Center, so long as suchexemption is in        1.31.    "Membership Interest" means a Member's
compliance with federal andstate laws andregulations.         interest in Ac LLC, which when expressed as a



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percentageofaUMembershipInterestsintheLLCshall                     1.43.    "Successor" means a Member's executor,
be equal to such Member's Membership Percentage.                   admmistrator, guardian, conscrvafor,         other legal
The Membership Interest shall consist of (a)the                    representative or successorin interest
Member's Financial Ri^its, (b)the Member's right to                1.44.    "Tax Capital Account" has the meaning
assign Financial Rights to the extent pemirttcd under              givento suchterm in Section 4.4 hCTeof.
this Agreement, and (c)flie Member's Governance
KJpts. '"'" " "~ " '    ------                                     1.45.    "Tax Matteire MemBer" 1ias ffie mcauaug
                                                                   given to such tenn in Section 11.6 hereofand shall also
1.32. "Membership Percentage" means the                            mean<fae"taxmatterspartner"asthatteim isusedin die
percentageinterestofa MemberasshownongxhibitA^                     Code.
as amended from time to time as provided in Section 4.8
or 12.9 hereof or as ofterwise requiied by this                    1.46.    "Treasury Regulations" includes proposed,
Agreement or the Code.                                                                          promulgated under fee
                                                                   temporary and final repj lations
                                                                   Code.
1.33.    "New Member" has the meaiung given such
tenn in Section 12.7 hereof,                                       1.47.    "Triggering Event" has the meanmg given to
                                                                   such term in Secdon 8. 1 1 hereofl
1.34.    "Officers" meaiis the President, Vice
Presidents, Treasurer, Secretaiy, and any other peisou             1.48.     "Triggering Event Date" means the last day
appointedtobeanofficerbytheBoardoftheLLC.                          of the calendarmonth hnmediately preceding the month
                                                                   during which a Triggering Event occurs.
1.35.    "Owners" has the meaning set forth in the
introductoiyparagraphhereof.
                                                                   2.       ORGANIZATION
1.36.    "Performance      Improvement           Chairman"
meansthe person elected by Ownereand q)proved by                   2. 1.     Formation; Effective Date. The parties have
theBoardpursuantto Section8.3 to provide oversight                 formed the LLC by filing Articles of Organization and a
and coordinate the development and operation of the                Certificate of Conversion with the Secretaiy of State of
Center's performanceimprovementprogram.                            the State of Tennessee. This Agreement shall become
1.37.     "Person"    shall     mean       any    individual,
                                                                   effective upon execution by the Members as of Ac
                                                                   Effective Date.
partnership, coTporation, association, trust, limited
liability company, or otherlegal entity, whetherforeign            2.2.      Adoption of Agreement. The Members
or domestic.                                                       hereby adopt this Agreanent as the operating ayeement
                                                                   of the LLC, as the tenn "operating agreement" is used in
1.38.     "Prime Rate" means that rate of interest equal
                                                                   the Act, to set forth the rules, regulations and provisions
to flie prime rate as published ficm time to time by               regarding tfac management of the business of the LLC,
SuaTrust Bank in Nashville,            TcBncssee,       or any
                                                                   the governance offee LLC,the conductofits busroess
successorthereto.
                                                                   and the rights and priwleges of its membesrs. The
1.39.     "Principal Indebtedness" means the principal             operatingagreemeatoflfaeLLCshallbs inwriting,and
amountofthe LLC'sindebtedness for borrowed money                   the teims ofthe operating agreement shall be as set forth
plusindebtednessforcapitalizedleases.                              in thisAgreement
 1,40. "QuaiyiedOwner"meansa physicianOwner                        2. 3.     Name. The name of the LLC shall be Bend
Ifaat has, or an Owner whoseAfiniiated Physicianhas,               SurgeryCenter, LLC.TheLLCmayadoptand conduct
active medical staflFprivUeges at the Center and meete             its business undra- such assumed or trade names as the
theEligibMityRequirements.                                         Boardmayfiomtimeto time detemiine.The LLCshall
                                                                   file any assumed or fictitious name certificates as may
1.41.    "Responsible Person" has the sneaning given               be required to conduct busmess in any state.
to suchtennin Section48-249-115(a)(6)oftheAct
                                                                   2.4.      Principal Place of Business. The initial
1.42.     "SubstantialPortion" meaiis, for puqwses of              registered agent of the LLC shall be Cladre M. Gulmi.
fte EligibiUty Requirements, at least 33%; provided,               Tlie initial repstercd otEiceanddie principal executive
however, that fhc Board may establish a lower percent              ofGce of tfae LLC shall be 20 Burton Hills Boulevard,
for an individual Owner (or its Affiliated Physician, as           E»avidson County, Nashville, Temaessee 37215.
applicable) based on a case-by-casc analysis to the
extent such lowerpercent is in compliancewith federal
and statelawsand regulations. IftheBoardestablishes                3.        PURPOSES AND POWERS
a          Tcent, Ac Owner
    lower pC                   (or   its Affiliated   Physician,
                                                                   3. 1.     Puq>oses.ThepurposesoftheLLCshallbeto
as applicable) must consistently meet die lower                    own andoperatethe Centerandto cany onanyand aU
percentage.
                                                                   activities necessaiy, proper, convenient or advisable in
                                                                   connection tfierewith.




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             3.2.      Powers. The LLC may exercise ail powers                    Any Capital ContnTjutions made solely by one
             necessaiy or convenient to cany out its business and       Member or made out of proportion to die Membeiship
             affairs and to effectuate fee purposes set forth m         Percastsgesshall, in tfaesols discretionofthePresident,
             Section 3. 1 hereof Which may be legally exercised by      either (a) be treated as a loan to the LI-C and shall not
             limited liability companies under the Act                  affect the balance of the Tax Capitol Accounts, or
                                                                        (b) shall cause an appropriate adjustoneait to be made to
             3.3.     Independent Medical Judsnent. No
                                                                        theTaxrqpifalAictStBnts!.
             provisim of this Agiwaneat shall limit Ac ui<tep<aidait
             medical Judgment of any practicing physician wiA staff    4.5.      LLC Loans. Subject to the provisions of
             priwl^es at Ac CeotM- with Kgard to the providing of      Sccdon 7.3, AmSurg or an AfBUflte thereof may, fiom
             patfentcare FurAw, nothing containedhcnan requires        time to time and as it deems necessaiy, lend, or arrai^e
             any practicing ph^ician wWs. staff privileges at tfae      for the LLC to borrow, additional working capftal
             Catter to use or recommend the use of fecilities or       sufficient to enable the LLC to carry on its business as
             services owned, operated or provided by tile LLC.         contemplaledbyArticle 3 haeof.
                                                                                  Any loan by AmSmgor an Affiliatethereofto
             4.         CAPITAL CONTRIBUTIONS AND                      the LLC made for     woridng capital purposes shall    be
                        MEMBERSHIP INTERESTS                           evidenced by a pronussoiy uote which shall bear interest
                                                                       at a fair maricet value rate and wAidi shall contain other
             4. 1.      Capital Contribution. EachMember shall be      tenns substantially similar to fliose which migjit be
             credited with having contaibutedc^ital to the LLC in      agreed to with a non-afiiliated lender. Any required
             the amount set fbrtfa opposite such Member's name on
                  libit A hereto.
                                                                       monthly payments (including any past due amounts)
                                                                       underanySU(Aloanbythe LLCor anyotherparty shall
             4.2.       Additional Contributions. Members shall        be made before any distributions of Available Cash
         make additional Capital Contributions as may be               Flow are made to the Members pursuant to Section63
         detennined from time to time by the Board in an amount        hereof.
         proportional to titieir Membership Percentages. The           4.6.       Wthdrawal or Reduction of Members'
         tuning, amount and terms of such additional Capital           CapitalContribntions.NoMembershallhavetheright
^-,-.,   Contributions shall be detennined by the Board. The           to withdraw fixim the LLC. A Member shall not receive
^ ^      Capital Contributions ofeach Member shall be made on          out of the LLC's property all or any part of such
  "y     die same tenns and conditions.
                                                                       Member's Capital Contributions except as provided in
         4.3.      Book Capital Accouots. Each Member shall            Sections6.3 and 13.3 hereof.
         have a capital accountto whichthe fair maiket value of
                                                                       4. 7.     Interest and Preferential Rights. Except with
         such Member's CapHal Contribution shall be credited           respect to any loans made pursuant to Sections 43, 4.4
         (the "BookCapital AccounQ.EachMember's shareof
                                                                       and 4.5 hcreofi no intarest shall accrue on any Capital
         Ac income, including tax-exempt mcome, expenses,              Contributions and no Member shall have any
         gain or loss of&e LLC shall be charged or credited to         prefciCTtial rights wifli respectto distributions or upon
         such MembCT's Book Capital Account. All distributions         dissohidonofthe LLC.
         to a Member shall be chargedto such Manber's Book
         Capital Account                                               4-8.    Membership Interests and Amendineats to
                                                                       ExhibitA, Each Member shaU be credited wiA the
                   Any Capital Contributions made solely by one        Membership laterest (expressed as a percentage of all
         Member or made out ofprop(ation to the Membership             Membership Interests) and initial capital account
         Percentagesshall, in tiie sole discretionofthe President,     balance set forth opposite sud Member's name on
         either(a) be treated as a loan to the LLC and shall not       ExhibitA. The amounts shown on ExhibitA wiA
         affect tfae balance of the Book Capital Accounts, or (b)
         shall causean appropriate adjustmentto bemade to the
                                                                       respect to cq)ital account balances and Membership
                                                                       Interests shall be q>propriately amended to reflect
         BookCapitalAccounts.
                                                                       changes to such amounts as a result of any changesin
         4.4.          Tax Capital Accounts. The capital accounts      the mcmbwship of Ac LLC or assiguaents of
         for the Mambers for federal income tea; puiposes (the         MCTibership toterests. ExhibitA shall also be amended
         .
          Tax Capital Accounts") shall be maintained and               from time to time to reflect any changes in the addre»>cs
         adjusted in accwdance with tte principles set forth in        ofMcmbas.
         Treasury Regulation Section 1.704-l(b)(2)(iv), and the
         items of income, (wofit, gain, expenditures, deductions,      5.        EXPENSESOPTHELLC
         losses, distributioiis and contributioiis which inarease or
         decrease such Tax Capital Accounts shall be those items       5. 1.    OrganizationalExpenses.EachMember shall
         which, pursuant to such provision, affect the balaiice of     bear hs own expenses incuned in connectron with the
         capitalaccounts.                                              preparation, review, andnegotiationofthis Agreement,



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the Membership Interest Purchase Agreement and any          value of such property as the depreciation (or cost
other documents contemplated hcreunder.                     recovery deduction), depletion or amortization
                                                            computed     for tax pi iiposes with respect to such property
5.2.      Operating Expenses. The LLC will reimburse        for such period bears to die adjusted tax basis of such
the Members for reasonable and documented travel
                                                            property. If such property has a zero adjusted tax basis,
expenses approved by the Board and incurred in              the book depreciation, depletion or amortizationmay be
connection with pafonning their respective duties           detemiinKl under any rKisonablemethoTd selected by the
hereunder.                                                  TaxMatters Member.
                                                                        References in this Section 6.2 to book and tax
6.        ALLOCATION OP INCOME AND LOSS                     depreciation, depletion, amortization, and gain or loss
          ANDDISTRIBUTIONS                                  with respect to property ttiat has an aiyusted tax basis
6. 1.     Allocation of Net Taxable Income or Luss          thatdiffersfrom its bookvalueinclude, underanalogous
and Tax Credits. Except as provided in Sections 6.2         rules and principles, flie unrealizedincome or deduction
and 6.5, all income and gain of the LLC includablefor       witii respect to accounts recch^ble, accounts payable
federal, state and local income tax purposes, all           md other acciucd but impaid items.
expenses and losses of the LLC deductible for federal,      6.3.     Distribution of AvailableCash Flow. Except
state and local income tax purposes, as applicable, and     as provided in Section 4.5, the LLC shall disfribute
all federal income tax credits shall be allocated in        Available Cash Flow. Such distributions shall be made
proportion to the Membership Percentage of each             in monthly installments witfainfifteen (15) days afterthe
Membei; provided, that such allocations in connection       end of each month and shall be made to all Members
with the liquidation or dissolution of the LLC shall be     pro rata in proportion to the respective Membership
made, as nearly as possible, so as to produce Book          Percentages of the Members at fee time of each
Capital Accountsofthe Membersthat are in proportion         distribution.
to flieirrespectiveMembershipPercentages.
                                                            6,4.     Consequences of Distributions. Upon the
6.2.      Allocations       to    ReHect    Contributed     detemiination to distribute funds in any manner
Property. Ifa Membercontributes propertyto theLLC           expressly provided in this Article 6, made in good faith,
whidi has a differaioe between its tax basis and its feir   no Manber shall mcur liability on account of such
market value on Ae date of its contribution, flien all      distribution, even though such distnbution may have
items of income, g^n, loss and deduction wfli respect       resulted in the LLC retainmg insufficient funds for the
to such contributed property shall be shared for federal    Operation of its business, which insufficiaicy resulted in
income tax puiposes among the Members pursuaiit to          loss to the LLC or necessitated the boirowing of funds
Section704(c)oftheCodeso asto takeintoaccountthe            bytheLLC.
variation between the basis of such property and its fair
market value at the time of contribution.                   6.5.      Distribution Upon Termination. When the
                                                            LLC is tenninated, pursuant to Article 13 or oAerwise,
         Any eleitions or other decisions relating to       the final distribution to Members shall be in proportion
such allocations shall be made by the Tax Matters           to tfieuMembershipPercentages.
Member in any manner that reasonably reflects tfae
purpose and intention of this Agreement; provided,
however, that any election or dcteimin^ion related to       7.          BOARDOFDIRECTORS
tte method for m^diig Section 704(c) allocations or         7. 1.       Number and Term. The LLC shall have a
reverseSection704(c) allocationsunderSection 1.704-3        Board consisting of three (3) (Urectors appointed by
of ffie Treasury Rcgtdations (e.g., traditional, remedial
                                                            AmSurg (the "AmSurg Directois"), and three (3)
or curative) that adversely afltects the Owneis in a        directors    elected    by Ac      Owners     (the   "Owner
manner that materially differs fi-om the effect of such
                                                            Directors''), in each case in accordance with Section 7.5
election or deteimination on AmSius shall require
                                                            below. Each Director shall hold ofiice for a period of
Board qiproval. Exceptas othenmse provided in such          one (1) year or imtil such Diicctoi's earlier resignafion,
Section l. 704-3(d) of <fae Treasury Regulations, the       removal or death.
Capital Accounts of tfae Members shall be adjusted m
accordance with Secdon 1.704-l(b)(2XivXg) of tfae           7.2.      Duties. Except as oflierwise specifically set
TreasuiyRegulations for allocationsto Ac Munbcis of         forth in this Agreement, the Board shall have ultimate
income, gain, loss and deduction (including                 authority wifh respect to the LLC's operations,
depreciation, dqi letion, ainortization or otlier cost      including, but not linuted to, physician credentialmg,
recovciiy) as computed for book pwposes, with respect       granting of privileges and approval of operating policies
to the property contributed; and the amount of book         and procedures ofthe Center.
dqircciatioa, depletion or amortization for a period with
respect to an item of contributed property shall be tiie
amount that bears Ihe same relationship to the book



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     7.3.     Acts Requiring Board Approval. Without                           7.4. 1. Sell, exchange, lease or othenvise
^^
     obtaining the consent of the Board, no Member or                          transfer all or substantially all of the assets of
     Officer shall:                                                            fheLLC;
              7.3. 1. Sell, exchange, lease or otherwise                       7.4^.        Dissolve the LLC;
              transfer all or substantially all of the assets of               7.4J.        Merge or consolidate the LLC into
              IheLLC, -                                                        another enfity,
               7. 3.2.     Dissolve Ac LLC;                                    7.4.4.       Close the Center; or
               7.33.       Merge or consolidate flie LLC into                  7.4.5.       Relocate the Center from its then
               another entity;                                                 current location to another location, other than
               7. 3.4.     Cause the LLC to incur uidebtedness                 upon die tcnnination or expiradonof the then
              for borrowed funds or refinancingofborrowed                      current lease for the Center..
              funds in excessof$250,000 in Ae aggregatein             7. 5.    Election. The AmSurg Diiectors shall be
              one (1) year.                                           appointedbyAmSuig,andtheOwssxDirectorsshallbe
               7.3^.       Establish or change in any material        elected by the Owners holding at least a majority of the
              respect the opcratmg policies and procedures            Membership Interests then held by the Ownas. In the
              of tfie Center, except for policies and                 eventanyAmSurgDu-ectorceasesto serveasa member
              procedures relating to corporate governance             of the Board for any reason, tfae resulting vacancy shall
              and regulatoiy compliance, employment                   be filled by AmSurg. fa the event any Owner Director
               matters and financial reporting matters;               ceases to serve as a member of the Board for any reason,
                                                                      the resulting vacancy shall be filled by the Owners
               7.3.6.      Hire or dischargetf»e clinical diiectoi    holdingat least a majority ofthe Membership Interests
               of the Center,                                         then held by the Owners. Any AmSurg Director may be
               7.3.7.      Vary or change in any material             removedwithorwi&outcauseby AmSurg. Any Owner
              respectanyportionoftheprofessionalliability             Director may be removed with or without cause by (he
               coverageofthe Center;                                  Ownersholding at least a majority of the Membership
                                                                      Interests then held by die Owners. A Chamnan of the
               73. 8.      Request or require a           Capital     Board shall be elected by at least a majority of the
.^             Conteibution to be made by my Member;                  manbers of the Board at tiie first meeting ofthe Board
               7.3.9.      Authorize the LLC to adopt or              held in each fiscal year.
               conduct its busmess under an assumed or trade          7.6.     Quorum and Voting. A quorum of the Board
               name;                                                  shall consist of at least a nujority of Ae number of
               7.3. 10. Purchase assets not related to the            Dkectois. If a quonun is present when a vote is taken,
               business of &e LLC or change flie primary              flie afBnnative vote of at least a majority of Directors
               business puipose ofthe LLC;                            present shall be fliead: oflie Board, unless the Articles
                                                                      ofOrganizationorthis Agreanentrequiresthevoteof a
               7.3.11. Select,tennuiate,orprovidenoticeof             greaternumber of Directors. Each Director shall have
               non-rencwal       to    the   Centa-'s   anesthesia    one vote on eachsasttei considered by the Board.
               provider,
                                                                     . 77.      Regular Meetings of the Board. R^ular
               7. 3. 12.   Select or temiinate <he Center's           meetings of the Board shall be held quarterly at such
               administrator, provided, that the President            places, within or without fee State of Oregon, on such
               shall have fee authority to assign (he duties and      dates and at such times as tfae Board may determine
               responsibilities of ifae Center administrator,         fi-om time to time.
               supervise his or her day-to^iay perfomiance,
               conduct his or her annual perffflmance review,         7,8.      Meeting by Ttlephonc. Any 01 all Directors
               and detennine his or her compens^ion, in each          may partic4»ate in a i^ular or special meeting by
               case consistent wifli any contractual                  confwence telephone or any other means of
               obligations oftiie LLC; or                             communicationby whichallDirectors participatingmay
                                                                      simultaneously hear each other during the meeting. A
               7.3. 13. Approve any material expansion of             Director participating in a meeting by tiiis means is
               tile premises ofthe Center.                            deemed to be present in p^son atthemeeting,
     7.4.    Acts Requiring Approval of the Members.                  7.9.      Action on Written Consent. Acdon requiied
     Without the approval of AmSurg and the Owners                    or pemiitted to be taken at a meetingofthe Boardmay
     holding at least a mqority oflfae Membership Interests           be taken widiout a meeting, if the number of Directors
     held by die Owners, no Manber or OfBccr or Director              required to approve any such action consent to the
     shall:                                                           taking of such action wi&out a meeting and approve



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^     such action by signing one or more written consents
      describing the action taken. The LLC shall promptly
                                                                                for Care Improvement Program (or olfaer
                                                                                comparable Federal program) or any
      disttibute copies ofany sndi actionto theDirectors, but                   comparable program in connectionwilh a non-
      die failure of the LLC to distribute copies of such action                government third party payer, (2) a clinicaUy
      shall not void or otherwise effect the validity of sud                    integratednehvoik, as sudi tenn is commonly
      action in any manner.                                                     defined by Ac Federal Trade Comxnission, (3)
                                                                                anyaccountd»lecareorganizationparticipatii^
      7. 10.    Notice of Meetings.       The President or any
                                                                                in the Medicare or Medicaid Shared Savings
      two of the Directois may call a special meeting of the
                                                                                Programs or any comparable program in
      Board of Directors by giving 48 hours' prior notice to                    connection with a non-govCTiment third party
      all Directors ofthe date, time and place of the meeting.
                                                                                payor,
      Thenoticeneednot statediepwposeoflhe meeting.
                                                                    in each case desaibed in Sections 8^. 1 and K22 until
                                                                    the later of (i) five (5) years from the date of this
      8.        MEMBERS                                             Agreement, or (ii) two (2) years after sudi Owner (or
      8. 1.   MedicalMalpracticeInsurance. EachOwner                with respect to an Affiliated Physician, the Owner ^vi<h
      shall mamtainat all times medicalmalpracticeinsurance         whom such Affiliated Physician is affiliated) ceases to
      complyingwiflithe MedicalStaffBylawsoftheCenter.              be a MembCTof Ae LLC. WiA respect to persons who
                                                                    are admitted as Owners and AfGliated Physicians
      8.2.      Ownership»ud InvcsfanentRestrictions. No            following Ac date of this Agreement, the restrictions
      Owner or AfBliated Physician, nor any Affiliate of any        described in Sections 8.2.1 and 8.2^ shall apply until
      Owner or Affiliated Physician shall:                          two (2) years after such Owner (or with respect to an
                8.2. 1. haerefay ^ 1 or indirect ownorshq*          Affiliated Physician, Ae Owner with whom such
                interest m, or inanage, lease, develop or           AffiliatedPhysicianis affiliated)ceasesto be a Member
                olherwise have any financial interest in any        oftheLLC.
                bu^nftss or entity cwmpeting or planning to                    The foregoing shall not prohibit any Owner or
                compdtc w the LLC (including, but not               Affiliated Physician, nor any Affiliate of an Owner or
                limited to, any ambulatory suigery center or        ACGIiatcd Physician, firom (i) owning shares of capital
^K\             any physician office in which surgical              stock constituting less than 1% of flie outstanding
                procedures are performed and for which              capital stock ofany coiporatioawhosecommon stockis
                facility fees, tray fees or oAer fees in addition   traded on a national securities exchange, (u) practicing
                to staadaid professional fees are diaiged)          medicine or performmg surgical procedures at any
                within a twenty-five (25) mile radius of flie       facility, (ui) receiving a reasonable fee in exchange for
                Center (the "Market Area"), or                      providing medical director or call coverage services to a
               8.2^. become an employee of a hospital or            tertiary hospital, (iv) semng on medical staffi or
               an Affiliate of a hospital that is located witfiin   medical staffcommitted for hospitals, or (v) continuing
               the Maricet Area, or enter into any contract or      to own aa equity interest in or altering into
               other arrangemait (nAetiiar as a result ofhis or     arrangemaits with entities disclosed on Exhibit S.2.
               her employment or otherwise) <hat requires or        The partiK acknowledge md agree that this Section 8.2
               incentivizes him or her to perform procedures        does not require physician Owners or Affiliated
               at any hospital or ficilily affiliated with a        Physicians to pn&nn suigical procedures at the Centar
               hospital in the Maifcet Area, provided that an       or to refer patients to the Ceiiter, and imposes no
                                                                    restricdons on where sud procedures are pcrfoimcd or
               Owneror AffiliatedPhysicianmay become an
               aayloyee of a hospital or hosphal affiliate and      where refwrals arc made.
               may receive compensation paid by such a                       Each Owner who is a physician and each
               hospital or affiliate that does not require or       Affiliated Physician acknowledges and agrees that <he
                inccativizc such Ownu- or Affiliated Physician      enforcement ofthe provisions ofthis Section 8^ against
               to perfium surgical procedures that are eligible     him or her would not prevent sudi person &om
               to beperfonnedat the Centerat the employing          engaging m his or her profession, the practice of
               hospital or afBUatc or which compensation is         medicine.
               not based, m wfaote or in part, on surgery
               referrals to or procedures perfonned at die                   Each Owner and Affiliated Physician
               employing hospital or afiBliate, and provided,       recognizes and acknowledges flat the ascatauunent of
               fiuthu-, that Ownersmay, directly or indirectly      damages in the eiveat of a breach of this Section 8.2
               through their medical practice or group              would be diEBcult, and agreesthat AmSurg, in addition
               medical practice in which they practice              to all otherrenediesit mayhave,shallhavedieri^it to
               medicine, coDtract wrtfa or participate as a         injunctive relief if there is such a breadi.
               provider in (1) die Federal Biuidled Payments        Notwithstanding the foregoing, m the event a physician
                                                                    Owner or AflBliated Physician, or any Affiliate of a


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       "i.
   ^, 'i     physician Owner or AfBliated Physician wolates the                     professional slaiidards and assisting
. '.. -.
             provisions of Secdon 8^.2, such pfaysidan Ovmer or                     in the periodic review and revision
             AfiBUatedPhysicianshaUyay to abcLLC,as liquidated                      thaeof,
             dam^es,anamountequalto (a)five(5)timestfaeULC                          8.3. 1.6 Developing and maintaining
             Proflfplus fl»e LLC's iataest espaisc foi the pT cceding               professional memberships and active
             twehre (12) calendar months, mmus (b) the LLC's                        visibility m Ac local conununily
             Pn'neqwlIndebtedttcssoutstaadmgasofthedateofsudi                       through the provision of consattir^,
             bittch, with ttas aroount multiplied by sudi Owner's                   educational and related services in a
             ownership interest in the LLC (or sudi Owner's                         manner consistent with Ac role of
             ownership int»est in the LLC immediately prior to the                  Medical Director which are designed
             termination of his or her membership in flie LLC), it                  to promote Ae positive visibility of
             being acknowledgedby die parties that die damagesto                    the Center in the community;
             the LLCin such event would be difificult to ascertain.
                                                                                    8.3.1.7 Devisingthemedical policy
             8.3.     Services Provided by Owners.As additional                     statements of the Center, presenting
             consideration for his or her Membership Interests and                  the statements for the approval of the
             without ftirther chaige to the LLC other than the                      Board and upon securmg Board
             expenses outlined in Section 5.2 hereof, the Owners                    approval,      implementing       and
             holdingat least a majority ofdie MembershipInterests                   monitoringthepolicies;
             thenheldbytheOwnersshallelectandshallprovideflic
             Center with a Medical Director and a Perfonnance                       83.1.8 Assisting the LLC in
             Improvement Chaimum, in each case, subject to ttie                     afiracting qualified physicians to die
             reasonable approval ofthe Board. TheMedical Director                   medical staff of die Caiter and
             andfeePcrfomianceImprovementChainnanshallassist                        recommending to tfae Board Aat
             the B(»ard of Directors, the Officers and the Center                   qualified physicians be granted
             Administrator of the Center in the management of the                   clinical privileges at the Center;
             medicalandclinical affairsoftheLLC.
                                                                                    8.3. 1.9 Assisting the LLC in
                      8.3. 1.   Medical       Director   Duties.   The              attracting qualified non-physician
a                     Medical Director will perfonn the duties and
                      responsibilides assigned fi»m time to time by
                                                                                    staff to woA at the Ceatei and
                                                                                    assessing, in conjunction with other
                      the Board, including, but not limited to:                     members of the medical staff, the
                                                                                    performanceofnon-physicianstaff;
                                8.3. 1. 1 Assisting in the selection of
                                suitable treatment inodality for all                8J. 1. 10 Assisting the Board in its
                                patients ofdieCenter,                               compliance efforts,        includmg
                                                                                    compliance wfth applicable state and
                                8.3.1.2 Assisting    with      Ac                   federal statutes, all standards of
                                development of clinical procedures                  q>plicablc accreditation bodies, and
                                which are designed to assure                        regulations and agency directives
                                adequate monitoring of patiaits and                 concerningthe medical standards of
                                Ac treatmentprocess;                                patiait care required at fee Center,
                                8. 3. 1.3 Directing, coordinating and               and reporting to the Board any
                                reportingtotheBoardon all medical                   known deficiCTcies therdn;
                                aspectsoftheCenter'soperatioiis;                    8.3. 1. 11 Accepting appropriate and
                                8.3. 1.4 Assisting        with        the           reasonabte medical staff dutia and
                                developmentofprocedureswhichare                     assignments at the Center including
                                designed      to   assure ©adequate                 (i) acting as the liaison between the
                                tiainmg of nurses and otha' clinical                medical    staff   and   Ac    Board,
                                staff    in    appropnats    treataent              (ii) appointing plysinans to save as
                                techniques,and(ii) thesupervisionof                 membws and chairmen of medical
                                all non-physicianclinical staffat the               staff committees, and (iii) semng on
                                Ccnta;                                              all coinmittees of the Center; and

                                8.3.1.5 Assistmg     with      the                  8.3. 1. 12 Partidpatu® in long and
                                developmait of clinical procedures                  short range planning for &e Ceirier,
                                which are designed to assure the                    reviewing tfac CCTter's operating
                                availability of a patient care policy               bialgct, and, wbeie q)propriate,
                                 and procedures inanual and olfaa-                  maiding recommendations on the
                                written materials Aat reflect cuirent               budget.




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;%.            S3.2.     Performance                   Improvement         not been excluded from participation in tiie Medicare
               Chairman        Duties.           The     Perfbmiance       programorany othergovernmentalhealthcareprograin
               Improvement Chainnan will perform the                       for any reason, has not been convicted of any crime in
               dirties andresponsibilitiesreasonablyassigned               violation of any state or Federal law related to health
               firom time to dme by the Board or its designee,             care matters, and has no knowledge of any
               including, but not limited to:                              circmnstances or conditions that would reasonably be
                                                                           expected to Kave ia ffialerial adverse itfipact OB the
                         8. 3^. 1 Overseeing the performance               operations of the Center or his or her medical practice
                         improvement program and all                       (other than conditions which might have a material
                         corresponding activities of the                   adverse effect on fee health care industry or ambulatory
                         Center, subject to the authority of the           surgery industry in general),
                         Board;
                                                                           8. 5.    Meetings. Meetmgs of flie Members, for any
                         8.3^. 2 Assisting       in       the              purpose or purposes, may be called by the President
                         development     and revision of                   any two (2) directors, AmSurg or Owners holding at
                         indicators necessary to adequately                least a majority of the Membership Interests then held
                         evaluate care provided by the Center              by the Owners by giving 48 hours' prior notice to all
                         and       that     meet         or     exceed
                                                                           Members of the date, time and place of the meeting.
                         governmentalrequirements;                         The notice need not state the purpose oftfae meeting.
                         S.3^.3 Directingthe review ofdate                 8.6.      Action by Members Without a Meeting;
                         summaries          of     all        identified
                                                                           Telephone Meetiugs. Action required or pennitted to
                         mdicalors.       as well as infomiation
                                                                           be taken at a meeting of Uie Members may be taken
                         fi-oni other sources regardmg the                 without a meeting, if Manbers holding at least the
                         quality of care provided by the                   percentage Membership Interests required to aRprove
                         Center;                                           any such action consent to the taking of such action
                         8.3.2.4 Directing tiie development                without a meeting and approve such action by signing
                         of educational programs based on the              one or more written consente describing the action
                         needs identified through committee                taken. The LLC shall promptly distribute copies of any
^                        activities and supporting departmcnt-             such action to Ifae Members and the Directors, but the
                                                                           failure of the LLC to distribute copies of such action
                         wide      education       on     continuous
                         processimprovementprinciples;                     shall not void or otherwise affect Ac validity of sudi
                                                                           actioninanymanner. A meetingalsomaytakeplaceby
                         8.3^. 5 Overseeing                 the            telephone conference call or any other form of
                         credentialing and recredentialing                 electronic cotnmunication through which the Members
                         process for the Center's medical                  may sunultaaeously hear eadi other, and any Member
                         staSF, subject to die authority of Uie            pardcipatia®through such means shall be considered to
                         Board;                                            be "represented m person" for the pmposes of
                         8.3.2.6 Overseeing            and                 constituting a quorum pursuant to Section 8.6. A
                         administering the risk management                 Manber participating in a meetmg by this means is
                         programfordie Center, subjectto the               deemedto bepresertin personatthemeeting.
                         authority oftheBoard;                             g.7.      Record Date. For the purpose of detemuning
                         8.3.2.7 Overseeing               and              Membas entided to notice of or to vote at any meeting
                         administering medical roalpracdce                 of Members or any adjournment thereof or Members
                         issuesrelatedto IfaeCenter, subjectto             entitled to receive payment of any distribution, or in
                         die authorityofthe Board;                         orderto makea detennmationofMembers for anyoflier
                                                                           purpose, the date on which notice of &e meeting is
                         8.3^.8 Woridng with the Center's                  mailed or the date on which the resolution declaring
                         pcrfonnancciinprovemcntcommittee                  such distribution is adopted, asthe case may be, shall be
                         and      conducting       quarterly               the record dale for such detennmation of MMnbea-s.
                         perfonnance improvement coinmrttee                When a detemmation of MKflbers entitled to vote at
                         meetings; and                                     anymeefagofMembershas beenmade as providedin
                                                                           this Section8.7, sudi detenninatioa shall apply to any
                         8.3J2.9 Reviewing the Center's
                         perfonnaace improvement prograin                  adjournment Aereof.
                         on at least anannualbasis.                        8.8.      Quorum. AmSurg and Owners holding at
      8.4.     Member       Representations.           Each Owner
                                                                           least a majority of die Membership Inter^ts then held
      hereby represents that he or she maintains a current                 by the Owners,representedinpersonorby proxy, shaU
                                                                           constitute a quonnn at any meeting ofMembffs.
      licenseto practicemedicinein Ac StateofOregon, has



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          8.9.    Required Vote; Manner ofActing- Except as             (c) AmSurg agrees in writing was available to the
          otherwise provided in Section 8.7 above, if a quorum is       Ownerreceiving the Infonnationon a non-confidentia]
          present,thea£6imativevoteofAniSurgandAcOwners                 basis prior to disclosure.
          holdingst least is majority oftfaeMembershipInterests         8. 11.    Triggering Events.
          then held by the Owners shall be the act of the
          Membars.                                                                8. 11. 1. Each of the followiDg events shall be
                                                                                  deemed a WTnggeringEvent" for purposes of
          8. 10.      Confidentiality. Exceptas required by law or                this Section 8. 11 with respect to any Owner
          legalprocess, eachOwnerandAffiliatedPhysicianshall                      (and suchOwnershallhereinafterbereferred
          maintoin the confidentiality of all documents and                       to as"TerminatingOwner"):
          infonnation provided by AmSurg or AmSurg Corp. in
          connection with the fonnation of, and the business to be                          8. 11. 1. 1 the    death        of        such
          conducted by, the LLC, including, but not limited to,                             TemiinatingOwner or the Affiliated
          pro fonna financial infonna.tion, outcome studies,                                Physician     of    such    Terminating
          infonmation concerning AmSurg Corp. and its bixsiness                             Owner,
          strategyandany documentsto beutilizedin connection                                8. 11. 1^ the certification, of such
          with die ownership and operation of the Center and/or                             Termmatiag Owner or the Affiliated
          theLLC,includingstrategicplans,capitalandoperating                                Physician of such Terminating
          budgets, employee compensation rates, and managed                                 Owner as peimaaently disabled by at
          care contracts       and related documentation        (tfae                        least two (2) licensed physicians;
          "fafonnation").No Owneror AfBUatedPhysicianwiU
          discuss or disclose any of the Infonnation to any third                            8.11.13 sudi Tcnnitiating Owner or
          party or take any action ttat could compromise the                                 the AJSUiated Physician of such
          confidentiality of the Information . without Ae prior                              Tenninatuig Owner failing to
          written consent of AmSurg Corp. ; provided, that the                               maintain     active    medical           staff
          Owneismay disclosethe Infonnationto theirpersonal                                  privil^es at the Center or the
          accountants, attorneys and other advisois EachOwner                                cessation of the practice of medicine
          and Affiliated Physician shall, upon tennination of his                            by such Terminating Owner or the
'*"?. ^   or her meabersUp in Ac LLC. promptly fetura to                                     Affiliated Physician of such
^-;       AmSurg and the LLC all Information in his or her                                   Terminating Owner on a fall-time
          possession, including witfiout linutation all policy,                              basis (that is, atleast Airty (30) hours
          procedure andproyam manuals andrelated documents,                                  per week, forty weds pcryear);
          and suck person shall not make      or   retain any copi es
                                                                                             8. 11. 1.4 the    relocation        of    the
          Aereof. By their execution of fliis Agreement, each                                practice of such Terminating Owner
          Owner and AfEiliated Physician acknowledges diat the                               or the AfiGliated Physician of such
          Information is proprietary and contauis specialized                                Temiuating Owner outside of the
          knowledge anddatatiiatconstitutes valuable mtellectua!                             Market Area;
          property.
                                                                                             8. 11. 1J such Terminating Owner or
          AmSurg and AmSurg Coqi. shall caaintain the                                        the Affiliated Physician of such
          confidentiality of the Infonn^ionScorn any competing                               Temiinating Owner no longer
          business or facUities AmSurg or AmSurg Corp. may
                                                                                             mainiaming a current license to
          own; provided, tfiat AmSing or AmSurg Coq». may                                    practice medicine in the State of
          disclose the Information to their accountents, attorneys
                                                                                             Oregon (the foregoing not bemg
          and other advisors.         By their execution of this
                                                                                             applicable to a tunporary suspension
          Agreemect, AmSuig and AmSiug Corp. sctaiowledgc                                    of a license to practice in Oregon for
          that tiie Infonnation is proprietary and contains
                                                                                             a penod of less than ninety (90)
           specialized knowledge anddatathatconstitutes valuable                             days);
           utellectual property.
                                                                                             8. 11. 1.6 such Tennmatmg Owner or
          Notwitbstanding flie foregoing, (heInfonnation shall not                           tfae AtRliated Physician of sud)
          include information that (a) is, or becomes, generally                             Tennmating Owner no longer
           available to the public, ottier than as a result of a                             meeting the qualifications to be a
           disclosure in breach of this SecSion 8. 10 by any Owner,
                                                                                             QualifiedOwner,
           (b) is, orbecomes,availabletotheOwnerfroma source
           other than AmSurg or its representatives, provided that                           8. 11. 1.7 such Terminating Ownra- or
           such source is not, andwas not, known by the Owner, to                            the Affiliated Physician of such
           be bound by a confidentiality agreement with, or any                              Terminating Owner is involved in a
           other contractual, i5duciaiy or other legal obligation of                         divorce proceeding or matrimonial
           confidcntidityto, AmSurgor any ofits Affiliates, and                               (Ussolution Aat become final and in



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                    which a transfer of any of such                             state or federal law related to
                    TCTrainatmg Owner's Manbership                              hcalthcareinatters;
                    Interestis ordered, in whichcasethis                        8. 11. 1. 1 Ithe     violation    of     fee
                    subsection shall be applied solely to                       provisions of Section 8.2 by such
                    the ex-spousc of the Teroiuiating                           Tenninating Owner or the Affiliated
                    Owner or Ae Affiliated Physician of                         Physiraan of such Terminating
                    such Termmal:ing Owner, proviaed,                           Owner: and
                    however, that in the event the LLC
                    exercises its right to purchaseany of                       8. 11. 1. 12 the detennination   by
                    the      Terminating       Ownea-'s                         AmSurg and ftie Ownras holding at
                    Membership Interest pursuant to this                        least a majority of Ifac Mcmbeiship
                    subsecdon. tfae Tenninating Owner                           Interests then held by all Owners
                    or the Affiliated Physician of such                         (other than the Teanmating Owner)
                    Teimmating Owner shall have an                              that    the        Teiminating     Owner's
                    option        to      repurchase        such                Membership Interest              shall   be
                    membership interest far the same                            repurchased byIfacLLC.
                    purchase price paid by the LLC in                 8. 11^. The Temiinating Owner shall notify
                    accordancewith Section8.11.2;
                                                                      theLLCandtheotherOwnersin writingofthe
                    8. 11, 1.8 a TerminatingOwneror the               occurrence of such Triggering Event within
                    AflSli^cd PhysicianofaTeiminating                 five (5) days of the Triggering Event
                    Owner (A) makes an assignment for                 occumng.    Each Onmer oflier than the
                    the benefit of creditors or admits in             Terminating Owner shall have the option to
                    writing his inability to pay debts                purcdiasetheMemberehipfaterestheldbysuch
                    gaierally as they become due, (B)                 Tenninating      Owner   (the     "Triggered
                    implies to any tribunal for the                   Interests"), allocated m this manner: the
                    appointment of a trustee or receiver              amount to be purchased by a specific Owner
                    of any substantial part of his assets,            shall not exceed suchpurchasingOwner's pro
                    (C) commences any voluntoy                        rata interest detennmed witii respect to such
                    proceeding under any baiAmptcy,                   Owner's current Membership Percentage in
                    reorganization,         airangement,              the )-LC compared with the Membership
                    insolvency, rcadjustaicnt of debt,                Percentages of other Owners other than the
                    dissolution or other liquidation laws             TeroimariDg Owner, unless all of the Owners
                    of any jurisdiction, (D) becomes the              other than the Tenninating Owner agree to
                    subject     of     any    involuntary             purdiase in dififerent proportions.                The
                    proceedii^s and such Termmating                   purchase price for all of the Tenninating
                    Owner or flie Affiliated Physician of             Owner's Triggered Interests shall be die
                    such Tenninatmg Owner indicates                   "Purchase Price" of sudi Tri^ered Interests
                    his     approval,      consent     or             (as defined below); each purdiasing Owner
                    acquiesMnce, or (E) becomes Ae                    shallpaya purchasepriceequalto thevalueof
                    subject of an wdcr appointing a                   the applicable portion of Ifae Triggered
                    trustee or receiver, adjudicating him              Interests bdnag purchased by such Owner,
                    bankrupt or insolvent or approving a              whichshall equal the product ofthe Purchase
                    petition       in     any        mvoluntary       Price of the Terminating Member's collective
                    proceeding, and such order remains                Triggered Interests . multiplied by Ac
                    ineffectfor ninety(90) days;                       percenti^e portion of the Triggered Interests
                                                                      being purchased by such purchasing Owner.
                    8. 11. 1.9 the      exclusion     of    such
                                                                      TheOwnerspurchasingthe TriggeredInterests
                    Tcrmmating Owner or the AflBIiated                shall simiiltaneously close on such purchases)
                    Physician of such Teiminating                      on the BO"1day folloming the date of notice of
                    Owner by the Centers for Medicare                  the Tri^cring Event.
                    & Medicaid Services or &e state
                    Medicaid agency from partiripation                 8. 11.3. To fhe extent that any Triggered
                    inthe Medicareor Medicaidprogram                   Interests are not purchased pursuant to Section
                    for any reason;                                    8. 11.2 as described above, the LLC, at the
                                                                       direction of AniSurg, shall have the right, but
                    8. 11. 1-IOthe      conviction     of   such
                                                                       not the obligation, to purchase all, but not less
                    Terminating Owner or the AfiSiliated               fern all, of the remMiung Triggered Interests
                    Physician of such Tcmiin^ing                       on die tenns and conditions described m
                    Owner of a felony in violation of any              Section 8. 11.2. In die event the LLC exercises



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          its option, it shall give notice to the                      published by the U.S. Treasury to calcul^e
          Tenninating Owner and close on the purchase                  imputed iaterest as in effect on the last day of
          of sudi Triggered Ihtsrests within 60 days of                the Applicable 12-Monfh Period, prcpayable
          noticeoftheTriggeringEvent.                                  without penalty, and payable in not more than
                                                                       twenty-feur (24) equal rnosthfy insialhneiits,
          8. 11.4. The purchase price (the "Purchase                   comromcmg one(1) montiiafterthe endofthe
          Price"), for all of the Terminating Owner's                  Applicable 12-MorifliTeriod. The nuiker
          Triggered IntCTests shall be detennined as
                                                                       under such promissoiy note shall not pay or
          follows:
                                                                       oweany interestwith respectto theApplicable
                     8. 11.4. 1 If the Triggering Event is             12-Month Period or with respect to the fact
                     one described in Sections 8. 11. 1.1              that the purchase price will not be paid until
                     through 8. 11. 1.8 and Section                    after the end of the Applicable 12-Monlh
                     8. 11. 1. 12, an amount equal to (i)              Period.
                     Aree (3) times the LLCProfit for the
                                                                       Wthin thirty (30) days after the end of fte
                     twelve (12) calendar months
                     unmediatelyfollowingthe Triggering
                                                                       Applicable       12-Monfli      Period       (the
                                                                       "Detennination Date"), the Boaid shall
                     Event Date (Ae "AppUcabIe 12                      calculate Ac Prospective EBTTDA Amount
                     Mon& Period") plus the LLC's                      and the resulting Purchase Price hereunder,
                     interest expense for the twelve (12)              andshall delivera copy of suchcalculationsto
                     calendar       months   immediately               the Terounating Owaei and each of the
                     precedingtfae Triggering EventDate,
                                                                       purohasers of the Triggered Interests. Upon
                     minus (ii) &e LLC's outstanding                   receipt of sudi calculations, eadi of the
                     Principal Indebtedness as of the
                                                                       purchasers shall have the option to eiAer pay
                     Triggering Event Date (the                        their respective portion of the Purchase Price
                     "Prospective EBITDA Amount"),
                                                                       (A) in full, in legal tender ofdie United States,
                     with this amount multiplied by the
                                                                       by check or by wire transfer; or (B) pursuant to
                     selling Terminating Owner's pro rata
                                                                       the tenns of the Promissoiy Note feat he, she
                     percentage ownership interest in the              or it delivered attheclosing.
                     LLC.
                                                              8. 12.    Annual Certification. In order to assist the
                     8. 11.4^ If the Triggering Event is      LLC in detennining vAefliff it meets the standards set
                     one descnbed in Sections 8.11. 1.9
                                                              forth in the safe harbor to the Anti-Kickback Statute
                     and 8. 11. 1. 10, Ifac purchase price
                                                              qiplicable to ambulatory surgery center inveslments,
                     shall be equal to 50% of the amount
                                                              each physician Owner and AJGBUated Physician shall
                     detennined in       accordance   with
                     Section8.11.4. 1.
                                                              certify annually to Ac LLC in writing, with respect to
                                                              the prior fiscal year, on or before March 31: (i) the
                     §. 11.43 If the Triggering Event is      poitioH ofhis or her aimual professional incoiae derived
                     described in Section 8. 11. 1. 11, the   from perfonnuigoutpatientsurgicalproceaures;and(ii)
                     purchase price shall be One Uollar       tine percentage of sudi Owner's outpatient surgical
                     ($1.00).                                 procedures fliat WKC pcrfonned at the CentCT. A copy
                                                              of the fonn ofAnnual Certification is attached hereto as
         ». ii.5.    To the Cinent flie Purehase Price is
                                                              Exhibit B. For puiposes of this Secdon 8. 12,
         determined to be $1.00 pursuant to Section           "ou^atient surgical procedures" means those suigical
         8. 11.4.3, the appUcableportion ofsuchamount         procedures that were aufliorized to be performed in
         shall be paid by the purchasing parties to the       ambulatory surgical centers under (li e applicable
         Tenninating Owner on the closing. To fte             Medicare regulations for the prior fiscal year. The
         extent the calculation oftfae Purchase Price is
                                                              Maisb 31 annual certification requirements shall
         dependent upon the Prospective EBrTD/(. '?           conunaace on March 31, 2014 witt respect to the fiscal
         Amount, the LLC and/or fee purchasing"^              year cndmgDecember31, 2013 and shall continueeach.
         Owners shall not pay the purchase price at           yearfliereafter.
         closing and ao amount shaj] be due by the
         LLC and/or the purchasing Owners at closing.         8. 13.    Fiduciary Duty.         Notwithstanding the
         Ratfaer, at the closing, each of the parties         foregoing or any other provision of dus Agreement or
         purchasing flie Triggered Interests shall deliver    qiplicable law, eadi Owner and Affiliated Physician
         to the Tcmiinatiag Owner a promissory note           »da>onrte<^es md ayccs flat AmSuig and its AffiUate
         evidencing his, her or its obligation to pay         may owo and opcrtfc, and may cwitinuc to own and
         their respective portion of PurchasePrice (Ac        optsrate, fiusUitics and imsmesses located wiflun fl»e
         'Vromissory Note"), bearing simple interest          fttokict Area diat compete wift flw busmcM ofthe LLC
         per annum at the applicable base interest rate       TlicOwnasanddte AjiaiatedPhysiciansacioncmrtedgt


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           and as^es that AmSui'g and its AfiGUates shall not be                  Center, and e&te into agreemenls
           restricted in the o^Wlcrship fx cycratiou of any such                  contamingsuditams, provisionsand
           competing fadlMcs and businesses, shall have no                        awidituics as &e President msiy deem
          obligation to yve priority to the ownership and                         a^sabfa^
          operation of Ae business of theU_C, and shall heve no
          obli^tton or liability to Ac LLC or the Owna-s as a                     9.3.2.4 Cause the LLC to lease,
          resultofactions(atomin fiirthcranccoftheowm»sh4>or                      acquire, own and operate any
          operation ofsudi competing faalitits andbusinesses.                     equipment, fixtures, supplies or other
                                                                                  itaans necessary for the operation of
                                                                                  theCeatCT;
          9.        OFFICERS
                                                                                  932.5 On behalf of and fw Ac
          9. 1.    Appointment of Otficers. The Board shall                       baiftGt of the LLC, mter into any
          appoint a Presidentand may appoint one or more Vice                     contracts or arrangcm<aits necessaiy
          Presidents, a Treasurer, a Secretaiy and such other                     for tte craiductof diebusinessofAc
          ofiBcereas the Boaidshall electfrom time to time, all of                LLC;
          whom will be AfiEUiates of AmSurg, to serve as the
          officers of the LLC.                                                    9.3^.6 Purchase fiom or through
                                                                                  others conteacts of liability, casualty
          9.2.     Term. The- OfRcers shall serve for an                          and otfaer insurance which the
          indefinite term until removed and replaced by the                       President deems advisable for the
          Board.                                                                  protection of the LLC or for any
                                                                                  puipose convenient or baieficial to
          9. 3.    Presldtnt
                                                                                  theLLC;
                   9.3. 1. General. SiAjcct to the provisions of
                                                                                 9.32. 7    On behalf of and for the
                   this Agreement, including without limitation
                                                                                  benefit    of     &e    LLC,     incur
                   Sections 7.3 and 7. 4, the management of tfae
                                                                                  indebtedness;
                   business affiaiis of the LLC shall rest with the
                   President, who shall have all the authority                    9J.2. 8 Sell oroAcrwise disposeof,
^
\,. ^-
                   which may be possessed by a president
                   pursuant to tfae Act, and such additional
                                                                                 upon such tesms and conditions as
                                                                                 the President may deem advisable,
                   authority as otherwise confeired by law or is                 appropriateor convenient, any ofthe
                   necessary or advisable in the discharge of the                assets of the LLC that do not
                   duties of the President under this Agreement.                 constitute all or substantially all of
                   The President shall perfonn his or her duties to              the LLC'sassets;
                   die best ofhis or her ability and shall use his or
                   her best efforts to cany out the business ofthe               9.3.2.9 Establish bank accounts in
                   LLC.     The President shall not serve as an                  the name and on behalfof the LLC
                   agent,officer, employee, or consultantfor any                 and designate <faesigaatories thereon;
                   competing business or facilities AmSuig or                    9.3^. 10 Invest ia shon-tenn debt
                   AmSurg Coip. uiay owu.                                        obligations of fedaal and state
                   9.3.2.    Powers. Subjectto the provisions of                 governments and flieir agencies,
                   Sections 7. 3 and 7.4 andthose powers reserved                commercial paper and ctartificates of
                   to the Members and the Board by this                          deposit ofcommercial banks, savings
                   Agreement or the Articles ofOiganizatiou, the                 bank or savings and loan associations
                   Pniridcnt may, on behalf of and at die cost,                  and "money market" mutual funds,
                   expaise and risk of the LLC and in acconlancc                 such JBmds as are temporarily not
                   with the operatmg and capital budgets of the                  required for the puiposes of die
                   LLC:                                                          LLC's operations; and

                            9.3.2. 1 On behalf of &e LLC,                        9.3J2.11 Delegate all or any of its
                            spend the capital and net income of                  duties haeunder aiid, in furtherance
                            the LLC in the exercise of any rights                of any such dele^tion, appoint,
                            or powers possessedby fte Presiduit                  employ or contract wiA any person
                            hereunder;                                           (incliuUng AflBUates oftheMeonbas)
                                                                                 for the transaction of the business of
                            9.33..2 Make capital expenditures                    ttie LLC, which persons may, under
                            on behalfoftheLLC;                                   the supC
                                                                                        Tvision of Ifae Presidart, act
                                                                                 as     consultants,       accountants,
                            9.3.2.3 Cause the LLC to lease,
                            acquire, own,iiianageand operateth®
                                                                                 attonneys, brokers, escrowagents, or


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^f\                        in any other capactty deemed by the                mattCTS and financial rq>ortmg matteis, which
                           President necessary or desirable, and              shall be approved by AmSurg aad shall not be
                           pay appropriate fees to any of such                subjectto Boardapproval);
                           persons. Without limitmg the
                                                                              9.4.9. Hire, supervise, discipline and
                           foregoing, AmSurg may delegate to
                                                                              discharge, in conjunction with the Medical
                           AmSiug Coip. the authority to                                   TSons woikingin tfaejCeater and
                                                                              Dn^ctor, dl pC
                           negotiate and execute agreements
                                                                              providingdirectpatientcare, asneeded;
                           withpayoison behalfoftheLLC.
      9.4.      Duties. Without further charge to flie LLC                    9.4. 10. Tnun Center parsonnel witt respect
                                                                              to all aspects of Ihe Center's operations,
      other than the cxpffises outlined in Section 5.2 hereot,
                                                                              including but not limited to administrative,
      AmSurg, Ihrou^i the President, shall consult in and
                                                                              clinical, financial and cnaricriing matters;
      oversee Ifae admniistrative operations ofthe Center and,
      subject to Ae temis of this Agreement, including                       9.4. 11. Arrai^e for tfie purdiaseby fee LLC
      widiout limitation Seitions 7.3 and 7.4, and die general               of necessary insurance coverage for tfae
      direction and control of the Board, cooidinate all                      Center;
      business and administrative activities pertaming to die
      Center, including, but not m any way lunited to, Ac                    9.4. 12. Establish and administer accounting
      following:                                                             procedures and controls and systems for the
                                                                             development, preparation and keeping of
               9.4. 1.     Assist the Center in operating in an              records and books of accounting related to the
               efficient andbusiness like manner;                            business and financial aflfairs ofthe Center;
               9.4.2. Coordinate the purchase or lease of                    9.4. 13. Overseethepreparadoaoftiie amiual
               equipment, supplies and phannaceuticals                       report and tax information returns required to
               (inchiding purchases through national                         be filed by the LLC, and deliver a copy of
               purchasing programs) necessary for the                        same to the Members in a timely manner as
               operationoftheCenter;                                         needed;
               9.4.3.      Coordinale    all    reasonable    and            9.4. 14. Furnish the LLC in a timely fashion
               neccssaiy actions to maintain all licenses,                   monthly operating reports and other repoits
               pennits and certiiBcates required for the                     reasonably requested by Ac Board or any
               operation of the Center, and to ensure that all               Director,
               appropriate certification and accreditation
               available to the Center's operations are                      9.4. 15. Prepare for Board review all capital
               obtained;                                                     andannual operating budgets asneedc<^ and

               9.4.4.      Coordinate, with the support of the               9.4. 16. Perfonn all duties herein required of
               Medical Director and the Board, ongoing                       it in good faith and wift reasonable diligence
               marketing progranis to increase communily                     so as to maximize the Center's ability to
               andpsyai awarenessofthe Center;                               rfGciently provide qi propriate quaiity health
                                                                             care to patients.
               9.4.5.      Negotiate the amount and method of
               reimbursement that the Center will receive           For the avoidance of doubt, (a) AmSurg shall not
               fiom all q>propriate tfurd party payers, both        allocate or charge to the LtC any of its gcnaal
               publicandprivate;                                    coqrorate ovafacad expenses relating to the services to
                                                                    be provided by AmSurg piusuant to this Section 9.4 and
               9. 4.6.     Establish,   inaiatain,   revise   and   (b) AmSurg shall not at any time impose on die LLC a
               administer, wift the support and apprcival of        percentage-based or other recumng management fee.
               the Board, the overall chaige structure of the
               Center and arrange for payment of sudh               9.5.      Right to Rdy Upon tte Authority of tte
               charges by ofters, whm appropriate;                  Preslduifc No person dealing wiA tfacPresident shall be
                                                                    required to determine tfae Presiifcnt's authority to mfll»
               9.4.7. Anange and i>%otiate financing for            any nmumtmBnt or undcrtdding<MIbdhatfof^ LLC,
               equipment and future ciyital needs of tfae           not to dctemunc any factor circumstancebearinglyon
               Craiter;                                             fee udstence of its uiflimity. In addition, no purdtasa'
               9.4.8. Develop and revise, subject to
                                                                    of any property of the LLC shall be requuid to
                                                                    ddcnnine the sole and exclusive authority of die
               q>proval by the Board, all necessary policies
               and operating procedures pertaining to each          President to sign and deliver on behalf of Ac LLC any
^^                                                                  instrument of transfw, or to see to the ^)plicalion or
               aspect of fte Center's operations (except for
                                                                    distribution of revenues or proceeds paid or credited in
               policies and procedures relating to corporate
               and regulatory compliance, employment                connectiontherewith, unless suchpurdiasereshall have



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received written notice from the LLC affecting the           10,        INDEMNINCAT10N
same.
                                                            ] 0. 1.  Authority to Indemnify- The LLC shall
9.6.     Vice President The Vice President or Vice          indemnify, and upon request shall advance expensesto,
Presidents (if any) shall assist the President in the       an individualmade a party to a proceedingbecausesudi
management of the LLC, and shall perfonn such other         individual is or was a Responsible PCTSOU, to the fiill
dutiesastheBoardmayfiremtimeto timeprescribe.               CTtent peimitted-bylaw-, against liability-incun-ed-inthe
                                                            proceeding if the Responsible Person satisfies the
9.7.       Secretary. The Secretaiy shall be responsible
                                                            followingstandardofconduct:
for recording the minutes of all Board and Member
meetings. The Sccretaiy shall have the responsibility of                10. 1. 1. The Responsible Person's conducl
auflienticatmgrecords ofthe LLC and receivingnotices                    was in good faith and the Responsible Person
required to be sent to the Secretary and shall perfona                  reasonably believed (a) in the case of conduct
such other duties as the Board may from tune to time                    in the Responsible Person's ofEcial capacity
presnibe.                                                               with the LLC, that his or her conduct was in
                                                                        the best mterestoftheLLC and(b) in all other
9.8.    Treasurer. The Treasurer shall have custody                     cases, that his or her conduct was at least not
ofthe LLC'sfundsand securities, shall keep or causeto
                                                                        opposed to the LLC's best interest; and
be kept fall and accurate account of receipts and
disbursements in books of the LLC, shall disburse or                  10. 1.2. In the case of any criminal
cause to be disbursed the funds of the LLC as required                proceeding, the Responsible Person had no
m the ordinary course of business, and shall perfonn                  reasonable cause to believe his or her conduct
such other duties as may be incident to his or her oflBce             was unlawful.
or asprescribedby Ac Board.
                                                             10.2.   Limitations on Authority to Indemnify.
9. 9.     Limitation on UabiUty. An Officer shall not       Exceptas required by applicable law, the LLC may not
be liable for any action taken as an Officer, or any        indemnifya ResponsiblePerson(a) in connection with a
faUureto take actica as an OfGcer, except to the extent     proceeding by or in the right of the LLC m which the
that such OfBcer's conduct failed to comply with the        ResponsiblePersonwasadjudgedliableto the LLC,and
standardsset forth in Sedion 48-249-115ofthe Act            (b) in connection with any other proceeding charging
                                                            improper persona] benefit to such Responsible Person,
9. 10.    Res^nation. Any Officer of the LLC may
                                                            whether or not involving action in the Responsible
resign at any tune by giving written notice to tiw
                                                            Person's official capacity, in which the Responsible
Members. The resigpation of any OfiTicer shall take
effectuponreceiptofnoticethereofor at such later time
                                                            Peison was adjudged liable on the basis that personal
                                                            benefit was improperly received by such Responsible
asshall be specifiedin suchnoticc;andunless oflierwise      Person.
specified tfaerein, the acceptance of such resignation
shallnotbenecessaryto makeit effective.                               The indenmification and advancement of
                                                            expensesgrantedpursuant to this Article 10 shall not be
9. 11.    Compensation        and Reimbursement.     No
                                                            deemed exclusive of any other rights to which a
Officer shall have any right to compensation for services   Responsible Person seeking iadeimufication or
performed on behalf of the LLC except as determined         advancement of e^enses may be entitled, whether
firom time to time by the Board. Notwiflistanding the
                                                            contained      in   fliis   Article 10,   Ae   Articles   of
foregoing, an Officer shall have the right to be
                                                            Oigaaizatioa,&c Act, a resolution of the Board, or an
reimbursed by the LLC for any reasonable and
                                                            agreementprovidingfor suchindenuufication;provided,
documented out-of-pocket expenses incunred by such          however, thatno indemiuficationmay be made to or on
Ofiicer in connection wife any services perfbnned by
                                                            behalfofany ResponsiblePersonif a judgmentm other
such Officer on behalf ofthe LLC.
                                                            final adjudication adverse to the Responsible Person
9. 12. No Exdusb'fc Duty. Each Officer may have             establisheshisor her liability:
other business interests and may mgage in other
                                                                      10.2. 1. For any breach of duty of loyalty to
activities in addition to those relating to the LLC.
                                                                      the LLCor fts Manbers;
NeMier flie LLC nor any Member shall have the right to
share or participate in such other invcstaieats .or                   10.2.2. For acts or omissious not in good
activities of such Officer based on SU(A OfBcer's status              faith or which involve intentionid misconduct
as an Officer of the LLC. No Officer shall incur any                  or a knowing violation of law, or
liability to any Member or the LLC as a result of
engaging in any other business or venture.
                                                                      10.2.3. For any liability for unlawful
                                                                      distributions incun-ed under Section 48-249-
                                                                      307 of die Act,

                                                            10.3.   Advances for Expenses. To the full extent
                                                            pennitted by law, flic indemnification and advances



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         provided for herein shall mclude expenses (mcluding        generally accepted accounting principles consistcaitly
         attorneys' fees), judgments, fines and amounts paid in     applied. The LLC shall also fiuaishto eachMember not
         settlement. If the LLC advances expenses to a              later than ninety (90) days after Ae end of each fiscal
         Responsible Person pursuant to this Article 10 and it is   year whatever infonnation may b& necessary for
         subsequently determined that the Responsible Person is     Members to file tfieir federal income tax returns. The
         not entitled to iademnification, the Rjespoasible Person   LLC will also make avmlable to each Member upon
         will repay such advances within fifieeh (I5)~ Says of      request a copy oT summary sf'all state aaa/or local tax
         such determination.                                        returns whicharefiledby theLLC.
         10.4.    Indemuification of Oflicers, Employees and        11.5.     Banking. All funds of the LLC shaU be
         Agents. An Officer, employee, independent contractor       initially deposited in a separate bank account or
         or Agent of the LLC who is not a Rcspomible Person is      accounts or in an account or accounts of a savings and
         entitled    to   indemnification   and advancement    of   loan association as shall be detennined by the Board,
         expenses to the same extent as a Responsible Person.       but such funds may be invested as provided in
         The LLC shall also mdemnify and advance expenses to        Section9.3.2. 10 hereof.
         an Officer, employee, independenl contractor or Agent
         who is not a Responsible Person to the extent required,    11. 6.  Tax Matters Member. AmSurg shall be the
         consistent with public policy, by specific action of the   Tax Matters Member within the meaning ofthe Code.
         Board or by contract.
                                                                    12.      ASSIGNMENTANDTCRMINATIONOF
                                                                             MEMBERSHIP INTERESTS AND
         11.        FISCALMATTERS
                                                                             ADMISSIONOFNEWMEMBERS
         11. 1.     Books and Recurds. The LLC's books and
        records (including a current list of fee names and          12. 1.   Assignment of Membership Interests. No
        addresses of all Members) and an executed copy of this      Ownermay assign or transfer all or any part ofhis, her
        Agreement, as currently in effect, shall be mauitained at   or its Membership Interest in fte LLC (including any
        the principal executive office of the LLC, and each         Financial Ri^its, Govcroance Ri^its or other rights
        Member shall have access thereto at all reasonable          pertainingto a Membershiptotercst) exceptas follows:
't:r.   times.                                                               12.1. 1. Subject to the provisions of
        11.2.    Fiscal Year. The fiscal year of die LLC shall               Section 12. 2 hereof, a Member inay assign all
        bethe calendaryear.                                                  or any part of such Member's Membership
                                                                             Interest   to   anotiier   Member,   without   the
         11.3.   Tax Status; Elections. Notwithstandmg my                    consent of any Member other Aan the
        provision hereof to the contrary, solely for purposes of             assignee;
        the federal income tax laws, each of the Members
        hereby recognizes that the LLC will be subject to all                12. 1.2. Subject      to    the provisions     of
        provisions ofSubchapterK ofChapter ! of Subtitle A of                Section12.3 hereof; a Manber may assign
        the Code; provided, however, the filing of a U.S.                    such Member's Membership Interest to any
        Partnership Return of Income shall not be construed to              person who is not a Member who meets, or
        extend the puiposes of the LLC or expand the                        upon admission as a Member would meet, ifae
        obligations or liabilities of Ifae Members. Upon the                requirements to bea QualifiedOwner;
        transfer of an interest m the LLC or m the event of a               12, 1.3. A Member may not assign all or any
        distribution of the LLC's property, the Tax Matters                 part of such Member's Financial Rights in the
        Member may, but is not required to, elect puniiant to               LLC except puisuant to a simultaneous
        Section754 ofthe Codeto adjusttihebasisoftfaeLLC's                  assignment of the GovHnancc Rights and
        property as allowed by Sections 734(b) and 743(b)                   other rights pertaining to die entire
        thereof.                                                            Membership Interest to which such Fmancial
         11.4.    Reports to Members. As soon as reasonably                 Rights relate puisuant to this Article 12;
        practicableafterthe endofeachfiscalyear, butnot lato                12. 1.4. Governance Rights may not be
        tfaan ninely (90) days after the end of each fiscal year,           assigned to another parson except pursuant to a
        tfae LLC shall mafce available to eadi Member an                    simultaneous assignment of the Financial
        unaudited balance sheet of the LLC at tfae end of the               Rights and otherrights pertainingto the entire
        previous fiscal year and unandited statements of income             Membership Interest to which such
        or loss of fee LLC for such year. In addition, fee LLC              Governance Rights relate pursuant to Ifais
        will deliver to each Member unaudited monthly                       Article 12;
        summaries of its opwations.
                                                                            12.1.5. AmSuigmayassignall or any part of
                    All suchfinancialstatements shall beprepared            its Membership Interest to a third party
        on an accrual basis of accounting in accordance with                without Ae consent of any Member; provided,


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            however, that AmSurg may not assign all or                                 consideration stated in the
            my part of its Membership Interest to a                                    Offer. The LLC, at the
            hospital located in the Market Area, including,                            direction of the Board, shall
            without limitation. St Charles Health System                               exercise such option by
            or aay of its AfiUiates, without obtaining the                            giving written notice both
            prior written consent oftfae Owners holding at                            to the Transferor and each
            least a majority of flie MTembeislup Iriieres&                            other "Member witliiii'ffie
            held by tfae Owners; and                                                  LLC Option Period. Should
            12. 1.6. The LLC need not recognize any                                   the LLC fait to give written
                                                                                      notice wifliin such LLC
           assignmentofall or anypartofa Membership
           Interest other than an assignment described in                             Option Period, the LLC
                                                                                      shall be deemed to have
           Sections 12. 1. 1 throu^i 12. 1. 5 hereof, Any
                                                                                      waived such option.
           other assignment or attempted assignment
           shall be void. No assignmentshall be effective
                                                                              12. 3. 1^ rf the LLC does not
           until written notice thereof has been provided
           to the LLC and any other applicable                                          exercise its option to
           requirements set forfli in this Agreement or Ifae                          purchase all (but not less
           Articles ofOrganizationhavebeensatisfied.                                  than all) of the Offered
                                                                                      Interests,    each     Member
 12.2.  Assigament of Membership Interest t»                                          ofheT than the Transferor,
 Another Member. A Member may assiga all or any                                       wifem thirty (30) days
 portion of such Member's Membership Interest to an                                  beginning on the earlier of
 existing Member if: (a) the assignee accepts such                                   the expiration of the LLC
 assignment,(b) the assignorandthe assigneegiveprior                                 Option Periodor the dateof
 written notice of such assignment to the LLC, and (c)                               the written notice from fte
 the assignment is q>proved by die Board. Upon                                       LLC waiving such option
 satisfaction of the conditions specified in the foregoing                           (the     "Member         Option
 sentence, the LLC will cause Exhibit A hereto to be                                 Period"), may exercise an
amaided to the extent required by Section 12.9 hereof                                option    to    purchase    the
and the assignee vrill become the holder of the                                      Offered Interests upon the
Membership Interest so assigned.                                                     same tenns and conditions
                                                                                     and    for     the    same
12. 3.    Assignment of Membership Interest To A
                                                                                     consideration stated in the
Non-Member. If an Owner (the "Transferor") desires
to transfer, assiffl or sell all or any portion ofhis, her or                        Offer, on a basis pro rata to
its Membership Interest (the "Oflfered Interests") to a                              their            Membwship
third party that is not an existing Member and that                                  Percentage (or on a basis
meets, or uponadmissionas a Member wouldmeet, the                                    pro rata to the interest of
requirements to be a Qualified Owner (Ae                                             those remainingMembers)
"Transferee"), fce Transferor shall obtain JS-om the                                 exercising      this     second
Transferee a bona fide written offer to purchase die                                 option to purchase), or such
                                                                                     other allocation as all of
OfferedInterests, statingtheterms and conditionsupon
which the pi irchase is to be made and the consideration                             the purchasing Members
offeredtherefor(the "OfiEer").The Transferorshall give                               may agree to among
                                                                                     fliemselves. The otha-
notice to tfae LLC and the remainmg Members) of his,
                                                                                     Members shall exercise
heror its intention to sell, fiunishing a copy of (he entu-e
Offer(the"Notice").                                                                  such options by giving
                                                                                     written notice both to the
          12.3. 1. RightofFirst Refiisd.                                             Transferor and each other
                                                                                     Member wifliin the Member
                     12.3. I. 1 Within thirty (30) days of                           Option Period. Should a
                                the receipt of Notice (the                           Member fail to give written
                                "LLC Option Period"), the                            notice within the Member
                                LLC may exercise an                                  Option Penod, the Member
                                option to purchase all but                           shall be deeined to have
                                  not less ifaan all of the                          Waived such option.
                                  Offered Interests proposed
                                  to be sold by the Transferor,              12.3. 1.3 In the event any Member
                                  upon the terms and                                 shall not have exercised his
                                  conditions and for the same                        or her option to purchase


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iQs.
                                       the Offered Interests, each                                      waived with respect to any
                                       other       Member          who                                  proposed    transfer or
                                       exercises in fiill its option                                    assignment by an 0^vne^
                                       pursuantto Section ! 2.3. 1.2                                    provided that such fa-ansfer
                                       may, within ten (10) days                                        or assigtiuient is approved
                                       after the expiration of the                                      by tfae Board and the
                                       Memb» Opflou Period (the                                         Mmibers elect to waive
                                       "Over-AUotmait Period"),                                         their rights under this
                                       exercise    an     option     to                                 Section 12.3. 1.
                                       purchase die remaining
                                       Offered Interests upon the                    12.3.2. If the right of first refusal options set
                                       tenns and conditions and                     forth above are forfeited or waived, then
                                       for the same consideration                   within ten (10) days after the expiration of the
                                       stated in the Offer. In the                  last option period granted above, the
                                      case of a siiigle Member,                     Transferor may transfer the Offered Intwests
                                      his or her option shall be to                 to theTransfereenamedintheNoticeuponthe
                                      purchase all of the                           tenns. specified therein, provided (i) such
                                      remainingOffered Tntercsfcs.                  Transferor has provided the Notice, (ii) such
                                      In die case of two or more                    transfer, sale or assignment is in compliance
                                      other Members, each such                      with the Securities Act of 1933. as amended
                                      other Mcinber's option shall                  (the "SecuritiesAct"), andall applicablestate
                                      be to purchase die amount                     securities laws, and, if requestedby the Board,
                                      all such other Members                        such Tramsferor has delivered an opinion of
                                      may     detennine    by                       suchTransferor's counsel to the LLC, in form
                                      agreement         among                       and substance reasonably satisfactory to the
                                      themselves, or if ifaey                       LLC, to tiie effect ifaat such transfer is either
                                      cannot agree, by one or                       exemptfiom the requirements ofthe Securities
                                      more successive allocations                   Act and tfae ^>plicable securities laws of any
Q;                                    in the proportion that the
                                      Membership Interest owned
                                                                                    state or that such registration requirements
                                                                                    have been complied wth, (iii) tfae Board
                                      by each ofthe eligible other                  approves such transfer, sale or assignment
                                      Members bews to the total                     (iv) theproposedtransfer,assignmentorsaleis
                                      Membership           Interests                made in compliance with this Section 12.3.2,
                                      owned by all such eligible                    and (v) the TransfCTee executes a joinder to
                                      other Members. Such other                     this Operating Agreement and agrees ia
                                      Members shall exercise                        writingto beboundbythetennshereof. Upon
                                      such options by givuig                        the satisfaction of the condidons set forth in
                                      written notice both to the                    the preceding sentence and tfae making of the
                                      Transferor and each other                     assignment, the LLC will caus-e Exhibit
                                      Member within the Over-                       hereto to be amended in accordance witii
                                      Allotment Period. Should a                    Section! 2.9 hereof and the assignee will
                                      Membff fail to give written                   become a Member holding the Membership
                                      notice within the Over-                       Interestso assigned.
                                      AUotment      Penod,         the
                                      Member shall be deemed to           12.4.     Tenmbaation of a Membership Interest
                                      have waived such option.            Notwithstanding any provisions to the contrary
                                                                          contained in the Act, a Member's Memb»shipInterest
                          12.3. 1.4 The LLC and tfae other                shall be terminatedonly on the applicationofthe LLC
                                                                          or another Member as described in Section 48-249-
                                    Members must, in the
                                                                          503(a)(6) of the Act   In the event a Manba-'s
                                      aggregate,   exercise   their
                                      options to purchase all of          Mcmbersliip interest is tenninated:
                                      the Offered Interests;                        12. 4. 1. If the business and existeace of tihe
                                      otherwise, their options                     LLC are not continued, the Member whose
                                      shaUbe forfeited.                            MembershipInterestis tennlnated is entitledto
                                                                                   receive the Member's distribution pursuant to
                          12.3. 1.5 Notwithstanding anything                       Article 13; and
i^                                contained herein to the
                                                                                   12AJ2.    If the business and existence of the
                                  contrary, tee limi ts under
                                  this Section 12J.1 may be                        LLC are continued, the Member whose



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                  MembershipInterest is terminated is entitled to              12.7.1. If AmSurg'sMembershipPercentage
                  receive the lesser of:                                       at the time anyNewMember is to beadmitted
                            12.4. 2. 1 The value of the Member's
                                                                               is greater than 51%, then AmSurg and each
                                                                               Owner shall transfer to sudi New Memba its
                            Membership Interest on a going
                                                                               or his pro rata share, on the ba.sis of its or his
                            concern basis as deterauned by the
                            LLC within 90 days of the                          then-cuirent Membership Percentage, of the
                            termination date, or                               New MemBcr Interest provided, however, that
                                                                               in no event will AmSurg be required to
                            12.4.2.2 The value of the Member's                 transferanyportionofitsMembershipInterest
                            MembershipInterest on a liquidation               to the New Member that would result in
                            basis as detennincd by the LLC                    AmSurg's Membership Percentage following
                            within 90 days of fee tennination                 any such transfer falling below 51.0%; and
                            date.                                             provided, further, that &e Owners may elect to
                                                                              transfer their Membership hterests in such
       If a Member's Mambeiship Interest is terminated in
       contravention of this Agreement or ttie Articles of
                                                                              otherproportions as ftey may mutually agree.
                                                                              In the event that the MemberAip Interest to be
       Organization, the Member forfeits its Governance
       Rights and shall be liable to the other Members for
                                                                              transfenedbyAmSurgis so limitedto prevwit
                                                                              AmSurg's        Membership    Percentage     from
       damagesincurredbythe other MembwsandtheLLCas                           falling below 51. 0%, each Owner shall transfer
       a result ofthe wrongfiil termination. Such damages may
                                                                              to the New Member his pro rata share, on fte
       be ofifset against any amount to be paid to fte                        basis      of   such    Owner's      thcn-cuirent
       tenninating Member. Any payment to a tciminating
       Member shall be paid to the tennij iating Member within
                                                                              Membership Interest as a percentage of the
                                                                              Membership Interests held by all Owners, of
       six months of As determination of die amount of the
                                                                              the Membership Interest that would have
       payment.                                                               otherwise been transfeired to the New Member
      12.5.     Restrictions on Assignment No Member                          by AmSurg; provided, tfaat die Owners may
      shall be permitted to assign such Member's Membership                   elect to transfer their Membership Interests in
      Interest, Finaacia) Rights or Governance Rights if such                 such other proportions as they may mutually
      assignment would result in the LLC being taxed for                      agree.
      federal incometax purposes asan associationtaxable as
      a coiporation or would constitute a violation of any                    12.7.2. If AmSurg's MembershipPercentage
      applicable federal or state law. Each of the Members                    at the time any NewMember »$to be admitted
      hereby agrees and acknowledgesthat the restrictions on                  is equal to or less than 51%, then each Owner
      assignment     contained      in Ais Article 12 are not                 shall transfer to the New Member his or her
      unreasonable ui view of fee nature of the parties and                   pro rata share, on the basis of such Owner's
      their relationships to one another and the nature of the                Ihen-cmrent Membership Interest as a
      business ofthe LLC,                                                     percentage of the Membership Interests held
                                                                              by all Owners, of the New Member Interest;
      12.6. Rights and Obligations of Former
                                                                              provided, thatthe Owners may elect to transfer
      Members. A Member who assigns all of the
                                                                              their Membership Interests in such ofiicr
      Governance Rights of such Member or whose
                                                                              proportions asthey may mutually agree.
      Membership Interest is otherwise teammated shall cease
      to be a Member, provided, however, that such fonner
      Member or any Successor shall remain liable to Ae LLC                   12.7.3. All proceeds coirespondug to the
      for any obligations of such Member for unlawful                        transfer of any Membership Interest to a New
      distributions uuda Section 48-249-307 ofAe Act.                        Member pursuant to this Section 12. 7 shall
                                                                             belong exclusively to the party ttansferring
      12. 7.    Admission of New Members / Issuances of                      such Membership Interest, and, for the
      Equity. The admission of a new Member pursuant to                      avoidance of doubt, neither the LLC nor any
      the issuance of a new Membershq? Interest which is not                 oflier Member shall have any right to such
      acquired pursuant to my assignment by or from any                      proceeds.
      existing or fonner Menibcr (a "NewMember"), or the
                                                                    Notwithstanding anyflung contained herein to the
      issuance of a new Membership Interest to an existing
      Member must be approved by the Boaid. In die case of          contraiy, the Members acknowledge and agree Aat it is
      a New Manber, the New Member shall receive the total          theMembers' intentionthatAmSurgwill alwaysown a
      amountofthe MembershipInterestto bereceived by the            51% or greater Memba-ship faterest in the LLC.
      New Member, as detennined by the Board (the "New              12.8.    Government Regulation. If a Fundamental
B
m^-
      Member Interest"), as follows:                                R^ulatoiy Change should occur, AmSurg or its
                                                                    Afifiliates or assigns may, attheir option, purchase some
                                                                    or all of the Membership Interests of Owners for a


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       purchase price equal to (a) three (3) times fte LLC                       Owner will be distributed a pro rata share of
       Profit plus <heLLC'sinterest expeiisefor the preceding                    the Available Cash Flow allocated to that
       twelve (12) calendar months (if the Center has not been                   Membership Interest for the month in which
      in operation for a full twelve (12) months, the last six                   AmSurg purchases the Membership Interest
      (6) months of LLC Profit will be annualized for this                       based upon the number of days during such
      calculation), minus (b) the LLC's outstanding Principal                    month prior to such purchase in relation to the
      Indebtedness, with ffiis amount mulfiplied T)y the                         total niuiiber of days 'ia such month. Such
      Membership Interest of Owners being purchased                              distribution shall be made within ninety (90)
      hereunder.                                                                 daysafterthe endofsuchmonth.
                 The    detennination      that   a   Fundamental                12.8.4. No payment other than those
      Regulatoiy Change has occurred shall be made by (a)                        specifically provided for herein shall be dueor
      counsel to AmSurg, with the concurrence of counsel to                      payable with respect to the Membership
      Owners, (b) counsel to Owners, with the concurrence of                     Interest of any Owner. Any debt due by the
      counsel to AmSurg or (c) if counsel to AmSurg and                          LLC to any Ownershall be payable according
      Owners cannot concur, by a nationally recognized law                       to its tenns.
      fmn withexpertise in healthcare lawjointly selected by
      AmSuigandOwners.                                                            12. 8. 5. Any closit^ of the purchase of an
                                                                                 Owner's Membership Interest pursuant to this
               The Membership Interest that may be                               Section 12.8 shall be held at the principal
      purchased by AmSurg pursuant to this Section will not                      office of the LLC within thirty (30) days
      exceed the minimum Membership Interest nsquired to                         following the exercise by AmSurg of its option
      be purchased as a result of (he Fundamental Regulstoiy                     to purchase such Membership Interest as
      Change.                                                                    described above-

                In the event of a Fundamental Rcgulatoiy                                  At the closing, AmSuig shall pay,
      Change and Ac exercise by AmSurg of its option as                          upon the tenns specified hereiaabove, the
      described above, Ae purdiase price of the Membership                       determined value of such Membership Interest
      Interest purchased shall be determined and payable in                      to such Owner, after receiving appropriate
      the mannerhereinafita-set forth:                                          releases and satisfactiMis.
Ma.
                12.8. 1. Owners shall be paid 20% of the                         12.8.6. AmSurg may transfer or assign any
                purchase price (net after reduction for any                     of its rights to purchase the Membership
                obligations owed by any Owner to ttie LLC),                     Interest of an Owner to AmSurg's Affiliates or
                in cash and 80% by AmSurg Coq). 's non-                         assigns.
                negotiablepromissory note payable in four (4)
                approximately equal annual installments of                      12.8.7. If AmSurg or its Affiliate purchases
                principal, commencing twelve (12) months                        some or all of the Membership Interest of an
                after the closing, togetfaer with interest at a tale            Owner pursuant to this Section 12.8, AmSurg
                                                                                will use its best efforts to have such Owner
                equal to one-half percentage point over the
                Prime Rate.                                                     released firom the appropriale portion of
                                                                                Principal Indebtedness, if any, guaranteed by
                         The note shall contain provisions for                  such Owner. In the event that m Owner is not
                (a) die acceleration of die entire unpaid                       so released, AmSurg and AmSurg Coip. will
                balance ofprincipal and accrued interestat the                  indcmniiyand holdhannless sudi OwnerBmm
                option of the holder in the event of de&ult in                  liability resulting from that portion of such
                payment of any principal or interest whendue,                   guaranty.
                (b) the payment of reasonable attorneys' fees
                m the event of default, and (c) prepaymcnt,            12.9.    Amendment to Exhibit A. An appropriate
                without paaalty, of all or any part ofthe unpaid       amcndmart to the amounts shown for capital account
                principal, any prepayment being first applied          balances and Membership Percentages on Exhibit A
                to then accruedinterest.                               hereto shall be made upon: (a) my assignment or
                                                                       tennination of a Membership Interest described in
                12.8^. If in dispute, all determinations of            Sections 12. 1. 1 teough 1Z1.S hereof, (b)Ae admission
                LLC Profit required under tfais Section 12.8           of any New Member under Section 12.7 hereof, or
                shall be made by an independent certified              (c) any purchase of a Membership Interret pursuantto
                public accountant acceptable to bath Owners            Section 12.8 hereof.
                and AmSua^ aad any such detenniaation so
                madeshallbe bindingonaUparties.                        12. 10. Pledge of Membership Interest No pledge
                                                                       of an Owner's interest may be made without the
                12.8. 3. If an Owner's Membership Interest is          approvalofAmSurg. ThepledgeoforAegrantingof a
                acquired pursuant to this Section 12.8, such           securityinterest, lien or otherencumbrancein or against


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ri'.'
Ki.^      any or all of a Member's Membership Interest shall not        any, shall be treated as if sold for their fair market value
          constitute an assigmneator transferofsudi Membership          and allocalions shall be made pursuant to Sections 6.1
          Interest for purposes of this Article 12 or cause such        and 6.2 hereof,
          Memberto ceaseto be a Member or to ceaseto have the
          power to exercise any of its rights or powers 9s »            13.4.     Waiver of Right to Partition and Decree of
         Membec. Any such pledgee shall not be a Memberand             Dissolution. As a material inducement to each Member
         shall not be entitled to any rights of a Member, other        to execute this A^eemeflt, each MembCT covenants and
         than the right to receive profit and loss allocations and     represents to eachotlier Memberthat, during flie period
         distributions to the extent pennitted by applicable law,      beginning on the date of this Agreement, no Member,
         unless such pledgee becomes a Member pursuant to              nor such Member's heirs, representatives, successors,
         Section 12. 3 hereof. In any event, the foreclosure of or     transferees or assigns, will attempt to makeanypartition
         exerciseofother securedpartyremedieswithrespectto             whateverof&e assetsoftheLLCoranyinteresttherein
         suchpledge, security interest, lien <wotherencumbrance        whether now owned or hereafter acquired, and each
         resulting in an Assignment of any such Membership             Member waives all rights of partition provided by
         Interest shall noneAeless be an Assignment subject to         statuteOTprinciplesoflawor equity, includingpartition
         the restdctions of Article 12. AmSuig shall have tfie         in kind or partition by sa]c. The Members agree that
         right to pledge or grml a security interest, lien or other    ureparabledamagewould be doneto die goodwill and
         encumbrancein or againstanyor all of its Membership           reputation of Ae LLC if any Member should bring an
         Interest.                                                     action in a court to dissolve the LLC. Tlic Members
                                                                       agree feat tfiis Agreement provides fiiir and just
                                                                       provisionsforpayment andliquidationofthe interestof
         13.         DISSOLUTION, WINDING UP, AND                      any Member in the LLC, and fair andjust provisions to
                     TERMINATION OF THE LLC'S                          prevent a Member ftom selling or olfaerwise alienating
                     EXISTENCE                                         its interest in fhe LLC. Accordingly, each Member
         13. 1.  Term. The teran of the LLC shall continue
                                                                       hereby waives and renounces its rig}it to such a court
         until earlier tenninated in accordance with the               decree of dissolution or to seek the appointment by
                                                                       court ofa liquidator or receiver for theLLC.
         provisions of this Agreemait. The Membera intend for
         die term of the LLC, and their involvemart in the
 I       operation thereof, to continue until the Members              14.        GENERAL PROVISIONS
         mutually agree otherwise. No Member shall take any
         action uailaterally to tCTminate the LLC or withdraw as       14. 1.    Notices. Except as othu-wise provided in this
        a Member.                                                     Agreement,       any    notice,   payment,     demand      or
                                                                      communicationrequiredorpeimittedtobegivenbyany
         13.2.       Events Causing Dissolution and Winding           provisionofthisAgreementshallbedulygiven
        Up. The LLC shall be dissolved and its affsurs wound
        up only upon the occurrence of the following events                       14. 1. 1. if delivered in writmg, personally to
        (individually, a "Dissolution Event"):                                   the person to whom it is authorized to be
                                                                                 given; or
                     13.2. 1. At any time with the prior approval
                     of AmSurg and Ae Ownersholding at least a                   14. 1.2. if sent bycertifiedorregisteredmail,
                     majority ofthe MembershipIntereststhenheld                  overnight couria- service or facsimile to tfae
                     by the Owners;or                                            addressof the Member or Directorreflected in
                                                                                 the records of the U.C.
                     13.2.2. Teroiination    of this     Agreement
                     pursuant to Section U. 13 hereof.                          Any such noUce shall be deemed to be given
                                                                      as oftfac date so delivered, ifdclivCTed personally, as of
        13J. Winding Up Affairs oa Dissolution. Upon                  the dateonwhidithesamewasdepositedin AeUnited
        dissolution of the LLC, the OflBcers or otiaer pasons         States mail, postage prepaid, addressed and sent as
        requiredor permittedbylawto canryoutthewindingup              aforesaid, or on the date received if sent by overnight
        of the affairs of the LLC shall promptly notify all           courier services or electronic facsinule.
        Members of such dissolution; shall wind up the aBsais
        of the LLC; shall prepare and file all instruments or         14^. Section Captions. Sedioa and other captions
        documents required by law to be filed to reflect &e           contained in this Agreement are for reference purposes
        dissolution of the LLC; and. after collecting the debts       only andare in no wayintendedto describe, interpret,
        and obligations owed to Ac LLC and after paying or            define or limit the scope, extent or intent of this
        providii^ for die payment of all liabUities and               Agreementor my provisionhereof.
        obligations of the LLC, shall distribute (he assets of the
                                                                      14.3. Applicable Law. This Agreement and the
        LLCm accordancewith Section6.5. In determinmgthe              rights of the Members shall be govaned by and
        final balance ofthe Book CE^pitaI Accounts, assets ofthe      co&stmed and enforced in accordancewith the laws of
        LLC which arc distributed in kind to the Members, if          the State ofTennessee.




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'c%^
        14.4.     Severability. In case any one or more of the        pertaining. The aibitrarion proceedings shall be held in
       provisions contained in this Agreement or any                  Denver, Colorado. The procedures for conducting
       application thereof shall be invalid, illegai or               discovery in connection with any such artiitration
       unaiforceable m any respect, (he validity, legality and        proceedmg shall be detennined by the mutual agreement
       cnforccability of the remaining provisions contamed            of the Members party to the art)itration proceeding or, if
       herein and any otherapplicationthereofshall not in any         such Members cannot agree, by the arbitrators. The
       way be affected or im^ired tliereBy. With'out limiting         arBitraIorssKall apply the substantive laws offlieStMe
       the foregoing, the Members agree that m die event a            of Tennessee and the UnitBd States.
       court or arbitrator with q)propriate jurisdiction
       determine dial the geographic area and/or (he time                       The parties to The arbitration may, if they are
       restricdons      set forth in Section 8.2       hereof are     able to do so, agree upon one arbitrator, ofhennse, there
       unenforceable as a matter of law. then the court or            shall be three arbitrators selected to resolve disputes
       arbitrator may modify the unenforceable provision in           piirsuant to this Section 14. 11, one named in writing by
       order to make it enforceable and such modification will        each party that is party to the arbitration proceeding
                                                                      (one arbitrator selected by (he plamtiff and one
       be deemedto be valid amendmentto this Agreementto
       which each Owner and his or her Affiliates or AmSurg           arbitrator selected by the defendant) within thirty (30)
       and its Affiliates will be bound.                              days after notice of arbitration is served upon any
                                                                      Member by another Member, and a third aAitrator
       14.5.   Binding Effect Except as herein otherwise              selected by the two arbitrators selected by tile parties
       provided to the contraiy, this Agreement shall be              within fifteen (15) days thereafter.
       binding upon, and inure to the benefit of, the Members
                                                                                If tfac two arbitrators cannot select a third
       and their respective heirs, executors, administrators,
       successors, transferees amdassigps.                            arbitrator wiflun such fifitean (15) days, either party may
                                                                      request that (he AHLA select such third arbitrator. If one
       14.6.    Terminology. All personal pronouns used in            party does oot choose an arbitrator within thirty (30)
       Ais Agreement, whether used in die masculine,                  days, the other party shall request that the AHLA name
       feminine, or neater gender, shall include all other            such other arbibator. No one shall serve as arbifaator
       genders; and the singular shall include the plural, and        who is in any way fuiancially interested in this
       vice versa.                                                    Agreementor m theaffairs ofanyMember.
^       14.7.    Aincndmcnt. This Agreement and/or the                          Each of the parties to the arbitration shall pay
       Articles of OrganizationoftheLLCmaybeamendedin                 its own expenses of arbitration and one-half of Ihe
       writing (a) only with the consent of AmSurg and the            expenses of the arbitrators). If any position by any
       Owners holding at least a majority of the Membership           party to the arbitration, or any defense or objection
       Intereststhenheld bytheOwnersand(b) withrespectto              thereto, is deemed by the aTbitratot<s) to have been
       Exhibit A hereto, under Ae circunistances set forth in         unreasonable, the arbitrators) shall assess, as part of
       Sections 4.8 and 12.9 hereof.                                  their award against Ac unreasonable party or reduce Ae
                                                                      award to the unreasonable party, all or part of Ac
       14.8.      Parties in Interest. Each and all of (he
                                                                      arbitration expenses (including reasonable attorneys'
       covenants, tenns, provisions and agreements herein
                                                                      fees) ofdieo&er party and offlie arbitrators).
       containedshallbe bindingupon andinure to the benefit
       of (he Members hereto and, to the extent permitted by          14.12. Access to Books and Records by
       this Agreement, their respective heirs, legal                  Governmental Officials. Upon written request of the
       representatives, successorsandassigns.                         Secretary of Health and Humm Services or the
                                                                      Comptroller General or any other duly authorized
       14.9.    Counterparts. This Agreement may be
                                                                      representatives thereof, each Member shall make
       executed in counterparts, each of which shall be deemed        available to Ifae Secretery those contracts, books,
       an original but all of which shall constitute me and tile
                                                                      documents and records necessary to verify the nature
       same instrument. Electronic copies of signatarcs will
                                                                      and extent of the cost of providing its services to the
       constitute enforceable original sipiatures.
                                                                      Center. Such inspection shall be available up to fow (4)
       14. 10.    Interpretation          in   Accordance     with    years after such services are rendered. If any Member
       Requirements for Partnershy Tax Treatment. The                 carriesout any ofthe dutiesofthis Agreement through
       LLCis intendedto betreatedas a partnershipfor federal          subcontract with a value of Ten Thousand Dollars
       income tax puiposes, and fliis Agreement shall be              ($10, 000) or more over a twelve (12) month period with
       interpreted m a manner consistent with such intended           a related individual or organization, such Member
       tax treatment.                                                 agrees to include this requirement in such subcontract. If
                                                                      a request from the Scctctaiy or his representative is
       14. 11. Arbitration. All disputes arismg under flus            serred on a Member, that Mefflber will notify the LLC
       Agreement shall be resolved by binding arbitration             in writingpriorto respondii^to therequest
       puisuant to the rules of the American Health Lawyeis
       Association Dispute Resolution Service ("AHLA") Aen



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                                                                                                                         Exhibit 1
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           14. 13. Limited Renegotiation. This Agreement shall         Membership Interests in Article 12 and fte repurchase
          be construed to be in accordance with any and all            provisions set forth in Section 8. 11 above.         The
          federal, and state laws, including laws relating to          tennination of the marital relationship of any Owsec or
          Medicare, Medicaid and other third party payers. In the      the Affiliated Physician of any Owner for any reason
          event there is a change in suchlaws, whetherby statute,      sfaal! not have the effect of removing my Membership
          regulation, agency or judicial decision, inteipretation,      Interests otherwise subject to this Agreement from the
          pronouncement, guidance or otherwise diat has any            "coverage hereof. In the event any Owner should
          material effect on any term of this Agreement, then the       hereafter become married to any pason other than such
          applicable tenn(s) of the Agreement shall be subject to      person's existing spouse, such person shall cause such
          renegotiation and any Member may request                     new spouse promptly to execute an instrument
          renegotiation of Ifae affected teem or terms of this         acceptable to the Board pursuant to which said new
          Agreement, upon written notice to the other Members,         spouse shall agree to be bound by the terms of this
          to remedy suchcondition.                                     Agreement, including the tenns of this Section 14. 15.
                  The Members expressly recogni2e that upon            Furthennore, each ofthe undersigned spouses, if any, of
                                                                       the Owners or the AfiRliated Physician of such Owner,
         request for renegotiation, each Member has a duty and
         obligation to the others only to renegotiate the affected     hereby appoints the Owner or the AflEiliated Physician to
         tenn(s) in good faid and, turther, each Member                whom he or she is married as his or her attorney in fact
                                                                       to represent him or her in aQmatters with regard to the
         expressly agrees that its consent to proposals submitted
                                                                       LLC and to bind his or her interest, jointly widi such
         by the other Members during renegotiation efforts shall
         not beunreasonablywithheld.
                                                                       Owner's, including by execution of any document
                                                                       relating to the LLC.
                  Should the Members be unable to renegotiate
         the tenn or tenns so affected so as to bring it/them into
         compliance with Ac statute, regulatioii, agency or
         judicial decision, interpretation, pronouncement,
         guidance or other reason that rendeTed it/them unlawfiil
         or uneirforeeable within sfarty (60) days of the date on
         which notice of a desired renegotiation is given, thai
         AmSurg or the Owners, upon approval of the Owners                  [Remainderofpageintentionallyleft blank]
         holding at least a majority of the Membership Interests
         then held by the Owners, shaU be entitled, after the
         expiration of said sbdy (60) day period, to terminate this
         Agreement upon Airty (30) addftional days written
         notice to Ae Members.

         14. 14. Integrated Agreement. This Agreement
         constitutes the nitire understanding and agreement
         betweenIheMembers with respectto the subject matter
         hereof aid there are nu ugreements, understandings,
         restrictions, representations or wananties among Ae
         Members other than those set forth haein or herein
         providedfor.
                   The Members acknowledge that Ihey have
         independently n^otiated the provisions of this
         Agreement,thatthey haverelied upontheirown counsel
         as to matters of law and application and fliat no Member
         has relied on any other Member with regard to such
         matters. The Members expressly agree thai there shall
         be no presumption created as a result of any Member
         havii%preparedm wholeor in partanyprovision ofthis
         Agreement.

         14. 15. Spousal Consents. The unders^ned spouses,
         if any, ofthe Owners and any AflEiliatedPhysiciansjoin
         in Ihe executionofthis Agreementto cvideaiceAat their
         community property interest, if any, in the LLC shall be
,   -^   bound by the terms of this Agreement, includmg
         without    limitation,    restrictions   on   fransfer   of




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                                                                                                                        Exhibit 1
                                                                                                                    Page 25 of 90
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Si^f
          CERTIFICATE
                  IN     WFTNESS WKEREOF, the
                                                                By:.
          undCTsigned hereby agree, acknowledge and certify     Name:
          Aat (he foregoms, Agreement cpnstitytes the
          Operating Agreement ofBend Surgeiy Center, LLC
          adopted by the Members.
                    The undersigned spouse of the Owner or
          Affiliated Physician, if any, named below hereby      StephaaBoe, M.D.
          certifies that he/she has read this agreement,
          understands each provision, and agrees to be bound     Spouse:
          by the tenns set forth m this agreement, including
          without limitation, Section 14. 15 above.             By:.
                       Wf,D^.
          AMSURG HOLDING;                                       Name:

          By:           UL^t-  i~y^.\(
          Name:     _a^        ^Mfc\      /^\
                      a-Miiri:
          Title:
                                        ^                       Patricia Buehler, M.D.

          OWNERS:                                                Spouse:

                                                                By:.
          Robert Andrews, M. D.
                                                                Name:
          Spouse:
j!^13-.
          By:.
                                                                RodneyBuzzas,M.D.
          Name:
                                                                Spouse:

                                                                By:.
          Aaron Askew, M.D.
                                                                Name:
          Spouse:

          By:.
                                                                Arte Cantor, M. D.
          Name:
                                                                 Spouse:

                                                                By:
          Timothy Beard, M.D.
                                                                Name:
          Spouse:

          By:.
                                                                Brian Desmuud, M. D.
          Name:
                                                                 Spouse:

                                                                By:.
          RichardBochner,M.D.
                                                                Name:
 £^:      Spouse:



                                       (Signature Page to Operating Agreement ofLLC)

                                                                                                     Exhibit 1
                                                                                                 Page 26 of 90
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          CERTIFICATE
                   IN     WITNESS          WHEREOF,      the     By:.
         undersigned hereby agree, acknowledge and certify      Name:
         that the foregoing Agreement constitutes the
         Operating Agreement of B<nd Surgery Cenler, l,L
         adopted by the Members.
                   The undersigned spouse of the Owner or
         Afliliated Physician, if any, nained below hereby      Stephen Boe,M.D.
         certifies that he/she has read this agreement,
         understands each provision, and agrees to be bound     Spouse;
         by the tcnns set forth in this agreement, including
         without limitation. Section 14. 15 above.              By:.
         AMSURG HOLDINGS, INC                                   Name:




                                                                Patrida Buehlcr, M.D.

                                                                Spouse:

         Robert Andrews, M.D.
                                                                By;.
                                                                Name:
         Spouse:

         By: ^^^,
i^         \^
        Name: ^/?* /1. /^l^&^S                                  Rodney Buzzas, M. D.

                                                               Spouse:


        Aaron Askew, M. D.
                                                               By:.
                                                               Name:
        Spouse:

        By:.
        Name:
                                                               Arte Cantor, M.D.

                                                               Spouse:

                                                               By:.
        Timothy Beard, M.D.
                                                               Name:
        Spouse:

        By:.
                                                               Brian Desmond, M. D.
        Name:
                                                               Spouse:


        Rjchard Bochner, M.D.
                                                               By:.
                                                               Naane:
;<<-,   Spouse:




                                    (Signature Page to Operating Agreeroent ofLLC)


                                                                                                       Exhibit 1
                                                                                                   Page 27 of 90
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^
     CERTIFICATE
             IN      WITNESS        WHEREOF, the            By:.
     undersigned hereby agree, acknowledge and n>rtify
                                                            Name;
     that the foregoing Agreement constitutes the
     Operating Agrieiemertt of Bend Surgery Center, LLC
     adopted by the Members.
              The undersigned spouse of the Owner or
     Affiliated Physician, if any, named below hereby       Stqihen Boe,M.D.
     cenilles that he/she has read this agreement,
     understands each provision, and agrees to be bound     Spouse:
     by the terms set forth in this agreement, including
     without limitation. Section 14. 15 above.              By:.
     AMSURG HOLDINGS, INC.                                  Name;

     By:
     Name:
     Title:
                                                            Patricia Buehler, M. D.
     OWNERS:
                                                            Spouse:

    Robert Andrews, M.D.
                                                           By:.
                                                           Name:
    Spouse:

m   By:.
                                                           RodneyBuzzas, M.D.
    Name:
                                                           Spouse:

                                                           By:.
                                                           Name:

                             ^. (2%^
                                                           Arte Cantor, M.D.
    Name: f^ IM£-1<?l^ J .                AS-KC ^
                                                           Spouse:

    Timothy Beard; M. D.
                                                           By:.
                                                           Name:
    Spouse:

    By:.
                                                           Brian Desmond, M. D.
    Name:
                                                           Spouse:

    Richard Bochner, M. D.
                                                           By:.
                                                           Name:
w   Spouse:



                                (Signature Pageto Operating Agreement ofLLC)


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      ^?
            CERTIFICATE
                    IN    WITNESS        WHEREOF, the             By.
           undersigned hereby agrse, acknowledge and certify      Name;
           that the foregoing Agreement constitutes the
           Operating Agreement of Bend Sargery Center, LLC
           adopted by theMembers,
                    The undersigned spouse of the Owner or
           Affiliated Physician, if Any, named below hereby       StephenBoe, M.D.
           certifies thai he/she has read this agreement,
           understands each provision, and agrees to be bound    Spouse:
           by the terms set fonh in this agreement, including
           without limitation. Section 14. 15 above.             By:.
           AMSURG HOLDINGS, INC.                                 Name:

           By:
           Name:
           Title:                                                Patricia Buehler, M. D.

           OWNERS:                                               Spouse:

                                                                 By:.
           Robert Andrews, M.D,
                                                                 Name;
           Spouse:
/^>
?-?J
           By:.
                                                                 Rodney Buzzas,M.D.
           Name:
                                                                 Spouse:

                                                                 By:.
           Aaron Askew, M.D.
                                                                 Name:
           Spouse;

           By:.
                                                                 Arte Cantor, M. D.
           Name;


                                      ^r                         Spouse:

                                                                 By:.
                                                                 Name:




                                                                 Brian Desmond, M. D.
           Name!: C^-y^-T'^-tA           /^4? ^ff
                                                                 Spouse:

           Richard Bochner, M. D.
                                                                 By;.
S-.
^          Spouse:
                                                                 Name:




                                       (SignaturePageto OperatingAgreementofLLC)


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                      CBRTiyiCAT&
                              tn     wn-hffiss      WHEREOF,         tbc      By:W^fc fe-Ak^-
                      undereigaed hereby agree, acknowledge and certify       Name: %4/<a&5ifiA£/ ^OC'hnC^
                     that tho foregoing Agreemctit constitutes the
                     Operating Agreement of Bold Surgeiy Cwtcr, LLC
                     adoptedi»ytheMembers.
                               Ihc undcrai&ncd Spouse of Ac Owaar or
                     AjBEitiatcd Riysician, if any. naBied below hereby       Sttpbw Boe. M.D.
                     oertificB dat Wsho has read this agreenKail,
                     undwnandaeachprovision, and agreest& be bound            Spouse;
                     by the tcrtns set fiwA in this affvcment, including
                     Wthoutlimitation, Scctiim 14.15 sbove.                   By;.
                     AMSURG HOLDINGS, INC.                                    Name:

                     By:
                    Name;
                    Titl?:                                                   PatriciABudhIer. M.D.
                    OWNKfiS!                                                 $pO USK


                    Robert Andirffws, M-D.
                                                                             By:.
(;::
                                                                             Name:
                    Spouse:

                    By:.
                                                                             Rodtfy B»zaa», M. D.
                    Name:
                                                                             Spouse:

                    Aaron Askew, MLD.
                                                                             By:.
                                                                             Nun«
                    Spouse:

                    By:.
                                                                             Art< Cantor, M.O.
                Napie:
                                                                            Spouse;

                                                                            By:,
                .

                    naotty BcardtM.I>.
                                                                            Name;
                Spouse:

                By:,
                                                                            Brian DcsmoBd, MfJD.
                Name:

                               z^                                           Spouse:-

                                                                            By:.
                Rii
                                                                            Name:




                                                                                                             Exhibit 1
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     CE.RTINCATE
S&
               IN   WITNESS        WHEREOF,         the
                                                           By:.
     undersigned hereby spec, acfaxwledgc and culify       Natw:
     that the {oregome Agreeniwtf eoiistiaites (he
     C^eratiag A^recnieaitof Bead Siu-gny CCTtei, LLC
     adoptedby the Menibeis.
              the undKsigiied Bpause of the OwnBT or                  fA^ U^-^^
     Affiliated Physician, if any, named Tielow hereby
     certifies that he/she has read this agreement,
     undeisBnds eacli provision, and Bgrccs to be bound     Spouse: y<^ ^' ^trei
     by the tams set forth i» this agreement, including
     wntfaflut lututation, Scch'im 14. 15 above.            By:.
     AMSURG BOLDB'iGS, INC                                 Name:        n.^
     By.
     .
                                                                      7
     NBIBK
     Title,-                                                Patricia Buehter, MJ».
     OWNERS:
                                                            Spouse:


     Kobert Andrews, M.D.
                                                            By..
                                                            Nanus:
     Spouse:

     By..
     Name:
                                                            Rodney Bnaus, M.l>.

                                                            Spouse:
^                                                           By;.
     Aaron Askew,M.D.
                                                            Name:
     Spouse;

     By;.
     Name:                                                  Arte Cantor, M. D.

                                                            Spouse:

     Timothy Beard, WLD.                                    By:.
                                                            Name:
     Spouse;

     By. _
     Maine:                                               -/ Brian Desmond, MJ).

                                                            Spouse:

     RidwrdBochner,M.D.                                     By:.
                                                            Name:
     Spouse:



                                (SignaturePageto OperatingAgreementofLLC)




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$»
            CERTIFICATE
                   IN     WITNESS WHEREOF, Ac
                                                                 By:.
           underaignsd hereby agree, acknowledge and cssfify     Name:
           ihat the foregoing AgTeement constitutes the
           Operafing Agreement of JBendSurgery Center, LLC
           adoptedby the Monbers.
                     The undwsi^ed spouse of the Owner or
           Affiliated Phystcian, if any, nwned below hereby      Stephen Boc, M. D.
           certifies that he/she has read ttis agreement,
           undwstands eadi provision, and agrees to he bound     Spouse:
           by the temu set forth to this agreement, including
           without limitation. Section 14. 15 above.             By:.
           AMSURG HOLDINGS, INC.

           By:
           Nanie:
           Title:
                                                                       ricta Buefaler. M.D.
           OWNERS:                                                     >US^ V^^<. C. <X\A^l(A_/
                                                                 Spouse:


           Ruberl Andrews, M.D.
                                                                 By:.              V^f^A^-^-
                                                                 Name:
           Spouse:

           By:._
iSj'i't.
                                                                 Rodney Buzzas,M.D.
           Name;
                                                                Spouse:

                                                                 By:
           Aaron Askew, M.D.
                                                                Name:
           Spouse:

           By..
                                                                ArteCantor, M.D.
           Name:
                                                                Spouse:


           Timothy Beard, M. D.
                                                                By:.
                                                                Name:
           Spouse:

           By;.
                                                                Brian Diesraond,M. D,
           Name:
                                                                Spouse:

           Richard Bochner, M. D.
                                                                By:.
                                                                Name:
           Spouse:



                                       (Signature Pageto Operating Agreement ofLLC)



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e           CERTIFICATE
                    IN     WITNESS WHEREOF,               the      By:.
            undersigned hereby agree, acknowledge and certify
                                                                   Name:
            that ihe forcguing Agreement constitutes the
            Operating A^rsement of Bend Surgeiy Center, LLG
            adopted by theMembers.
                      The undersigned spouse of the Owner or
            Affiliated Physician, if any, named below hereby       Stephen Boe, M.D.
            certifies that he/she has read this agreement,
            understands each provision, and agrees to be bound     Spouse:
            by the terms set forth in this agreement, including
            withoutlimitation, Section 14. 15 above.               By:.
            AMSURG HOLDINGS, INC.                                  Name:

           By:
           Name:
           Title:
                                                                  Pstricia Buehler, M.D.
           OWNERS:
                                                                  Spouse:

           Robert Andrews, M. D.
                                                                  By:
                                                                  Name:
           Spouse:



;. :;..'
           By:.                                                                                ^
           Name:




           Aaron Askew> M. D.

           Spouse:
                                                                  Name;   . /Hi^tu^ L '^ujws
           By:.
                                                                  Arte Cantor, M. D.
           Name;

                                                                  Spouse:

           Timothy Beard, M.D.
                                                                  By:.
                                                                  Name;
           Spouse:

           By:.
                                                                  Brian Desmond, M.D.
           Name;
                                                                  Spouse:

           Richard Bochner, M. D.
                                                                  By:.
                                                                  Name:
           Spouse:



                                       (SignaturePageto OperatingAgreement ofLLC)


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    "&
           CERTIFICATE
                    IN     WITNESS WHEREOF,               the
                                                                 By:.
           undersigned hereby agree, acknowledge Mid certify     Name:
           that the foregoing Agreement constitutes the
           X)pecrting Agreement of Bend Surgery Center. Ll-C
           adoptedby the Members.
                    The undersigned spouse of the Owner OT
           Affiliated Physician, if Miy, named below hereby      Stephen Boe,M.D.
           certifies that he/die has read this agreement,
           underetutck each provision, and agrees to be bound    Spouse:
           by the terms set ftuth in this a^eement, including
           without limitation. Section 14. 15 above.             By:.
           AMSURG HOLDINGS, INC.                                 Name:

           By;
           Name:
           Title:                                                Patricia Buehler, M. D.

           OWNERS:                                               Spouse:

                                                                 By.-.
           Robert Andrews, M.U.
                                                                 Name:
           Spouse:

  '"^      By:.
>'. ^'-i
                                                                 RodneyBuzzas,MJ».
           Name:
                                                                 Spouse:

                                                                 By:.
           Aaron Askew, M. D.
                                                                 Name:
           Spouse:

           By:.                                                          S^^C^r^
                                                                >rfl^antor, M.D.
           Name:
                                                                ^^7L-A^/"i
                                                                 Spouse: ^/)6^\^            t/'^Ct^}£(,C
           Timothy Beard, M. D.
                                                                                                flALt
                                                                 Name:
           Spouse;

           By:.
                                                                 Brian Oesmond,M.D,
           Name:
                                                                 Spouse:

                                                                 By:.
           Richard Bochner, M.D.
                                                                 Name:
           Spouse:



                                        (SignaturePageto OperatingAgreement ofLLC)


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                            w       wrmess         WBERSOF,       <&.     6y:.
                   undttsigned b«wby agrc^ wltnowled^tt and cwSQ'         Name.
                   that the fc»(oi»e Agiwnant conetttutes tfit
                   OpcretidjB Agictiwatt ofBend SutTgny CeoUr, VLC
                   fidoptcd by A» Mcnibcn.
                            Th« undm»lgned tfwuae of ihe Owner or
                  AffiiUttted Phytffci Bi. ifwy,   n<unsd batow hen*y     Ste|»t|nnBoe, M.&
                  Wrtifics fliu lic/abc hu read tli'» tgremiBirt,
                  UBdwjitandt »toh plovitiofl, and Byets to be i>oyn<l    SpBUtC
                  by the tetw sm fertft in this aertfcmcnt, imtudiBg
                  without lintittfion, Section 14, 15abom                 By-'-
                   AMSXJRG HOLDWGS, INC.                                 NtBlft:.
                  By; . ,.-
                  Nanw:
                  r?ti«;        _   -._
                                                                         Patricia BaeWer, MJ>.
                  (WNIRS!
                                                                         Epaust:

                  aobert Andrws, M>»«
                                                                         By^
 :^?^                                                                    Name:.
  -'. ~-.T
                  Spouse:
2»~*^''

                  By:.
                  Name;                                                  R6da^BBwas, MJ?.

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                  Anron Ari«w, M. D.                                     sys.
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                  By;.
                  Naosc;,                                                Artc cantor, M<P.
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                  Tht»Wt!yB8nr<i»W,0,                                    By.-.

                  Sppn«a;
                                                                         NWK                       _/^)
                  By;.
                  Nairn;.
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                                                                         B^{ii»tfti(md, M.t>.
                                                                         SP.W.- ^^^^'^. ^w^
                  Rieltkrd Bochnw. M-15.                                 By;.        -<^^&-
                                                                                 y

                  Spouse;                                                Niun*:.

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                                                            By:.
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            B,,^^^^^^^2-^                                   AnthonyH»ddcn, MJ».

            Name^^^^ ft^^^ h^'mmtc                          Spouse:

                                                            Sy^
            Thamu Fitaunmnnt, M.D.                          Name;

            Spouse:

            By:.                                            Ktuneth Haainglon, M. b.
            Nanao:                                          Spouse:

                                                            By: _
            Gary Frc4 MJB.                                 Name:

            Spouse:

:ri'"':
           By:.                                            SidneyHeBdeirsonm, M.I>.
ii^
           Name:                                           Spouse;

                                                           By: ^
           Gary G>n»eher, M.D,                             Name;

           Spouse:
                                                           AadrwHlegins. M.D.
           6y'^
                                                           Spousc:
           N»mc;
                                                           By:.
                                                           Name:,
           »yanGafflv»D, MJ[).

           Spouse;
                                                           SandraHolIoway,MJ).
           By:.                                            Spouse:
           Name-
                                                          By:.
                                                          Name:
           GragHa, Mj>.

          Spouse:
                                                          GtennKoteoi, M.)D.
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                                                                                                       Exhibit 1
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s                                                          By:.
         Jason Dimmig, M.D.                               Name:

         Spouse:

         By:.                                             Anthony Hadden, M. D.

         Name;                                            Spouse:

                                                          By:.
               r^^
         Thomas Fitzsin^sns, M. D,                        Name;

         Spouse;
                 e: //^
         By:.                                             Kenneth Hanington, M. D.
         Name:                                            Spouse:

                                                          By:.
         Gary Prei, M.D.                                  Name:

        Spouse;

        By:.                                              SidneyHenderson III,M.D.
tip
"V-if   Name:                                             Spouse;

                                                         By:.
                                                         Name:
        Gaiy Gallagher,M.D.

        Spouse:
                                                         Andrew Higgins, M. D.
        By:
                                                         Spouse:
        Name:
                                                         By:.
                                                         Name:
        Ryan GaIIivan,M.D.

        Spouse:                                          SandraHolloway,M.D.
        By:.                                             Spouse:
        Name;                                            By:.
                                                         Name;

        Greg Ha,M.D.

        Spouse:                                          Glenn Kotecn, M.D.



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a                                                      By:.
     JasonDimmig,MJ3.                                  Name:

     Spouse:

     By: - -:---1-                                     Anthony Ifaddett, M.D.

     Name:                                             Spouse:

                                                       By:.
     Thomas Pitasimmons, M. D.                         Name:

     Spouse:

     By:.                                              KennetfiHanington,MJ>.
    Name:                                              Spouse:

                                                       By:.
                q^\A       \~VQ(. ui;C>
    GaryI'^M. D.                                       Name;

    Spouse:

    By:^JL^+CQ^^T7^JL^.                               SidneyHendenonm, MJ).
^   Name:l/^rO ^L^-T ft^                              Spouse:

                                                      By:. .. -.. .
                                                      Naine:
    GaryGallagher,M.D.

    Spouse:
                                                      AndrwHiggins,M.D.
    By:.
                                                      Spouse:
    Name:
                                                      By:
                                                      Naiae;
    Ryan GaUivan,M.D.                                                             1 . -I-


    Spouse:                                           SandraHolloway;MJ».
    By:.                                              Spouse:
    Name;                                             By:.
                                                      Name;

    GregHa, M.D.

    Spouse:                                           Glean Kotecn, MJ).




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                                                                     Sy^.
                    JasonWroiouig,M.».                               Namy..

                    Spouse:

                    By:.                                             Anthony H»ddua, MJ>.

                    Name                                             Spouse:

                                                                     By:.
                    Thomu Fitennmons,WLD-                            NBIBK.


                    SpO USK

                    By:.                                             Knuiett Haningttm, M.D.

                    Name:                                            Spouse:

                                                                     By:.
                    GaxyFnl, MJ».                                    Name:.


                     Spousw

                     By:.                                            SiAxy««sad<OTonW, M.D.
                                                                     Spouse:
                    Name:.
                                                                     By:.
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                     Spouse:
                                          ^0^ift>^Lw^
                                                                     AndrewHigpns,MJ>.
                     ... .     pt z:^^^-                             Spwisc:
                     Name:                                           By:.
                                                                     Names,

                     RyanGalfivan. M.P.

                     Spouse:                                         Sandra H»Bnw»y, lAD.

                     By;.                                            Spouse:

                     Name:                                           By:.
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                     GngUaiM.X*.

                     Spouse:                                         GtaanKi»t«>na, M.^.


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w                                                     By:.
       Jason Dimnnig) M.D.                            Name:

       Spouse:

       By;.                                           AnthonyHadden,M.D.

       Name;                                          Spouse:

                                                      By:.
       TTiomas Pitzsimmons, M.D.                      Name;

       Spouse:

       By:.                                          KennethHanington, M.D.

       Name:                                         Spouse:

                                                     By:.
       Gary Prei, M.D.                               Name:

      Spouse:

      By:.                                           Sidney Henderson III, M.D.
"t:                                                  Spouse:
      Name:

                                                     By:.
                                                     Name;
      Gary Gallagher,M.D.

      Spouse:
                                                     Andrew Higgtns, M. D.
      By:                                            Spouse;
      Name:
                                                     By:.
                                                     Name:
      Ryan Gailivan, M.D.

      Spouse:        ^ ^I-UA                         SandraHolloway,M.D,
      By:.                                           Spouse;

      ^'{^ITJMW                                     By;.
                                                    Name:

      GregHa, M.D.

      Spouse:                                       Glenn Koteen, M.D.



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                                                    By:.
        JasonDimmig,M.D.                            Name:^l^V-^ 'H?^
        Spouse:

        By:.                                        Anthony Haddui, M.D.

       Name:                                        Spouse:

                                                    By:.
       Thoinw fltzsimmons, M.D.                     Name;

       Spouse:

       By:.                                         Kenneth Hanington, M,D.
       Name;                                        Spouse:

                                                    By:.
       Gary Frel, M. D.                            Name:

       Spouse:

       By:.                                        SidneyHenderson10, M.D.

M      Name:                                       Spouse:
y?'
                                                   By:.

      Gary Gallagher, M.D.                         Name:

      Spouse;
                                                   Andrew Higgins, M.D.
      By...
                                                   Spouse;
      Name:
                                                   By:.
                                                   Name:
      Ryan Gaffivn, M.D.

      Spouse:                                      SandraHolloway,M.D.
      By;.                                         Spouse:
      Nanw:                                        By:.
                                                  Name:

      GregHa, M.D*-/
      Spouse;                                     Glenn Kotewi,M.D.


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ms
                                                               By;_\A; ^j^ -f^Li^^
                                                                                   i-/     / .. -7
          Jason Dimmig. iM. l).

          Spouse'

          By:__
                                                                   ^/^^-^__
                                                               Anthoii/lladden,M.D.
          Name;                                                Spouse'

                                                               By:.
          Thoinas Fitz-siininons, M. D.                        Name; . ^(^n t^C-&. -^c ^ ^Ct4^
          Spouse:

          By: _                                               Kenneth Hanington, M. D.
         Nanie:                                               Spouse;

                                                              By:.
         Gary Frei, M. D.                                     Name:

         Spouse:

         By:.                                                 Sidney Henderson ID, M.D.
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f!^':
         Nami;:                                               Spouse:

                                                              By:.

         Csiry Ciithighcr, M. D.                             Nnine:

        Spouse:
                                                             Andrew Higgins, M. D.
        By...
                                                             Spouse:
        Name:
                                                             By:.
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        Ryan G:illiv;tn. M. D.

        Spouse:
                                                             Sandra Holloway, M. D.
        By:.                                                 Spouse;
        Nanic:
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                                                             Nanie:

        CTCK Ila. M. I1.

        Spouse;
                                                             Glenn Kotrcn, M. U,




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                                                      By:.
       Jason Dimmig, M. D.                            Name;

      Spouse:

      By:.                                            Anthony Hadden,M.D.
      Name:                                           Spouse:

                                                      By:.
      ThomasFitzsimmons,M.D.                          Name:

      Spouse:

      By:.
      Name:                                          Spouse: f^'xfi^'fe:(
                                                     By: "
      Gary Frei, M.D.                                Name:

      Spouse;

     By:.                                            Sidney Hcnderson III, M. D.
?%
     Name:                                           Spouse:

                                                     By:.
                                                     Name:
     Gary Gallaghcr, M. D.

     Spouse:
                                                     Andrew Higgins, M. D.
     By:.
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     Name:
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                                                     Name:
     Ryan Gallivnn, M.D.

     Spouse;                                        Sandra Holloway, M. D.
     By:.                                           Spouse:
     Name:                                          By;.
                                                    Name:

     Greg Ha, M.D.

     Spouse;                                        Glenn Koteen, M.D.



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^
                                                            By:.
          Jason Dimmig, M.D.                                Name;

          Spouse;

          By:.                                             Anthony Madden, M. D.
          Name-                                            Spouse;

                                                           By:.
         ThomasFitzsimmons,M.D.                            Name:

         Spouse:

         By:.                                              Kenneth Hanington, M.D.
         Name;
                                                           Spouse:

                                                          By:.
         Gary Frei, M.D,                                  Name;

        Spouse:

        By:.
                                                                    Jc^^f ^ /'^^\de^c^jS3      M/
'¥S-                                                      SidneyHend6<?4nIII,M.b.
';t%
^       Name;                                             spou?(<Tpt ?o\i<- cc»\^ .   fr«^de. %£An
                                                                        j3^f^cU^s, ^^
        GaryGalIagher, M.D.                               Name:


        Spouse:
                                                         Andrew Higgins, M. D.
        By;.
                                                         Spouse:
       Name:
                                                         By:.
                                                         Name:
       RyanGalI!vn, M.D.

       Spouse:
                                                         Sandra HoIIoway, M.D.
       By:.                                              Spouse:
       Name:
                                                         By;.
                                                        Name:

       GregHa, M.D.

       Spouse:                                          GIcnn Kotcen, M. D.




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                                                    By;

     Jasnn Dimmfg, M.D.                             Name:

     Spouse:

     By:.                                           AnthonyHadden,M.D.

     Name:                                          Spouse:

                                                    By:.
     Thomas Fftatsimmons, M.D.                      Nune:

     Spouse:

     By:.                                           KennethHanington,MJ>.
    Nanne:                                          Spouse:

                                                    By:.
    Gary Frei, M.D.                                 Name:

    Spouse:

    By=.                                            Sidney Heiidersuii III, M.D.

m   Name;                                           Spouse:

                                                    By:.

    Gary GaUagbw, M.D.                              Name   " /^              1_

    Spouse:                                                          t.-^\        /^\   ^^
                                                    An^yTHi&int. MJ).
    By:.
    Name:
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                                                      mc:'I\LU^Mli^3^yb\^ \
    Ryan Gallivan, M. D.

    Spouse:                                        Sandra HoUoway, MJ).
    By:.                                           Spouse:
    Name:                                          By.
                                                   Name:

    GrcgHa, MJ).

    Spouse:                                        Glenn Koteen, M.D.




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i%$
                                                      By:.
        JasonDImmig,M.D.                              Name-

        Spouse:

        By:.                                          Anthony Hadden,M.D.

        Name:                                         Spouse;

                                                      By:.
        Thomas Fitzsimmons, M.D.                      Name:

        Spouse:

        By:.                                          Kenneth Hantogton, M. D.

        Name;                                         Spouse:

                                                      By:.
        Gary Frei, M.D.                               Name:


        Spouse:

 ^      By:.                                          Sidney Hendersoa III, M.D.
 %ss'                                                 Spouse;
        Name:

                                                      By:.
                                                      Name:
        Gary Gallagher,M.D.

        Spouse:
                                                      AndrewHiggins,MJD.
        By:.                                          Spouse: A^//}
        Name:
                                                      By:
                                                      Name:

        RyauGaUivan, M.D.
                                                                    l/^jjr/^       "L2_
        Spouse:                                       SandraHollow'ay,M.D, /

        By:.                                          Spouse:

        Name:                                         By:.
                                                      Name:

        GregHa, M.D.

        Spouse:                                       GleiinKoteen, MJD.



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                                                                                                Exhibit 1
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                                                       By:.
       JasonDimmig, M.D.                               Name:

       Spouse;

       By;.                                            Anthony Hadden,M.D.

       Name:                                           Spouse:

                                                       By;.
       Thomas Fitzsimmons, M.D.                        Name;

       Spouse:

       By:.                                            Kenneth Hanington, M. D.

       Name;                                           Spouse:

                                                       By:.
       Gary Prei, M.D.                                 Name:

       Spouse:

       By:.                                            SidneyHendersonIH, M.D.
                                                       Spouse:
       Name:

                                                       By;.
                                                       Name:
       GaryGaUagher. M-D.

       Spouse:
                                                       AndrewHiggins,M.D.
       By:.                                            Spouse:
       Name:
                                                       By:.
                                                       Name:
       Ryan Gallivan, M.D.

       Spouse:                                         Sandra HoIIoway,M.D.

       By..                                            Spouse:

       Name;                                           By:.
                                                       Name:

       GregHa,M.D.
                                                         M^^- ^d^n^Wj>
       Spouse:                                         Glenn Koteen, M. D.
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                     EiTM. D.
     Spouse:



               $'<i|»<^ K^t^Ac. 3^1


     Linda LelTel, M. D.

     Spouse;

     By:.




     Scott Letourneau, M.D
m
^    Spouse:                                                 fiohinQnlnn, M.D

     By:.




     Michael Mastrangelo,M.D.
     Spouse:                                               JohnRenton, M.D.
     By;.                                                  Spouse;




     Robert Mathews,M.D.

     Spouse:                                             MiciixelRyan,M.D.

     By:.




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       Spouse:                                              Kathy Moore, M. D.

       By:.                                                 Spouse:

       Nams:_                                              By: _
                                                           Name;

       Barren Kowatski, M. D.                              Andrew Neeb, MJD.
       Spouse:
                                                           Spouse:
       By:.
                                                           By:.
       Name:
                                                           Name:

             ^A^. ^U^^^
         nda Uffel, M.D.
                                                           Ed Parton, M. D.
         cusc:
         :'" IUU^-                                         Spouse:

      Name;
        ime:     P-^^/nQ Uji ^y.                           By:.
                                                           Name:


      Scott Letoumeau, M.D.
1@;
      Spouse:                                              Robert Quinn, M.D.

      By.                                                  Spouse:

      Name:                                               By:.
                                                          Name:

      MichaeiMastrangeio,M.D.
      Spouse:
                                                          John Renton, M. D.
      By:.                                                Spouse:

      Name:                                               By:.
                                                          Name:


      Robert Mathews, M. D.

      Spouse:                                             MichaeIRyan, M.D.
      By:.                                                Spouse:

      Name:                                               By;.
                                                          Name:




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       Spouse:                                            KathyMuore, M. D.
w
       By:.                                               Spouse:

       Name:                                              By:.
                                                          Name:


       Darrcn Kowalsld, M.D.                              Andrew Neeb, M.D.
       Spouse:
                                                          Spouse:
      By;.                                                By:.
      Nanae:
                                                         Name:



      LindaLeBeI,M.D.
                                                         EdParton. M.D.
      Spouse:
                                                         Spouse:
      By:.
      Name:
                                                         By:__
                                                         Name:
       lAUJi,\jxvvve6*
      Scott Letuurncau, M.D.

(^.                                                      Robert Quinn, M.D.

                                                         Spouse:
          /'v
      Name:                  [^^-O^r
                                  Ar-n. CAU              By:.
                                                         Name;


      MichaelMastrangclo,M.D.
      Spouse:
                                                         John Rentun, M. O.
      By:.                                               Spouse:

      Name:                                              By:.
                                                         Name:


      Robert Mathews, M.D.

      Spouse:                                            MichadRyan. M.D.

      By:.                                               Spouse:

      Name:                                              By:.
                                                        Name:



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ii-           Spouse:                                           KathyMoore, M.D.

              By:.                                              Spouse:

              Name:                                             By:.
                                                                Name:

              Damn Kowatski, M. D.                              Andrew Neeb, M.D.

              Spouse:
                                                                Spouse:
              By:.                                              By:.
              Name:
                                                                Name;


              Linda Leffel, M. D.
                                                                Ed Parton, M. D.
              Spouse;
                                                                Spouse:
              By:.
              Name:
                                                                By:.
                                                                Name:

              Scott Letourncau, M.D.

              Spouse:                                           Robert Quinn, M.D.

             By:.                                               Spmise:

             Name:                                             By:.
                                                               Name:

      .
          -^ Michael Mastrangelo, M.D.
             Spouse; (S^V^i <<^pZ>^-\^                         John Renton, M. D.
             ^'<U-~-r^                                         Spouse:

             Name;   ^ ^VM-^-^A^<J_ ^An-^^-j^<^a               By:.
                                                               Name:


             Robert Mathews, M.D.

             Spouse:                                           MichaelRyan, M.D.

             By:.                                              Spouse:

             Name:                                             By:.
                                                               Name:




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^t.
         Spouse:                                            KathyMoore,M.D.

         By:.                                               Spouse:

         Name;                                              By:_
                                                            Name;

         Darren Kowalski, M. D.                             Andrew Neeb, M. D.

         Spouse:                                            Spouse:

         By:.                                               By:.
         Name;                                              Name;



         Linda Leffd, M.D.
                                                            EdParton, M. D.
         Spouse;
                                                            Spouse:
         By:.
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         Name:
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WS.ir;
ss-?     Scott Letourneau, M. D.

         Spouse:                                            Robert Quinn, M.D.

         By:.                                               Spouse:

         Name;                                              By:.
                                                            Name:

         Micbad Mastrangelo, M.D.
         Spouse:                                            John Renton, M. D.

         By:                                                Spouse:

         Name:                                              By:

                                                            Name:


                'rt Matb^M.D.

         Spouse:                                            Michael Ryan, M. D.

          >v: /^ilT^^rl
         By                                                 Spouse:

         Name^lA^"^.. ^1%?^                                 By:.
                                                            Name:




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e-
                                                                  ^/^^^s-
        Spouse;

       By:.
       Name:

                                                          Name;

       Damn Kowalski, M. D.                               Andrew Necb, M.D.
       Spouse:
                                                          Spouse;
       By:.
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       Name:
                                                          Name:


      LindaLelTd,M.D.
      Spouse:                                             Ed Parton, M. D.

      By:.                                                Spouse:

      Name;                                              By:.
                                                         Name;

m     Scott Letournenu, M. D.

      Spouse:                                            Robert Quinn, M.D.

      By;.                                               Spouse:
     Name;                                               By:.
                                                        Name:

     MlchaeiMastrangeio.M.D.
     Spouse:
                                                        JohnRenton, M.D.
     By:.                                               Spouse;
     Name:                                              By:.
                                                        Name;


     RobertMathewt, M.D.

     Spouse;                                            Michael Ryan, M.D.

     By:.                                               Spouse:

     Name;                                             By;.
                                                       Name:




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    Spouse:                                           Kathy Moore, M.D.

    By..                                              Spouse:

    Name:                                             By:.


    Barren Kowalski, M. D.                                   FrewNeeb,MJ>.
    Spouse:                                           Spouse:

    By:.                                              B,   :_M^fci
    Name:                                             Name: T^A/\^           I. ' f^?<L>

    Linda Leffel,M.D.
                                                      Ed Parton, M.D.
    Spouse:
                                                      Spouse:
    By:.
    Name:
                                                      By:.
                                                      Name:

    Scott Letourneau, M. D.
©   Spouse:                                           Robert Quinn, M.D.

    By:.                                              Siouse:

    Name:                                             By:.
                                                      Name:

    Michael Mastrangclo,M.D.
    Spouse:                                           JohnRenton, M, D.

    By:.                                              Spouse:

    Name:                                             By:.
                                                      Name:


    Robert Mathews, M. D.

    Spouse:                                           MichaelRyan, M.D.

    By:.                                              Spouse:

    Name:                                             By:.
                                                      Name:




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                   ctx




         Spause:                                         Kalhy Moore, M.D.

         By:.                                            Spouse:

         Name;                                           By:
                                                         Name;

         Barren Kowatski, IMLD.                          Andrew Nceb, M.D.
         Spouse:                                         Spouse:
         By:.                                            By:.
         Name:
                                                         Name:



         LindaLc«a, M.D.                                                                    .   ^9
                                                         EdParton. M-D.
         Spouse:
                                                         Spouse:
         By:.
         Name:
                                                         By: r^lA^^%^/    7J
                                                         Name: CVl C/-V./1 Po^-^u^
^-.
.   ;.   Scott Letourneau, MJ>.

         Spouse:                                         Robert Quinn, M.D.

         By:.                                            Spouse:

         Nome:.                                          By:.
                                                         Name:

         Michael Mastrangclo, M.D.
         Spouse:                                         John Renton, M.D.
         By:.                                            Spouse:

         Name:                                           By:,
                                                         Name:


         Robert Mnthews,M.D.

         Spouse:                                         MichaelRyan, M.D.

         By:.                                            Spouse:

         Name:                                           By:.
 s
                                                         Name:




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           Spouse:                                             KathyMoore, M.D.

           By:.                                                Spouse:

           Name:                                               By:.
                                                               Name:

          Darren Kowalski,M.D.                                 Andrew Neeb, M.D.
          Spouse;
                                                               Spouse:
          By:
                                                               By:.
          Name:
                                                              Name:



          Linda LeHel,M.D.
          Spouse:                                             Ed Parton,M.D.

                                                              Spouse;
          By;.
          Name:                                               By:.
                                                              Name:

         Scott Letourneau, M. D.
;%. ?,
,

         Spouse:                                              RobertQuinn, M.D.

         By:.                                                 Spouse:     f^Ol^ £-
         Name:                                               By,
                                                             Name;

         MichaelMastnngelo,M.D.
         Spouse:
                                                             John Renton, MJO,
         By:.                                                Spouse;

         Name:                                               By:.
                                                             Name:


         Robert Mathews, M.D.

         Spouse;                                             Michael Ryan, M.D.

         By;.                                                Spouse:

         Name;                                               By:.
                                                             Naroe;

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                                   (Signature Page to Operating Agreement ofLLC)



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v'^°                                                           KaGiyMoore, M.D.
           Spouse:

           By:.                                                Spouse;

           Name:                                               By:.
                                                               Name:

           Damn Kowalski,M.D.                                  AndrewNeeb,M.D.

           Spouse:                                             Spouse:

           By:.                                                By:.
           Name:                                               Name:



           Linda Leffel,M.D.
                                                               Ed Parton, M. D.
           Spouse:
                                                               Spouse:
           By:.
                                                               By.
           Name:
                                                               Name:


           Scott Letourneau, M. D.
 '^.
 '.{. -'
    :-*    Spouse:                                             Robert Quinn, M.D.

           By:.                                                Spouse:

           Name;                                               By:.
                                                               Name;  :7M.
           Michael Mastrangelo, M.D.
                                                                      ///
           Spouse:                                             Joh^R^i^Mip.J
           By:.                                                Spouse:^^          i,^
           Name:                                               By. ^y^'y^^z^              ^Lt^X^
                                                                                  ~c/^7^.-^
                                                               Name: ^! SL^JX^j-^r A»<^_C- /^ ^<^> -/
           Robert Mathews, M. D.

           Spouse:                                             Michael Ryan, M.D.

           By:.                                                Spouse:

           Name:                                               By;.
                                                               Name:
   Is:
;^-?'



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 ©s
          Spouse:                                            KathyMoore, M.D.

          By;.                                               Spouse:

          Name:                                              By:.
                                                            Name:

          Darren Kowalski, M. D.                            AndrewNceb, M.D.
          Spouse:
                                                            Spouse:
          By:.
                                                            By:.
         Name:
                                                            Name:


         Linda Leffel, M. D.
                                                            Ed Panon, M. D.
         Spouse:
                                                            Spouse:
         By:.
         Name:
                                                            By:.
                                                            Name:

         Scott Letourneau, M. D.
  £§?'
         Spouse:                                            Robert Quinn, M.D.

         By:.                                               Spouse:

         Name:                                              By:.
                                                            Name:

         Michael Mastrangelo, M. D.
         Spouse:                                           JohnRenton, M.D.
         By:.                                               Spouse;

         Name:                                             By;.
                                                           Name:


         RobertMathews,M.D.

         Spouse:                                           Michael Ryan, M.D.

         By:.                                              Spouse:
                                                             ouse:

         Name:                                               , /A^^
                                                           By:
                                                           Name:
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^ltsf^




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           Jan. 26. 2014 3:15PM                                                          No. 0005   P.. 5


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                                         v>^^ -                 By:.
                LTuraS&bweger.D.IPM
                                                                Name:

                spouto: ( ^L^JC^ -y<-\      r~
                JBy; Ostv^^-f'K^-vw. ^y
                                                                CaraWalthcr. M.tt.
                Name: ^A-lf-K^ ^I/<K^-
                                                                Spouse:

                iRotKiM; Shannon, M.10
                                                                By:.
                                                                Name.
                Spouifc:

                By:.
                                                                John OflvidWood,MJt.
               Name;
                                                                Spouse:


                Itnnd»ilScni , M.D.
                                                                By:.
                                                                Name;
                Spouw;
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   /. -
                By:.
                                                                1(C»htYundt, MJ>,
                Name:.
                                                                Spouse:

                JonSwitt. D.O.
                                                                By:.
                                                                Name:
                Spouse:

                Sy;.
               Name;.




                MlchpdVfHiino. M.D.

                Spouse

               By:.
               Name;.



                ErinWaIMne, »M[,D.
s               SpflUSfe:



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                                                    By:.
 Laura Schweger,D.P.M.
                                                    Namc;

 Spouse:

 By:.
 Name:                                              CaraWalther. M.D.

                                                    Spouse;
                           ^»t^?
Robert Shannon, M.D                                 By:.
                                                    Name:
 Spouse:,

 By:Q^^AC\A<2i^y?/<3i^
                                                    John David Wood, M.D.
 Narae*_^?^-^A/7 f_SA^. ^^-»<i
                                                    Spouse:


 Randal Smith, M.D.                                 By:.
                                                   Name:
 Spouse:

By;.
Name:                                              Kent Yundt, M.D.

                                                   Spouse;

Jon Swift, D.O.                                    By:.
                                                   Name:
Spouse:

By:.
Name:




Michael Villano, M. D.

Spouse:

By:.
Name:




Erin WalUng, MJ).

Spouse;




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                                                          By:.
          Laura Schw^er, D.P.M.
                                                          Nsme;

         Spouse:

         By:.
         Name:                                            CaraWaltber, M.D.

                                                          Spouse:

         Robert Shannon, M.D                              By:.
                                                          Name:
         Spouse:

         By:.
         Name:                                           JohnDavidWood,M.D.

                ....^     J ^ /j                         Spouse:
                  .   -'-^. /:^
                             %4                          By:.
                                                         Name:




l"3i'   Name:?^-^^/-// (~>s)^7///4                       Kent Yundt, MS).

                                                         Spouse:

        Jon Swift, D.O.                                  By:.

        Spouse:                                          Name:

        By:.
        Name:




        MichaelVttlano, M.D.

        Spouse:

        By.
        Name:




        ErinWaUfng,M.1D.
        Spouse:



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s%®
^^'.'

                                                            By:.
         Laura Schweger,D.P.M.
                                                            Name:
         Spouse:

         By:.
                                                            CaraWaIther, M. O.
         Name:
                                                            Spouse:

         Robert Shannon, M.D
                                                            By:.
                                                            Name:
         Spouse;

        By:.
        Name:
                                                            John David Wood^MLD.

                                                            Spouse:

        Randal Smith, M.D.                                 By;.
                                                           Name:
        Spouse:

 ^-\    By:.
                                                           Kent Yundt, M.D.
        Nam'

                                                           Spouse;

                                                           By:.

                .   ^i^LM^'^                               Name:




        Name:   , Nicok+e M. ^i(-h

        MichaelVillano, M.D.

        Spouse:

        By:.
        Name:




        Erin Walling, M. D.

^g.     Spouse;


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                                                                                                   Exhibit 1
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                                                       Cars Walthcr, M. D.




                     ..-
                                                      Spouse:

hannon, M.D                                           By:
                                                      Name;




                                                      John David Wood, M. D.

                                                      Spouse:

mith, M. D.                                           By:.
                                                      Name:




                                                      Kent Yundt, M.D.

                                                      Spouse:

, D, 0.                                               By:.
                                                      Name:




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r7l(y^ /J. \/ . 1(C^O
                                                                                          Exhibit 1
                                                                                      Page 63 of 90
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                                                          By: i^"^> \-^y       i^l<^r^ .S Sy^
        Laura Sckweger, D.P.M.
                                                          Name:
        Spouse:

        By:.
        Name;                                             Can Walther, M-D.

                                                          Spouse:

        Robert SIiannon, MJ)                              By:.
                                                          Name:
        Spouse;

       By;.
       Name:                                              JohnDavidWood,MJ>.

                                                          Spouse:

       Randal Smith, M.D.                                By:.
                                                         Name:
       Spouse:

       By:.
^      Name:                                             KcntYuadt, M.D.
:.^
                                                         Spouse;

       Joa Sirifl, D.O.                                  By;.
                                                         Name:
       Spouse:

      By..
      Name;




      Wcbwl YUlano, MJO.

      Spouse:

      By;.
      Name:


       ^^^U^t^-v^ <^>
      Erin Waning, MJ1.

      Spouse:


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                                                              By:.
          Laura Schweger, D.P.M.
                                                              Name:

         Spouse:

         By:.
                                                              CaraWalther, M.D.
         Name:
                                                              Spouse: -

         Robert Shannon,M.D
                                                              By:.         OQuLAf/)a^~-
                                                              Name:
         Spouse:

         By:.
                                                              John David Wood, M. D.
         Name:

                                                              Spouse:

         Randal Smith, M.D.
                                                              By:.
                                                              Name:
         Spouse;

         By:.
         Naroe:
                                                              Kent Yundt, M.D.

                                                              Spouse:

         Jon Swift, D.O.
                                                              By:.
                                                             Name:
         Spouse:

         By:.
         Name;




         Michael Villano, M. D.

         Spouse:

         By:.
         Name:




         Erin Walling, M. D.

gjt      Spouse:


                                   (Signature Page to Operating Agi-eement ofLLC)



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                                                       By:.
    Laura Schweeer, D. P.M.
                                                       N&inc;

    Spouse;

    By:.
                                                       Can Walther, M.D.
    Name:
                                                       Spoiwe;

                                                       By:
    Robert Shannon,M.D
                                                       Name   [: ~'2?^*>/'/ <C/fc>i?/i/
    Spouse;

    By:.                                                                                  r^
                                                       John David Wood, M. D,
    Name;
                                                       Spouse;


    Randol Smitti, M.D,
                                                       Bv=              l/A
                                                       Name;
    Spouse:

%   By;.
                                                       KentYundt. M.D.
    Name:
                                                       Spouse;

                                                       By:.
    JOB Swift, D.O.
                                                       Name;
    Spouse;

    By;.
    Name:



    Michael Villano. M. D.

    Spouse;

    By:.
    Name:




    Erin Waiting,M.D.

    Spouse:



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                                                                 By:.
        Laura Scljwegcr, D. PA).
                                                                 Naihe:
        Spouse;

        By:.
        Name:                                                   C*n Vftlthtr, M.D.

                                                                Spoustj

        Robtrt Shanuon, M.D                                     By:.

       Spouse:                                                  Name;


       By:.
       Nainc:                                                   Job&D^vidWood. M.D.

                                                                SpOuac^

       Randnl Smith, M. D.                                      By:.
       Spouse:                                                  Name:


       By:.
       Name;
                                                                ^^-^-A^!^.
                                                               KtBrvh»dt, M. D.^

                                                               spouse             (      ^/^y/
      JanSwift,D.O.                                            ^.. (^Ltj^^^^j^i^1
      SpOU(E:                                                  NamcrJ^KUUZ^i. \u»^
      By:.
      Nmie:



      Mi«AatlVi||ano, M. D.

      Spouse;

      By:.
      Name



      Erin WaUing,IW.D.

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                                                         EXHIBIT A



                           MctdberWame and Addnss           Capital AcCTuat      Men»6ereb^p
                                                               Batonce'          .


                                                                                     Peroentaae
                       AmSurg Holdings, Inc.                                         51.00000%
                       20 Burton Hills Bjvd,
                       Nashvi11e, TN37215
                       FEIN: XX-XXXXXXX
                       Robert Andrews, M, D.
                                                                                     1.47147%
                       Aaron Askew, M.D.                                             1.47147%
                       Timothy Beard, M.D.                                           1.47147%
                       Richard Bochner, D 0-                                         1.47147%
                       Stephen Boe, M.D.                                             0.58859%
                       Patricia Buehler, M. D.                                       1.47147%
                       Rodney Buzzas, M.D.                                           1. 47147%
                       Arte Cantor, M.D.                                             1.47147%
                       Brian Desmond, M. D.                                          1. 47147%
                      JasonDimmig, M.D.                                              1.47147%
                      Thomas Fitzsimmons, M. D.                                      0. 73574%
                      Gary Frei, M. D.                                               I.47147°/o
                      Gary Gallaghcr, M.D.                                           1. 47147%
                      Ryan Gallivan, M. D.                                           1.471470/.
                      Greg Ha, M. D.                                                 1.47147%
n                     Anthony Madden, M.D.                                           0. 29429%
                      Kenneth Hanington, M. D.                                       1.47147%
                      SidneyHenderson III, M.D.                                      1. 47147%
                      AndrewHiggins, M,D.                                            1.47147%
                      SandraHolloway, M.D,                                           1. 47147%
                      Olenn Koteen, M. D.                                            1.47147%
                      Darren Kowalski, M.D.                                          1.47147%
                      LindaLeffel, M.D.                                              1.47147%
                      Scott Letoumeau, M. D.                                     0. 58859%
                      Michael Mastrangeto, M. D,                                  1. 47147%
                      Robert Mathews, M. D,                                       1.47147%
                      Kathy Moore, M.D.                                           1.47147%
                      Andrew Neeb, M. D.                                         0. 29429%
                      Ed Parton, M.D.                                            0. 58859%
                      Robert Quinn, M. D.                                        1. 47147%
                      John Renton, M.D.                                          0. 29429%
                      Michael Ryan, M.D.                                         1. 47147%
                      LauraSchweger, D.P.M.                                      1. 47147%
                      Robert Shannon,M.D.                                        1. 47147%
                     Randal Smith, M.D.                                          0. 58859%
                     Jon Swift, D.O.                                             0.29429%
                     Michael Villano, M. D.                                      1. 47147%
                      Erin Walling, M. D.                                        0,29429%
                     Cara Walther, M. D.                                         1.47147%
                     John David Wood, M.D.                                       1. 47147%


     AmSurg'sinitialcapitalaccountbalancewillequal51%ofthetotalcapitalaccountbalancesofall Members.

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                                                                                                  Page 68 of 90
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    %^                                                      Capital Account    Membtiralllp
    '»-                          Member Name and Addrc'ss
                                                               BalanpE         Peraentaee'
                             Kent Yundt, M, D.                                  0.29429%
                             Total                                               100.00%




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                                                            EXJBOOBIT B

                                       ANNUAL ELIGIBILITy AFFIRMATION STATEMENT

                 Tlie undersigned, who is an owner (directly or indirectly) of Baid Surgery Center, LLC, a Tennessee limited
       liabilitycompany(the "LLC"),herebyrepresents,wan-antsandaffirmsasfollows:

             1.            I AM A PHYSICIAN DULY LICENSED TO PRACTICE MEDICC'ffi IN THE STATE OF
       OREGON.


              2.   AT ALL TIMES W WHICH I HAVE HAD AN OWNERSHIP INTEREST IN THE LLC, I HAVE
       FULLY INFORMED, AND I AGREE THAT I WILL CONTINUE TO FULLY NFORM, EACH PATGBNT THAT I
       REFER TO THE SURGICAL CENTER OPERATED BY THE LLC (THE "CENTER") THAT I HAVE AN
       INVESTMENT INTEREST IN THE LLC.


                                                       Yes a              No a

             3.           DURING THE 12 CALENDAR MONTHS IMMEDIATELY PRECEDING THE DATE OP THIS
       STATEMENT:

                         I have derived at least one-third of my medical practice income from the performance of outpatient
                surgicalprocedures (as definedbelow); and

                                                       Yes a              NOD


                          I haveperformedat leastone-third ofmy outpatient surgicalproceduresattheCenter.
 1%.
^.?
                                                       Yes a              NOD

       (For purposes hereof, the term "outpatient surgical procedures" means those surgical procedures that are on the list of
       Medicare covered procedures authorized to be performed m ambulatory surgical centers under <q)plicable Medicare
       regulations, . whether or not suchprocedures are paidfor by Medicare, workers ' compensation or other payers).

                4.        I AGREE THAT, WITH RESPECT TO ANY AND ALL FEDERAL HEALTO CARE PROGRAMS
       W WHICHI PARTICIPATE(INCLUDINGMEDICAREANDMEDICABD),I WILLTREATPATIENTSRECEmNG
       BENEFFTSORASSISTANCEUNDERSUCHPROGRAMSINA NONDISCRIMINATORYMANNER.

                                                      Yes a               No a

                IN WITNESSWHEREOF,fheundersignedhasexecutedthis Statement(his                    dayof             ,
                                                                                                                       20


                                                               (Signature ofPhysician)


                                                               (Type ofPnntName ofPhysician)

       If anyresponseto theaboveis checked"No"a&acheda separatesheetandejySaweach "No"answer.




??^



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                                                     EXfflBn 8.2

                                    EXCEPTIONS TO NON-COMPETITION COVENANT

A. Services. Dr. Buzzas may serve as tfae physician advisor for quality and clinical
documentation for St. Charles Health System, and such services shall be deemed an exception to
the non-competition covenant.


B. Ofiice-Based Procedures Historically Done In-OfRce: Bach ofthe following Owners may
hold equity and financial interests in a medical practicethat prowdes at the practice's facilities
the specific physician-ofi&ce surgery procediu-es that are described below that do not reqiiire
anesthesia (otiher than local anesthesia) or intravenous conscious sedation, and correspond to
such Owneror such Owner'spractice, andin eachcase, suchownerdiipsfasdl not bedeemedto
Violate Section 8.2 of this A@?eoaaent; provided, however, that with respect to each procedure at
least one of flie following conditions applies: (a) the Center mfbnaos Ae Owner that it does not
desire ihal the procedure be perfonaed at die Center; or (b) in the medical judgment of the
applicable Owoei, the procedure should be performed in such physician's office. The parties
agree and acknowledge that suchpractices are not and will not be licensed ambulatory surgery
centeis.



                For the Owners Who Are in the Group Practice Deiert Orthopedics



10021-10022                         10060-10180            11042-11047              11719-11765
12001-12021                         12031.12057            13100-13153              15271-15278
20005                               20520-20525            20526-20553          20600-20610
20612-20615                         20670                  23330, 23350         23500-23505
23520-23525                         23540-23545            23570-23575          23600-23605
23620-23625                         23650-23655            23665, 23675         23930, 24065
24200                               24220                  24357                24500-24505
24530-24538                         24560-24566            24576-24577          24582
24600-24605                         24520                  24640-24655          24670-24675
25000-25001                         25028-25031            25075-25071          25260, 25270
25500-25505                         25520                  25530-25535          25560-25565
25600-25606                         25622-25624            25630-25635          25650-25651
25660                               25671-25675            25680,25690          26010-26030
26040                               26055-26060            26160-26180          26341.26432
26600-26608                         26641-26650            26670-26676          26700-26706
26720-26727                         26740-26742            26750-26756          26770-26776
27000^27040                         27047^27086            27093, 27096         27193-27200

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        27265, 27267                    27268             27306,27307              27370
        27500-27503                     27508-27510       27516, 2.7517, 27520     27530-27532
        27538                           27550-27552       27560-27562              27650, 27648
        27750-27756                     27760-27762       27767-27768              27780-27781
        27786-27788                     27808-27810       27816-27818              27824-27825
        27830-27831                     27840-27842       28001                    28010-28011
        28080                           28190-28192       28400-28406              28430-29436
        28450-28456                     28470-28476       28490-28496              28510-28515
        28530                           28540-28546       28570-28576              28600-28606
        28630-28636                     28660-28666       29000-29750              61070, 75809
        63650                           64400-64455       64479-64484              64490-64495
        64505-64530                     64553-64566       64611-64617              64620-64640
        64642-64645                     64646-64647       64721

                 For the Owners Who Are in the Group Practice Central OreeonJENT, LLC

??:-^   10021   FNA WO IMAGING
^fi
        10040   ACNE REMOVAL
        10060   I D ABSC CYST SIMPLE
        10061   I D ABSC CYST COMP
        10120 FBREMSUBQ
        10121 FB REM SUBQ COMP
        10140 IDHEMATOMA
        10160 PUNCTURE ASPIRATION
        11000 DEBRIDE ECZEMATOUS SKIN
        11010 FB DEBRmEMENTSKIN
        11011 DEBRIDESKIN MUSCLE FB REMOVAL
        11012 DEBR1DEMENTFBREMOVAL
        11040   DEBRIDE SKIN PART THICK
        11200   SKIN TAG REMOVAL FIRST 15
        11201   SKINTAGADDL10
        11300   SHAVWG LESION
        11301 SHAVELESION0.6-1.0
        11310   SHAVE LESION 0.5 CM FACENOSEEAR
        11311   SHAVE LESION0. 6-1. 0 CM FACENOSEEAR
^       11400   EXC B9 TRUNK ARM LEG <0.5
        11402   EXC TRUNK 1.0-2.0


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IS-         11403 EXC LESIONB9 2. 1-3. 0 CM TRUNK ARM LEG
            11404 EXC LESIONB9 3. 1-4. 0 CM TRUNK ARM LEG
            11406 EXC LESION 139 > 4.0 CM TRUNK ARM LEG
            11420 EXC LESIONB9 0. 5 CM SCALPNECK
            11421 EXC LESIONB9 0.6-1.0 CM SCALP NECK
            11422 EXC LESIONB9 1. 1-2. 0 CM SCALP NECK
            11423 EXC LESIONB9 2. 1-3.0 CM SCALPNECK
            11424 EXC LESION39 3. 1-4.0 CM SCALP NECK
            11426 EXC LESIONB9 > 4 CM SCALP NECK
            11440 EXC LESIONB9 < 0.5 CM FACENOSE
            11441 EXC LESIONB9 0.6-1. 0 CM FACE NOSE
            11442 EXC LESION39 1. 1-2. 0 CM FACE NOSE
            11443 EXC LESIONB9 2. 1-3. 0 CM FACE NOSE
            11444 EXCLESION39 3. 1-4.0 CMFACENOSE
            11446 EXC LESIONB9 > 4 CM FACE NOSE
            11602 EXCLESIONM 1. 1-2.0 CM TRUNKARM LEG
            11603 EXC LESIONMAL 2. 1 TO 3. 0 CM
            11604 EXC LESIONM 3. 1-4.0 CM TRUNKARM LEG
            11620 EXC LESIONM < 0. 5 CM SCALP NECK
.,. 1.'-'
            11621 EXC LESIONM 0.6-1.0 CM SCALPNECK
            11622 EXC LESIONM 1. 1-2.0 CM SCALP NECK
            11623 EXC LESIONM 2. 1-3. 0 CM SCALP NECK
            11624 EXC LESIONM 3. 1-4. 0 CM SCALP NECK
            11626 EXC LESIONM > 4.0 CM SCALPNECK
            11640 EXC LESIONM < 0.5 CM FACENOSE
            11641 EXC LESIONM 0. 6-1 .0 CM FACENOSE
            11642 EXC LESIONM 1. 1-2. 0 CM PACE NOSE
            11643 EXC LESIONM 2. 1-3. 0 CM FACENOSE
            11644 EXCLESIONM 3. 1-4.0 CMFACENOSE
            11646 EXC LESIONM > 4. 0 CM FACENOSE
            11900 INJINTRALESION1-7LESIONS
            11901 1NJ INTRALESIONAL 8 OR MORE LESIONS
            11921 TATTOOING MEDICAL 6. 1-20.0
            11952 INJSUBQ 5. 1-10 CC
            11954 INJSUBQFILLING>10CC
            12001 REPAIRSIMPLE< 2.5 CMSCALPNECK
            12002   REPAIR SBIPLE 2. 6-7. 5 CM SCALP NECK
            12004   REPAIR SIMPLE 7.6-12. 5 CM SCALP NECK
            12011   REPAK SBtPLE < 2.5 CM FACE EAR LGP
^           12013   REPAIR SIMPLE2.6-5 CM FACE EAR LIP
            12014   REPAIR SIMPLE5. 1-7. 5 CM FACE EAR LIP

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'. '^ ?   12031 REPAIR.INT< 2.5 CM SCALP
          12032 REPARINT 2. 6-7. 5 CM SCALP
          12034 REPAIR INT 7. 6-12. 5 CM SCALP
          12035 REPAIRINT 12.6-20 CM SCALP
          12036 REPAIR INT 20. 1-30 CM SCAJLP
          12041 REPAIR. INT 2. 5CM OR LESS
          12042 REPAIR DsfT2. 6-7. 5CM NECK
          12044 REPAIR INT 7. 6-12. 5 CM NECK
          12051 REPAIR D^T < 2.5 CM FACE EAR
          12052 REPAIR INT 2.6-5. 0 CM FACE EAR
          12053 REPAIR INT 5. 1-7. 5 CM PACE EAR
          12054 REPAIR INT 7. 6-12. 5 CM FACE EAR
          12055 REPAIR INT 12. 6-20 CM FACE EAR
          12056 REPAIR INT 20. 1-30 CM FACE EAR
          12057 REPAIR INT >30 CM FACE EAR
          13120 REPAIRCOMPLX1. 1-2.5 CM SCALP
          13121 REPAIR COMPLX 2.6-7. 5 CM SCALP
          13122 REPAIR COMPLX EA ADDL 5 CM SCALP
          13131 REPARCOMPLX1.1-2.5 CMFACE
          13132 REPAIR COMPLX 2.6-7. 5 CM FACE
          13133 REPAIRCOMPLXEAADDL5 CMFACE
          13150 REPAIR COMPLX < 1 .0 CM NOSEEAR
          13151 REPAIR COMPLX 1. 1-2. 5 CMNOSE EAR
          13152 REPAIR COMPLX 2.6-7.5 CM NOSE EAR
          13153 REPAIR COMPLX EA ADDL 5CM NOSE EAR
          15820 BLEPH LOWEREYELID
          15821 BLEPH LOWER EYELID EXTENSFVE
          15822 BLEPH UPPER EYELID
          15823 BLEPH UPPER EYELro EXTENSIVE
          17000 DESTRUCTLESIONB9 CRYO
          17003 DESTRUCT LESIONCRYO B9 2-14 LESIONS
          17004 OBSTRUCT LESIONCRYO B9 15 OR MORE
          17250 CAUTERIZE GRANULATED TISSUE
          17270 DESTRCT LESIONM<5 CM SCALPNECK
          20005 INC SOFT TISSUE ABSC DEEP
          20206 BX NEEDLEMUSCLE'NECK
          20220 BX SUP BONE
          20610 DRAIN/D^JECT,JOINT/BURSA
          21337 CLOSED TXNASALSEPTAL EX
          30140 FLJRBINOPLASrySMR
          30200 TURBINATE INIECTION

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m            30220 SEPTAL BUTTON INSERTION
             30300 FB REM INTRANASAL
             30310 FB REM INTRANASAL W GA
             30560 LYSISC^TANASALS^\TECHIA
             30580 FISTULA REPATR
             30600 REPAIRFISTULAORONASAL
             30630 REPAIRNASALSEPTALPERF
             30801 TURBINATEABLATION/CAUTERY
             30802 TURBINATE ABLATION INTAMURAL
             30901 Control ofEpistaxis - Simple
             30901 EPISTAXIS CONT SIMPLE
             30903 EPISTAXISCONTCOMPLX
             30905 EPISTAXIS CONT POSTERIOR INITIAL
             30906 EPISTAXISCONTPOSTERIORSUBSEQUENT
             30930 TURBINATEOUTFRACTURE
             30999 UNLISTEDPROCEDURENOSE
             31000 LAVAGE MAXILL SINUS
             31002 LAVAGESPHENOIDSINUS
             31295 BALOONSINOPLASTYMAXILLARY
.
    t'i.tf
             31296 BALOON SWOPLASTY FRONTAL
'w-
             31297 BALOON DDLATION SPHENOID
             31299 UNLPROCEDURE
             31500 INTUBATION EMERGENCY
             31502 TRACHTUBECHANGE
             31505 LARYNGOSCOPY INDIRECT DX
             31510 LARYNGOSCOPYWBX
             31511   LARYNGOSCOPYWFBREM
             31512   LARYNGOSCOPY W REM OF LESION
             31513   LARYNGOSCOPYWVCINJ
             31515   LARYNGOSCOPYDIR ASPIRATION
             31520   LARYNGOSCOPY DIR DX NEWBORN
             31525   LARYNGOSCOPYDIRDX
             31526   LARYNGOSCOPY DIR W MICROSCOPE
             31530   LARYNGOSCOPY DIR W PB REM
             31535   LARYNGOSCOPY DIR OP W BX
             31536 LARYNGOSCOPYDffi.OPMICROSCOPEW BX
             31540   LARYNGOSCOPY DIR OP W EXC OF TUMOR
             31541   LARYNGOSCOPY DIR OP MICROSCOPE W EXC OF TUMOR
             31546   LARYNX RECONSTRUCTION
    . t-
V:           31560   LARYNGOSCOPY DIR W ARYTENOroECTOMY
             31561   LARYNGOSCOPY W OP MICROSCOPE ARYTENOIDECTOMY

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    31570 LARYNGOSCOPY DIRW IN] VC
    31571    LARYNGOSCOPYDIRmj W OPMICROSCOPE
    31575    LARYNGOSCOPY FLEX FffiER DX
    31576    LARYNGOSCOPY FLEX FIBERDX W BX
    31577    LARYNGOSCOPY FLEXFIBER DXWREM FB
    31578 LARYNGOSCOPYFLEXFIBERDXW REMLESION
    31580 LARYNGOPLASTY WITH KEEL INSERTION/REMOVAL
    31599 UNLPROCLARYNX
    31600 TRACHEOSTOMY
    31611 INSERT TFP TRACHEOSOPHAGEAL FISTULA INSERT SPEECHPROSTHESES
    31612 TRACH PUNCTUREW ASPIRATIONOFINJECTION
    36410 VENIPUNCTURE>3 YEARS PHYSICIAN ADMIN
    40490 BX LIP
    40500 EXCLEPVERMILIONECTOMYWMUCOSALADV
    40510 EXC UP TRANS WEDGE W PRIME CLOSE
    40520 EXC LIP V EXC W CLOSURE
    40800 I D ABSC MOUTH
    40801 ID ABSC MOUTH COMP
    40806 FRENOTOMY LABIAL (UPPER)
    40808 BX VESTIBULEOFMOUTH
    40810 EXCLESIONMUCOSAMOUTHWO REPAIR
    40812 EXC LESIONMOUTH SIMPLE
    40819 FRENULECTOMY BUCCAL/LABIAL W MUSCLE REMOVAL
    40820 DESTRUCT LESION/SCARMOUTH
    40830 REPAIRLAC LIP < 2. 5 CM
    40831 REPAIR LAC LIP > 2.5 CM
    40840 REPAIR MOUTH ANTERIOR
    40842 EXCBUCCALCAVH-YPOSTERIORUNILATERAL
    40845 REPAIRLIP W RECONST MUSCLE
    41000 I D ABSC TONGUE MOUTH
    41005 I D ABSC SUBLDsTGUAL SUPERFICIAL
    41008 I D ABSC SUBMANDIBULAR SPACE
    41010 FRENOTOMYLINGUALCLOWER)
    41017 I&DSUBMANDBULAR
    41100 BX TONGUE ANT TWO THIRDS
    41105 BX TONGUE POSTERIORONE THIRD
    41108 BX FLOOROPMOUTH
    41110 EXC LESIONTONGUE W/0 CLOSURE
    41112 EXC LESIONTONGUE W CLOSURE
^   41113 EXCLESIONTONGUEPOSTERJOR1/3
    41115 EXC LINGUAL FRENUM

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®         41116 EXC LESION FLOOROF MOUTH
          41599 IJNLISTEDPROCEDUREFLOOROF MOUTH
          41800 I D ABSCESS CYST DENTOALVEOLAR
          41806 FB REM DENTOALVEOLAR BONE
          42000 I D ABSC PALATE
          42140 UVULECTOMY
          42145 UPPP
          42160 DESTRCT LESION PALATE
          42182 REPAIR LAC PALATE >2CM
          42226 VELOPHARYGEALFLAPREPAIR
          42400 BX SALFVARY GLAND NEEDLE
          42405 BXSALIVARYGLANDINCISIONAL
          42408 EXC SALFVARY GLAND
          42409 MARSIPULIZATIONSALIVARYCYST
          42699 SNOREPLASTY
          42700 I D ABSC PERJTONSILLAR
          42720 I DABSC PHARYNGEAL INTRAORAL
          42725 I D ABSC RETROPHARYNGEAL
          42800 BXOROPHARYNX
          42802 BXHYPOPHARYNX
t£'Mf
guiW
          42804 BXNASOPHARYNXVISIBLELESION
          42806 NASOPHARYNX SURVEY FOR PRIME LESION
          42808 EXC LESIONPHARYNX
          42809 FB REMLESIONPHARYNX
          42810 EXC BRANCfflAL CYST
          42815 EXCBRANCmALCLEFTCYST
          42999 UNLPHARYNXADENOIDTONSGL
          43200 ESOPUAGOSCOPY RIGID FLEX DX
          43202 ESOPHAGOSCOPYRIGIDFLEXDXW BX
          43215 ESOPHAGOSCOPY RIGID FLEX WRJBMFB
          43450 ESOPHAGOSCOPYDILATATION
          43499 ZENKERS UNLISTED
          43752 NG TUBE PLACEMENT
          43760 NASOGASTRIC TUBE CHANGE
          49999 INJALCOHOL
          67810 BX EYELID
          67840 EXC LESIONEYELID
          67900 BROW LIFT
          67903 REPAIR LEVATOR BROW PTOSIS INTERNAL
fS-'f-'   67904 LEVATORBLEPHAROPTOSIS EXTERNAL
          67938 FB REM EYELID

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       68899 UNLISTED PROC LACRIMAL SYSTEM
       69000 ID ABSCESS EXT EAR SIMPLE
       69005 ear hematomadrainage
       69005 I D ABSCESSEXT EARCOMP
       69020 ID ABSCESS EXT AUDFTORY CANAL
       69100 BXEXTEAR
       69105 BXEXTEARAUDITORYCANAL
       69110 EXC EXT EAR PARTIAL SIMPLE REPAIR
       69200 FB REM EXT AUDITORY CANAL LOCAL
       69205 FB REM EAR EXT AUDITORY CANAL W GA
       69210 CERUMEN REMOVAL
       69220 DB MASTOFD SIMPLE
       69399 UNLISTED PROCEDURE EAR
       69420 MYRINGOTOMY LOCAL
       69550 REMOVEEAR LESION
       69552 REMOVE EAR LBSION
       69799 EAR PROCEDURE UNLISTED
       69801 LABR1NTHOTOMY TEIANSCANAL
       69990 MICROSCOPEOPERATING

                    For the Owners Who Are in the Group Practice Bend Memorial Clinic

       36475              KFA
       36476              RFA Additional Veins
       37799              Ambulatory PUebectomy 1-9 stabs
       37765              Ambulatory Phlebectomy 10-20 stabs
       37766              Ambulatory Phlebectomy 21+ stabs
       36470              Sclerotherapy
       36471              Sclerotherapy multiple
       19081              Breast biopsy w/ localization usmg stereo guidance
       19082                                         additional lesion
       19083              Breastbiopsyw/ localizationusingu/s guidance
       19084                                         additional lesion
       19281              Placemntofbreastlocalizationusinginamm guidance
       19282                                         additional lesion
       19283              Placemntofbreastlocalizationusiagstereo guidance
       19284                                         additional lesion
       36590              Port Removal
T-^-   36589              Penn Cath Removal
^
       46221              HemorrhoidBanding

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      46930             Hemonfaoidcauterization(IRC)
      37609             Temporal Artery Biopsy
      11401-11404       Skin lesions; benign; trunk, aims legs
      11420-11424       Skin lesions; benign; scalp, neck, hands, feet, genitalia
      11600-11604       Skin lesions; malignant; tnuik anns, legs
      11620-11624       Skin lesions; malignant; scalp, neck hands, feet genitalia
      11200            Skin tag removal
      10060            I&D ABSCESS; SIMPL/SNGL
      10140            I&D HEMATOMA/SEROMATLUID COLLEC
      10160            PUNCT ASPBR.ABSCES/HEMAT/BULLA/CYST
      11440            EXC BEN LES FACE; 0. 5 CM/LESS
      11441            EXCBENLESFACE;0.6 TO 1.0 CM
      11442            EXC BEN LES FACE; 1. 1 TO 2. 0 CM
      14060            ADJACTRANSFLIDS/LIPS;10 SQCM
      15822            BLEPHAROPLASTY UPPER EYELID
      15823            BLEPHAROPLASTYUPPER;W/EXCESSSKIN
      37609            LIG/BX TEMPORAL ART
      65270            REPRLACERAT;CONJUNCW/WOSCLERA
      67505            RETROBULBARINJ;ALCOHOL
II,
M^    67700            BLEPHAROTOMY DRAIN ABSCESS EYELID
      67710            SEVERING TARSOREHAPHY
      67715            CANTHOTOMY (SEPART PROC)
      67800            EXC CHALA230N; SNGL
      67801            EXCCHALAZION;MX SAMELD3
      67805            EXCCHALAZION;MXDIFFLIDS
      67810. 50        BX EYELH) BILATERAL
      67840            EXC LES LID WO CLO/W SMPL DIREC CLO
      67850            DESTRCT LES LK) MARGIN
      67875            TEMPORARY CLO EYELIDS BY SUTURE
      67880            CONSTRUCT INTERMARGINALADHESIONS
      67882            CONSTRCTADHESIONS;W/TRANSPOSnr
      67900            REPRBROWPTOSIS
      67904            REPRBLEPHAROPTOSIS;RESECT-EXT
      67908            REPRBLEPHAROPTOSIS;CONJUNC-TARSO
      67909            REDUCTIONOVERCORRECTIONPTOSIS
      67911            CORRECT LID RETRACTION
      67912            CORRECTION EYELID W/ MPLANT
      67914           REPRECTROPION;SUTURE
      67916           REPRECTROPION;BLEPHAROPLAST^
      67917           REPR ECTROPION; BLEPHAROPLSTY EXTEN


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     67921               REPR ENTROPION; SUTURE
^
     67923               REPR ENTROPION; BLEPHAROPLASTY
     67924               REPRENTROPION; BLEPHAROPLSTY EXTEN
     67930               SUTURERECENTWOUNDLID;PARTTHICK
     67935               SUTURERECENTWOUNDLED;FULLTHICK
     67938              REMOV EMBEDDED FB EYELID
     67950              CANTHOPLASTY
     67961              EXC & REPRLJD; TO 1/4 LID MARGIN
     67966              EXC & REPR EYELID> 1/4 LID MARGIN
     68020              INCS CONJUNC DRAINAGE CYST
     68100              BXCONJUNC
     68110. 50          EXC LES CONJUNC UP TO 1 CM BILATERAL
     68115              EXC LES CONJUNC; OVER 1 CM
     68115              EXCLESCONJUNC;OVERI CM
     68130              EXC LES CONJUNC; W/ADJACE
     68135              DES-mCT LES CONJUNC
     68200.50           SUBCONJTJNCTTVALINJBILATERAL
     68200. LT          SUBCONJUNCrrVALINJLTEYE
     68200.RT           SUBCONJUNCTIVALINJRTEY
%:   68320              CONJUNCTFVOPLASTY;W/CONJUNCGFT
     68320. 50          CONJUNCTFVOPLAST^; W/CONJUNC GFT
     68325              CONJUNCTIVOPLASTY;W/BUCCALGFT
     68326              CONJUNCTIVOPLASTYCUL-DE-SAC;W/GFT
     68328              CONJUNCTIVOPLCUL-DE-SAC;BUCCLOFT
     68330              KEPR SYMBLEPHARON; CONJUNCTFyOPLSTY
     68335              REPRSYMBLEPHARON;W/FREEGFT
     68340              REPRSYMBLEPHARON;DWISSYMBLEPHAR
     68360              CONJUNC FLAP; BRIDG&TART (SEP PRO)
     68362              CONJUNCFLAP;TOT
     68420              INCS DRAINAGE LACRIMAL SAG
     68510              BX LACRIMAL GLAND
     68530              REMOVFB/DACRYOLITHLACRIMALPASSG
     68700              PLASTIC REPR CANALICULI
     68760. 50          CLO LACMMAL PUNCTUM THERMOCAUT BILATERAL
     68810.50           PROBENASOLACRIM DUCT W WO IRRIG BILATERAL
     68815            PROBENASOLACDUCT;W/D^SERTTUBE
                      CHEMODENERVATION OFMUSCLES (EG FORBLEPHROSPASM,
     64612                HEMIFACIALSPASM
     65205            REMOVALFB EXTERNAL,CONJUCTF^ALSUPERPICIAL
1^   65210            REMFB, CONJUCTIVALEMBEDDED
     65220            REMFB COKNEALWO SLITLAMP

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     65222            REMFB CORNEAL W SLITLAMP
     65430            SCRAPING OF CORNEA
     65435            REMOVAL OF CORNEAL EPITHELIUM
     65436            REMOVAL OF COmk    AL EPITHELHJM WITH CHELATION
     65450            DESTRUCTION OF CORNEALLESION
     65600            MULTIPLE PUNCTURES OF CORNEA .
     65772            CORNEAL RELAXING INCISION
     65778            PLACEMENT OF AMNIOTIC MEMBRANE- SELFRETAINING
     65800            PARACENTESIS,DIAGNOSTIC
     65805            PARACENTESIS WITH RELEASE OF AQUEOUS
     65810            PARACENTESIS WITH REMOVAL OF VITREOUS
     65815            PARACENTESIS WITH REMOVAL OF BLOOD
     65855            TRABECULOPLASTYBY LASER
     66250            REVISION OF OPERATFVE WOUND
     66761            IRIDOTOMY/IRIDECTOMY BY LASER
     66821            LASER SURGERY/EGYAG LASER
     67028            Intiaviti-ealinjection
     67105            RepairRD-photocoagulation
     67110            Pneumaticretinpexy
     67141            Cryopexy-RD/latdce/breaks
.^
     67145            Laser retmal prophylaxis
     67208            Cryopexydestructionoflesion
     67210            Focal laser
     67228           PRP laser
     67515           INJINTO TENON'S CAPSULE
     67810           BX EYELID
     67820           CORRECTION OF TRICHIASIS ; EPILATION BY FORCEPS ONLY
     67825           CORRECTION OF TRICHIASIS ; EPtLATION BY OTHER THAN FORCEPS
     68110           EXC LES CONJ UP TO I CM
     68200           SUBCONJUCTFVAL INJ
     68440           SNIP ENCISIONOF LACRIMAL PUNCTUM
     68761           CLOSURE OF THE LACRIMAL PUNCTUM BY PLUG
     68801           DILATION OF LACRIMAL PUNCTUM, W OR WO IRRIGATION
     11100           BIOPSY OF SKIN, SINGLE LESION-SIMPLECLOSURE
     11101           ADDITIONAL LESION BIOPSY
     11200           REMOVAL OF SKIN TAGS UP TO AND FNCUDING 15 LESIONS
     11440           EXCISIONBENIGN LESIONS 0.5 CM OR LESS
     11441           EXCISIONBENIGN LESIONS 0.6 CM TO 1.0 CM
     11640           EXCISIONMALIGNANT LESION0.5 CM OR LESS
     15260           FULLTHICKNESSGRAFT20 SQCMORLESS
     17110           DESTRUCTION BENIGN LESIONS OTHER TIiAN SKDSTTAGS(EG LASER,

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                                     CRYOSURGERY)
                    EXCISION, TUMOR, SOFT TISSUE OF FACE OR SCALP, LESS THAN 2
        21011             CM
        37609       BIOPSY TEMPORAL ARTERY
        10060 I D ABSCCYST SIMPLE
        10061 IDABSCCYSTCOMP
        10120 FBREMSUBQ
        10121 FBREMSUBQCOMP
        10140 IDHEMATOMA
        10160 PUNCTUREASPIRATION
        11000 DEBMDE ECZEMATOUS SKIN
        11010 FB DEBRIDEMENT SKIN
        11011 DEBRIDE SKIN MUSCLE FB REMOVAL
        11012 DEBRIDEMENT FB REMOVAL
        11040 DEBRIDE SKIN PART THICK
        11200 SKIN TAG REMOVAL FIRST 15
        11201 SKINTAGADDL10
        11300 SHAVING LESION
        11301 SHAVE LESION 0.6-1.0
        11310 SHAVE LESION0.5 CM FACE NOSEEAR
 ^'
 si?    11311 SHAVELESION0.6-1.0 CMFACENOSEEAR
        11420 EXC LESIONB9 0.5 CM SCALP NECK
        11421 EXCLESIONB9 0.6-1.0 CM SCALPNECK
        11422 EXC LESIONB9 1. 1-2. 0 CM SCALP NECK
        11423 EXCLESIONB9 2. 1-3.0 CM SCALPNECK
        11424 EXC LESION39 3. 1-4.0 CM SCALP NECK
        11426 EXC LESIONB9 > 4 CM SCAI.P NECK
        11440 EXCLESIONB9 < 0.5 CMFACENOSE
        11441 EXC LESIONB9 0.6-1. 0 CM FACE NOSE
        11442 EXC LESION39 1. 1-2. 0 CM FACENOSE
        11443 EXCLESIONB9 2. 1-3.0 CM FACENOSE
        11444 EXCLESION39 3. 1-4.0 CM FACENOSE
        11446 EXC LESIONB9 > 4 CM FACE NOSE
        11620 EXC LESIONM < 0.5 CM SCALPNECK
        11621 EXC LESIONM 0.6-1. 0 CM SCALP NECK
        11622 EXCLESIONM 1. 1-2.0 CM SCALPNECK
        11623   EXC LESIONM 2. 1-3. 0 CM SCALP NECK
        11624   EXC LESIONM 3. 1-4. 0 CM SCALP NECK
        11626   EXC LESIONM > 4.0 CM SCALPNECK
 1*',
i&"'.   11640   EXC LESIONM < 0.5 CM FACE NOSE
        11641 EXCLESIONM 0.6-1.0 CMFACENOSE

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^.    11642 EXC LESIONM 1. 1-2. 0 CM FACE NOSE
      11643 EXC LESIONM 2. 1-3. 0 CM FACENOSE
      11644 EXC LBSIONM 3. 1-4. 0 CM FACE NOSE
      11646 EXC LESIONM > 4. 0 CM FACE NOSE
      12001 REPAIR SD^IPLE < 2.5 CM SCALP NECK
      12002 REPAK. SIMPLE 2.6-7. 5 CM SCALP NECK
      12004 REPAIR SIMPLE 7.6-12. 5 CM SCALP NECK
      12011 REPAIR SIMPLE< 2.5 CM FACE EAR LIP
      12013 REPAIR SIMPLE2. 6-5 CM FACE EAR LIP
      12014 REPAIR SIMPLE 5. 1-7. 5 CM FACE EAR LIP
     12031 REPAER-INK 2. 5 CM SCALP
     12032 REPAIRWT 2.6-7. 5 CM SCALP
     12034 REPAIRINT 7.6-12.5 CM SCALP
     12035 REPAIRWT 12. 6-20 CM SCALP
     12036 REPAIRINT20. 1-30 CM SCALP
     12041 REPAIR INT 2. 5CM OR LESS
     12042 REPAR^TT 2. 6-7. 5 CM NECK
     12044 REPAIRINT 7.6-12.5 CM NECK
     12051 REPAIR INT< 2.5 CM FACE EAR
mi
     12052 REPAIRWT 2. 6-5. 0 CM FACE EAR
     12053 REPAIR INT 5. 1-7. 5 CM FACE EAR
     12054 REPAIR INT 7. 6-12. 5 CM FACE EAR
     12055 REPAIR INT 12.6-20 CM FACE EAR
     12056 REPAffi. INT20. 1-30 CM FACE EAR
     12057 REPAIR INT >30 CM FACE EAR
     13120 REPAIR COMPLX 1. 1-2.5 CM SCALP
     13121 REPAffi. COMPLX 2. 6-7. 5 CM SCALP
     13122 REPAIR COMPLXEAADDL 5 CM SCALP
     13131 REPAIR COMPLX 1. 1-2. 5 CM FACE
     13132 REPAIR COMPLX 2. 6-7. 5 CM FACE
     13133 REPAIR COMPLXEA ADDL 5 CM FACE
     13150 REPAIRCOIvIPLX< 1.0 CM NOSEEAR
     13151 REPAIR COMPLX 1. 1"2. 5 CM NOSE EAR
     13152 REPAIR COMPLX 2. 6-7. 5 CM NOSE EAR
     13153 REPAIR COMPLXEAADDL5CM NOSE EAR
     15820 BLEPH LOWEREYELID
     15S21 BLEPH LOWEREYELID EXTENSFVE
     15822 BLEPH UPPER EYELID
     15823 BLEPHUPPER EYELID EXTENSFVE

                For the Owners Who Arejn the Group Practice Bend Surocal Associates

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@8
       11401 - 11403, 11406, 11422- excision, benignlesions
       11042 - debridement, subcutaneous tissue
       11604, 11642 - excision, malignant lesions
       10080, 10081-mcision/drainageofpilonidal cyst
       10160 - puncture aspiration of abscess/cyst
       10061 - incision/dramageabscess
       13100 - repair/trunk, suturing ofcomplicated wounds
       20005- incisioii/drainageofsubfascialabscess
       21930, 21931 - excision, mass, subcutaneous tissue
       22902, 22903 - excision, mass, abdominal wall, subcutaneous tissue
       25075 - excision,mass, subcutaneoustissue arm/wrist
       46040 - incision/drainage ofperirectal abscess
       46083 - incision ofthrombosed hemoirhoid
       46500 - injection ofsclerosing solution, hemonrhoids
       46221 - hemorrhoidectomyby litigation
       97597 - debridement, wound care
       97605 - negativepressurewoundtherapy

                  For the Owners Who Are in the Group Practice Northwest Brain & Spine

       22524 Kypho
fwf^   22523 "
 w     22525 "
       63650 Stim Trial
       64555 "

       64490 Facet
       64491 "
       64493 "
       64494"
       64483 Trfran                 NRB    CARVEOUT CODES5-30-14
       64479"
       64480"
       64484

       27096 SI Joint
       62310ESI
       62311"

       64405 OxyNEB
       20610LrgJoint
       20551 Trigger
       20550"
       20552"
       20553 "


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^w          64633 Rhyzo
            64634"
            64635 "
            64636 "

            70002 Flouro
            77003 "


                                                 For Dr. Kathy Moore

            Dr. KafhyMoore mayperform facetblocksand epidural steroid mjections in heroffice for
            patients who do not meet the Center's medical criteria, for whom the Center will not be paid a
            facility fee, or if otherwisein thepatient'sbest interest.


                                               For Dr. Michael E. Villano

            Dr. MichaelVillanomayperformthefollowingproceduresin hisoffice:

            10021    FNA WO IMAGING
            10040    ACNE REMOVAL
            10060    I D ABSC CYST SIMPLE
til-T
  ift.l     10061    IDABSCCYSTCOMP
            10120 FBREMSUBQ
            10121 FB REM SUBQ COMP
            10140    IDHEMATOMA
            10160    PUNCTURE ASPIRATION
            11000    DEBMDE ECZEMATOUS SKIN
            11010    FB DEBRIDEMENT SKIN
            11011    DEBMDE SKINMUSCLE FB REMOVAL
            11012    DEBRIDEMENT FB REMOVAL
            11040    DEBRTOESKINPARTTfflCK
            11200    SKINTAG REMOVAL FIRST 15
            11201 SKINTAGADDL10
            11300 SHAVINGLESION
            11301 SHAVE LESION0. 6-1 .0
            11310 SHAVE LESION 0. 5 CM FACENOSE EAR
            11311 SHAVE LESION0. 6-1. 0 CM FACE NOSE EAR
            11400 EXCB9 TRUNKARMLEG<0.5
            11402    EXC TRUNK 1. 0-2,0
            11403    EXC LESIONB9 2. 1-3. 0 CM TRUNK ARM LEG
            11404    EXC LESIONB9 3. 1-4. 0 CM TRUNK ARM LEG
            11406    EXC LESION 139 > 4.0 CM TRUNK ARM LEG
            11420    EXC LESIONB9 0. 5 CM SCALPNECK
     Vyf-
 ^flf
 .
            11421    EXC LESIONB9 0. 6-1. 0 CM SCALPNECK
            11422    EXC LESIONB9 1. 1-2. 0 CM SCALP NECK

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     11423 EXC LESIONB9 2. 1-3. 0 CM SCALP NECK:
     11424 EXC LESION39 3. 1-4.0 CM SCALP NECK
     11426 EXCLESIONB9 > 4 CM SCALPNECK
     11440 EXC LESIONB9 < 0. 5 CM FACE NOSE
     11441 EXC LESIONB9 0.6-1. 0 CM FACE NOSE
     11442 EXCLESION39 1.1-2.0 CM FACENOSE
     11443 EXC LESIONB9 2. 1-3. 0 CM FACE NOSE
     11444 EXCLESION39 3. 1-4.0 CM FACENOSE
     11446 EXC LESIONB9 > 4 CM FACE NOSE
     11602 EXCLESIONM 1. 1-2.0 CM TRUNKARM LEG
     11603 EXC LESIONMAL 2. 1 TO 3.0 CM
     11604 EXC LESIONM 3. 1-4. 0 CM TRUNK ARM LEG
     11620 EXCLESIONM < 0.5 CM SCALPNECK
     11621 EXC LESIONM 0.6-1 .0 CM SCALP NECK
     11622 EXC LESIONM 1. 1-2. 0 CM SCALP NECK
     11623 EXCLESIONM 2. 1-3.0 CM SCALPNECK
     11624 EXC LESIONM 3. 1-4. 0 CM SCALPNECK
     11626 EXC LESIONM > 4. 0 CM SCALP NECK
     11640 EXCLESIONM < 0.5 CM FACENOSE
     11641 EXC LESIONM 0. 6-1 .0 CM FACE NOSE
     11642 EXC LESIONM 1. 1-2. 0 CM FACE NOSE
     11643 EXC LESIONM 2. 1-3.0 CM FACENOSE
G-   11644 EXC LESIONM 3. 1-4. 0 CM FACENOSE
     11646 EXC LESIONM > 4. 0 CM FACENOSE
     11900 INJINTRALESION 1-7 LESIONS
     11901 INJINTRALESIONAL 8 OR MORE LESIONS
     11921 TATTOOING MEDICAL 6. 1-20.0
     11952 INJSUBQ5. 1-10CC
     11954 INJSUBQ FILLIN010CC
     12001 REPAIR SIMPLE< 2. 5 CM SCALPNECK
     12002 REPAIRSIMPLE2.6-7.5 CM SCALPNECK
     12004 REPAIRSIMPLE7.6-12.5 CM SCALPNECK
     12011 REPATO. SIMPLE< 2. 5 CM FACE EAR LIP
     12013 REPAIRSIMPLE2.6-5 CMFACEEARLIP
     12014 REPAIR SIMPLE5. 1-7. 5 CM FACE EAR LIP
     12031 REPAIR INT < 2. 5 CM SCALP
     12032 REPAIR INT 2. 6-7. 5 CM SCALP
     12034 REPAIRINT 7.6-12.5 CM SCALP
     12035 REPAIRWT 12.6-20 CM SCALP
     12036 REPAIRINT20. 1-30CM SCALP
     12041 REPABR. DSfT2. 5CM OR LESS
     12042 REPAIRWT 2.6-7. 5 CM NECK
     12044 REPAIR INT 7.6-12. 5 CM NECK
     12051 REPAIRINT<2.5 CM FACEEAR
     12052 REPAIR INT 2. 6-5.0 CM FACE EAR
IN   12053 REPAIR INT 5. 1-7. 5 CM FACE EAR


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     12054 REPAIRINT 7.6-12.5 CM FACEEAR
     12055 REPAIR INT 12.6-20 CM FACE EAR
     12056 REPAIR DMT20. 1-30 CM FACE EAR
     12057 REPAIR INT>30 CM PACE EAR
     13120 REPAIRCOMPLX1.1-2.5 CM SCALP
     13121 REPAIR COMPLX 2.6-7.5 CM SCALP
     13122 REPAIR COMPLX EA ADDL 5 CM SCALP
     13131 REPAIRCOMPLX1.1-2.5 CM FACE
     13132 REPAIR COMPLX 2. 6-7.5 CM FACE
     13133 REPAIRCOMPLXEA ADDL5 CM FACE
     13150 REPAIR COMPLX < 1.0 CM NOSE EAR
     13151 REPAIR COMPLX 1. 1-2.5 CM NOSEEAR
     13152 REPAIR COMPLX 2.6-7.5 CM NOSEEAR
     13153 REPAIR COMPLXEAADDL5CM NOSE EAR
     14020 Skin tissue rearrangement to 10cm2 scalp arms legs
                                         -        -




     14040 Skin tissue rearrangement to 10cm2 face hands ax genitals feet
                                         -        -




     14060 Skin tissue rearrangement - to 10cniz- eye, nose ear lip
     15240 Full thickness skm graft (FTSG) to 20cm2 face, genitals, axil., hands,   feet: closure
     included
     15740 Flap: island pedicle
     15620Delayor sectioningofflap (divisionandinset); forehead,cheek,neck,axillae,genitalia,
     hands (cross finger), or feet
%    15630Delayor sectioningofflap (divisionandmset); eyelids,ears,nose,or lips
     15650Transfer,mtemaediate,ofanypedicleflap(walkingtubeeg) anylocation
     15740Flap:islandpedicle(anylocation)
     15760 Composite graft; including ala and ear
     15770Compositegraft;includingdermaVfat/fascia
     15775 Hair transplant punch grafts;
     15776 Hair transplant punch grafts;
     15780 Demiabrasiontotal face
     15781 Dermabrasion segmantal face
     15788 Chemical peel of face - epidennal (TCA...)
     15789 Chemical peel offace - dermal (Phenol)
     15876Suctionassistedlipectomy;headandneck
     15877 Suction assisted Hpectomy; trunk
     21120 Genioplastywithimplant
     21282 Lateralcantiiopexy
     15820 BLEPHLOWEREYELID
     15822 BLEPHUPPER EYELID
     15824Rhyridectomyofforehead;browlift(for browptosisuse67900)
     15825Rhytidectomyofneckwithplafysmaltightening
     15826 Rhytidectomyofglabellarfirownlines
     15828 Rhytidectomy ofcheek, chb, and neck
     15829 Rhytidectomy ofSMAS
     17003 DESTRUCT LESIONCRYO B9 2-14 LESIONS
i-   17004 DESTRUCTLESIONCRYO B9 15 ORMORE


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r- "i-i
'/: *     17250    CAUTERIZE GRANULATED TISSUE
          17270    DESTRCT LESIONM<. 5 CM SCALP NECK
          20005    INC SOFTTISSUEABSCDEEP
          20206    BXNEEDLEMUSCLE NECK
          21320 Closed Teductioiti nasa! j&acture
          21337 CLOSED TX NASAL SEPTAL FX
          30140 TURBNOPLASTY SMR
          30200 TURBINATE JNJECTION
          30220 SEPTAL BUTTON INSERTION
          30300 FB REMINTRANASAL
          30410 RHINOPLASTy
          30560 LYSIS INTANASAL SYNECmA
          30580 FISTULA REPAIR
          30600 REPAIRFISTULAORONASAL
          30630 REPAIRNASAL SEPTAL PERF
          30801 TURBINATE ABLATION/CAUTERY
          30802 TURBINATEABLATIONINTAMURAL
          30901 Control ofEpistaxis - Simple
          30901 EPISTAXIS CONT SIMPLE
          30903 EPISTAXISCONTCOMPLX
          30905 EPISTAXISCONTPOSTERIOR INITIAL
          30906 EPISTAXISCONTPOSTERIORSUBSEQUENT
          30930 TURBENATE OUTFRACTURE
^         30999 UNLISTED PROCEDURE NOSE
          31000 LAVAGEMAXILLSINUS
          31002 LAVAGE SPHENOIDSINUS
          31295 BALOON SINOPLASTY MAXILLARY
          31296 BALOONSINOPLASTYFRONTAL
          31297    BALOON DILATION SPHENOID
          31299    UNL PROCEDURE
          31502    TRACH TUBE CHANGE
          31505    LARYNGOSCOPY INDIRECT DX
          31515 LARYNGOSCOPYDffi.ASPIRATION
          31575 LARYNGOSCOPYFLEXFBERDX
          31578 LARYNGOSCOPY FLEXFffiER DX W REM LESION
          31599 UNLPROCLARYNX
          31611 INSERTTFP TRACHEOSOPHAGEALFISTLJLAINSERTSPEECHPROSTHESES
          40490 BXLIP
          40500 EXCLIPVERMD.-IONECTOMYWMUCOSALADV
          40510 EXC LU? TRANS WEDGE W PRIME CLOSE
          40520 EXC LIP V EXC W CLOSURE
          40800 IDABSCMOUTH
          40801 ID ABSC MOUTH COMP
          40806 FKENOTOMY LABIAL (UPPER)
   I      40808 BX VESTIBULE OF MOUTH
          40810 EXCLESIONMUCOSAMOUTHWO REPAIR


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            40812 EXCLESIONMOUTH SIMPLE
            40819 FRENULECTOMYBUCCAL/LABIALW MUSCLEREMOVAL
            40820 DESTRUCTLESION/SCAR MOUTH
            40830 REPAIRLAC UP < 2.5 CM
            40831 REPAIRLACLIP> 2.5 CM
            40840   REPAIR MOUTH ANTERIOR
            40842   EXC BUCCAL CAVITY POSTERIOR UNILATERAL
            40845   REPAIR LIP W RECONST MUSCLE
            41000   I D ABSC TONGUE MOUTH
            41005   I D ABSC SUBLENGUAL SUPERFICIAL
            41008   I D ABSC SUBMANDmULAR SPACE
            41010 FRENOTOMYLINGUAL(LOWER)
            41017   r&D SUBMANDIBULAR
            41100   BX TONGUE ANT TWO THIRDS
            41105   BX TONGUE POSTERIOR ONE TfflRD
            41108   BX FLOOROF MOUTH
            41110   EXCLESION TONGUE W/0 CLOSURE
            41112   EXCLESIONTONGUE W CLOSURE
            41113   EXC LESIONTONGUE POSTERIOR 1/3
            41115 EXCLINGUALFRENUM
            41116   EXC LESIONFLOOROF MOUTH
            41599   UNLISTED PROCEDURE FLOOR OF MOUTH
            41800   I D ABSCESS CYST DENTOALVEOLAR
^
,   <"'*.   41806   FB REM DENTOALVEOLAR BONE
            42000   I D ABSC PALATE
            42140   UVULECTOMY
            42160   DESTRCT LESIONPALATE
            42182   REPAIR LAC PALATE >2CM
            42400   BXSALFVARYGLAND NEEDLE
            42405   BX SALP/ARY GLAND I NCISIONAL
            42409   MARSffULEATION SALIVARY CYST
            42699   SNOREPLASTY
            42700   I D ABSC PERJTONSILLAR
            42720   I D ABSC PHARYNGEAL DSfTRAORAL
            42800 BX OROPHARYNX
            42804 BX NASOPHARYNX VISIBLELESION
            42806 NASOPHARYNXSURVEYFORPRIMELESION
            42808 EXCLESIONPHARYNX
            42809 FB REM LESION PHARYNX
            42810 EXCBRANCfflALCYST
            42999 UNLPHARYNXADENOIDTONSIL
            43752   NG TUBE PLACEMENT
            43760   NASOGASTRIC TUBE CHANGE
            49999   WJ ALCOHOL
            67810   BX EYELID
     K-"
     ^      67840   EXC LESIONEYELID


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pJ '^Ft   67900    BROW LIFT
          67904    LEVATORBLEPHAROPTOSIS EXTERNAL
          67938    FBREM EYELID
          68899    UNLISTED PROC LACRIMAL SYSTEM
          69000    roABSCESSEXTEARS^GPLE
          69005    earhematomadrainage
          69005    IDABSCESSEXTEARCOMP
          69020    ID ABSCESSEXTAUDITORYCANAL
          69100 BXEXTEAR
          69105 BXEXT EAR AUDITORY CANAL
          69110 EXC EXT EAR PARTIAL SIMPLE REPAIR
          69200 FBREMEXTAUDITORY CANAL LOCAL
          69210 CERUMEN REMOVAL
          69220 DB MASTOm SIMPLE
          69300 OTOPLASTY
          69399 UNLISTED PROCEDURE EAR
          69420 MYRENGOTOMY LOCAL
          69550 REMOVE EAR LESION
          69552 REMOVEEARLESION
          69799 EARPROCEDURE UNLISTED
          69801 LABRINTHOTOMY TRANSCANAL

^^                                               For Dr. Linda Lefiel
as*-"?

          CPT 10040THRU 19396.

                                               For Dr. Andrew Hietrins

          "Dr. Andrew Higgins may perforoa port removals andminor skin lesion excisions IDhis of&ce for
          patientswhodonotmeetfheCenter'smedicalcriteria, forwhomtheCenterwill not bepaid a
          facilityfee, or ifotheiwisein the patient's bestinterest.




iw



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